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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 1/31/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    11
Account Number               *******8681                                   Statement Dates   1/01/17 thru 1/31/17
Previous Balance                   98.92                                   Days this Statement Period           31
    8 Deposits/Credits        866,998.87                                   Average Ledger                66,630.47
   21 Checks/Debits           828,904.30                                   Average Collected             65,790.14
Service Charge                       .00
Interest Paid                        .00
Current Balance                38,193.49


                                             Deposits and Additions
Date      Description                                                                            Amount
 1/05     Transfer Credit                                                                    233,398.67
 1/12     Transfer Credit                                                                      6,000.00
 1/13     Transfer Credit                                                                        200.00
 1/17     Transfer Credit                                                                        450.00
 1/17     Transfer Credit                                                                        900.00
 1/17     Remote DDA Deposit                                                                  26,050.20
 1/18     Deposit                                                                            100,000.00
 1/27     Deposit                                                                            500,000.00

                            Withdrawals and Deductions
Date      Description                                    Amount
 1/03     0121D       Reliant Energy                      50.85-
          TEL
 1/09     Transfer to DDA                              6,204.02-
          Acct No.             8630-D
 1/13     Transfer to DDA                                936.32-
          Acct No.             8630-D
 1/18     From DDA *8681,To DDA *8665                15,000.00-
 1/18     From DDA *8681,To DDA *8630,Pa             48,975.53-
          yroll
 1/20     Account Analysis Charge                        176.41-
 1/20     Account Analysis Charge                        624.74-
 1/27     From DDA *8681,To DDA *8665               500,000.00-




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 1/31/17                         Page    2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount
 1/30     Transfer to DDA                                                                             15.37-
          Acct No.                                 8630-D
 1/31     Payment     ATT                                                                            187.98-
          WEB

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 1/09   24835     55,605.18 1/09    24839      5,345.53 1/05    24843                                                                         243.73
 1/12   24836    147,949.21 1/10    24840         585.22 1/23   24844                                                                      16,342.91
 1/10   24837     21,193.28 1/10    24841         167.42 1/24   24845                                                                       6,991.50
 1/12   24838      1,109.10 1/06    24842      1,200.00
(*) Check Numbers Missing

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                            Balance
 1/01                    98.92    1/12               155.95- 1/24                                                                         38,396.84
 1/03                    48.07    1/13               892.27- 1/27                                                                         38,396.84
 1/05               233,203.01    1/17            26,507.93   1/30                                                                        38,381.47
 1/06               232,003.01    1/18            62,532.40   1/31                                                                        38,193.49
 1/09               164,848.28    1/20            61,731.25
 1/10               142,902.36    1/23            45,388.34




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 2/28/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    18
Account Number               *******8681                                   Statement Dates   2/01/17 thru 2/28/17
Previous Balance               38,193.49                                   Days this Statement Period           28
    4 Deposits/Credits        178,753.91                                   Average Ledger                43,184.57
   23 Checks/Debits           175,421.39                                   Average Collected             43,184.57
Service Charge                       .00
Interest Paid                        .00
Current Balance                41,526.01


                                             Deposits and Additions
Date      Description                                                                             Amount
 2/01     Transfer Credit                                                                      91,722.05
 2/08     Transfer Credit                                                                      66,000.00
 2/28     Transfer Credit                                                                       3,436.09
 2/28     Transfer Credit                                                                      17,595.77

                            Withdrawals and Deductions
Date      Description                                    Amount
 2/02     0121D       Reliant Energy                      51.45-
          TEL
 2/09     From DDA *8681,To DDA *8301                  1,000.00-
 2/10     From DDA *8681,To DDA *8630,P/             52,000.00-
          R 2/17/17
 2/21     Account Analysis Charge                        199.49-
 2/21     Account Analysis Charge                        703.28-

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                       Amount
 2/02   24846        652.25 2/03    24851     62,851.56 2/07    24856                                                                        167.42
 2/03   24847      4,000.00 2/07    24852     23,623.30 2/08    24857                                                                        130.56
 2/01   24848        100.00 2/07    24853      1,200.00 2/10    24858                                                                      1,894.16
 2/07   24849         97.41 2/10    24854          97.13 2/13   24859                                                                        593.82
 2/09   24850         55.00 2/09    24855      1,109.10 2/09    24860                                                                     13,305.25
(*) Check Numbers Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 2/28   24861      4,090.13 2/09    24862          79.43 2/07   24863                                                                       7,420.65
(*) Check Numbers Missing

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                            Balance
 2/01               129,815.54    2/08            95,620.94   2/21                                                                        24,584.28
 2/02               129,111.84    2/09            80,072.16   2/28                                                                        41,526.01
 2/03                62,260.28    2/10            26,080.87
 2/07                29,751.50    2/13            25,487.05




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 3/31/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    37
Account Number               *******8681                                   Statement Dates   3/01/17 thru 4/02/17
Previous Balance               41,526.01                                   Days this Statement Period           33
    8 Deposits/Credits        794,697.56                                   Average Ledger                85,211.91
   43 Checks/Debits           659,646.16                                   Average Collected             85,211.91
Service Charge                       .00
Interest Paid                        .00
Current Balance               176,577.41


                                             Deposits and Additions
Date      Description                                                                            Amount
 3/01     Transfer Credit                                                                    155,000.00
 3/16     Transfer Credit                                                                      1,000.00
 3/21     Transfer Credit                                                                    175,000.00
 3/24     Transfer Credit                                                                     39,472.07
 3/24     Transfer Credit                                                                    139,605.00
 3/29     Transfer Credit                                                                    135,015.49
 3/29     ARP Return Item                                                                    139,605.00
 3/31     Transfer Credit                                                                     10,000.00

                             Withdrawals and Deductions
Date      Description                                                                                Amount
 3/01     Payment     ATT                                                                            207.33-
          WEB
 3/03     0121D        Reliant Energy                                                                  43.45-
          TEL
 3/20     Account Analysis Charge                                                                    181.27-
 3/20     Account Analysis Charge                                                                    610.37-
 3/23     Payment     ATT                                                                            292.50-
          WEB
 3/24     0121D        Reliant Energy                                                                  54.05-
          TEL




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000261
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 3/31/17                         Page    2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                 Checks in Number Order
Date Check No              Amount Date Check No         Amount Date Check No                                                                  Amount
 3/03   24864            2,751.68 3/07    24878      1,075.00 3/07    24892*                                                               29,286.81
 3/07   24866*          23,272.07 3/07    24879          24.16 3/03   24893                                                                   138.05
 3/06   24867            1,369.62 3/07    24880     23,658.36 3/07    24894                                                                   825.00
 3/02   24868            1,200.00 3/07    24881      5,530.67 3/06    24895                                                                   100.00
 3/06   24869           15,000.00 3/07    24882         167.42 3/20   24896                                                               144,306.43
 3/06   24870               76.42 3/03    24883         100.00 3/27   24898*                                                                  150.00
 3/15   24871               35.00 3/07    24884          65.28 3/20   24899                                                                12,000.00
 3/03   24872           64,247.98 3/10    24885      6,105.00 3/20    24900                                                                15,100.00
 3/07   24873            1,283.21 3/09    24886         430.00 3/24   24901                                                                15,000.00
 3/08   24874            4,038.06 3/07    24887      1,250.00 3/29    24902                                                               139,605.00
 3/13   24875            5,187.03 3/15    24888      8,883.57 3/31    24905*                                                              135,015.49
 3/10   24876               59.54 3/13    24889         450.00
 3/09   24877              234.32 3/08    24890         236.02
(*) Check Numbers       Missing

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 3/01               196,318.68    3/09            19,915.10   3/21                                                                      2,996.89
 3/02               195,118.68    3/10            13,750.56   3/23                                                                      2,704.39
 3/03               127,837.52    3/13             8,113.53   3/24                                                                    166,727.41
 3/06               111,291.48    3/15               805.04- 3/27                                                                     166,577.41
 3/07                24,853.50    3/16               194.96   3/29                                                                    301,592.90
 3/08                20,579.42    3/20           172,003.11- 3/31                                                                     176,577.41




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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                                                                        VITOL EXHIBIT
                                                                                                  exhibitsticker.com




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See the funds availability policy disclosure for information about when you can                  to the appropriateness or effect of the ownership and beneficiary designations, except
withdraw funds you deposit. For those accounts to which our funds availability policy            as they determine to whom we pay the account funds.
disclosure does not apply, you can ask us when you make a deposit when those                     Individual Account - is an account in the name of one person.
funds will be available for withdrawal. An item may be returned after the funds from
                                                                                                 Joint Account - This is an account in the names of two or more persons. Any one of
the deposit of that item are made available for withdrawal. In that case, we will
                                                                                                 such persons, acting alone, has complete access to the account. Upon the death of
reverse the credit of the item. We may determine the amount of available funds in
                                                                                                 any party to such account, we are permitted to pay the account balance to the
your account for the purpose of deciding whether to return an item for insufficient
                                                                                                 surviving parties, but this authority protects us only. The surviving joint parties may be
funds at any time between the time we receive the item and when we return the item
                                                                                                 liable to the heirs, legatees, or creditors of the deceased party to the extent the funds
or send a notice in lieu of return. We need only make one determination, but if we
                                                                                                 withdrawn by the survivors were owed to the deceased. If any party to a joint account
choose to make a subsequent determination, the account balance at the subsequent
                                                                                                 sends notice to us to prevent withdrawals from the account by another party or
time will determine whether there are insufficient available funds.
                                                                                                 parties, we may require the party to withdraw the balance and close the account or
A temporary debit authorization hold affects your account balance - On debit                     we may refuse to allow any further withdrawals from the account except upon the
card purchases, merchants may request a temporary hold on your account for a                     written consent of all parties to it. The remedy we choose is entirely at our discretion.
specified sum of money, which may be more than the actual amount of your
                                                                                                 Revocable Trust or Pay-on-Death Account - If two or more of you create such an
purchase. When this happens, our processing system cannot determine that the
                                                                                                 account, you own the account jointly and the respective interests of each of you shall
amount of the hold exceeds the actual amount of your purchase. This temporary hold,
                                                                                                 be deemed equal, unless otherwise stated in our account records. Beneficiaries
and the amount charged to your account, will eventually be adjusted to the actual
                                                                                                 acquire the right to withdraw only if: (1) all persons creating the account die, and (2)
amount of your purchase, but it may be up to three days before the adjustment is
                                                                                                 the beneficiary is then living. If two or more beneficiaries are named and survive the
made. Until the adjustment is made, the amount of funds in your account available for
                                                                                                 death of all persons creating the account, such beneficiaries will own this account in
other transactions will be reduced by the amount of the temporary hold. If another
                                                                                                 equal shares, unless otherwise stated in our account records. The person(s) creating
transaction is presented for payment in an amount greater than the funds left after the
                                                                                                 either of these account types reserves the right to: (1) change beneficiaries, (2)
deduction of the temporary hold amount, that transaction will be a nonsufficient funds
                                                                                                 change account types, and (3) withdraw all or part of the account funds at any time.
(NSF) transaction if we do not pay it or an overdraft transaction if we do pay it. You
will be charged an NSF or overdraft fee according to our NSF or overdraft fee policy.            In Alabama, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
You will be charged the fee even if you would have had sufficient funds in your                  These rules apply to this account depending on the form of ownership and beneficiary
account if the amount of the hold had been equal to the amount of your purchase.                 designation, if any, specified on the account records. We make no representations as
                                                                                                 to the appropriateness or effect of the ownership and beneficiary designations, except
Here is an example of how this can occur – assume for this example the following: (1)
                                                                                                 as they determine to whom we pay the account funds.
you have opted-in to our overdraft services for the payment of overdrafts on ATM and
everyday debit card transactions, (2) we pay the overdraft, and (3) our overdraft fee is         Single-Party Account - Such an account is owned by one party.
$35 per overdraft, but we do not charge the overdraft fee if the transaction overdraws           Multiple-Party Account - Parties own account during the lifetime of all parties in
the account by less than $10.                                                                    proportion to their net contributions, unless there is clear and convincing evidence of
You have $120 in your account. You swipe your card at the card reader on a gasoline              a different intent.
pump. Since it is unclear what the final bill will be, the gas station’s processing              In Alabama, RIGHTS AT DEATH - Single-Party Account - At the death of a party,
system immediately requests a hold on your account in a specified amount, for                    ownership passes as part of the party’s estate.
example, $80. Our processing system authorizes a temporary hold on your account in               Multiple-Party Account With Right of Survivorship - At death of party, ownership
the amount of $80, and the gas station’s processing system authorizes you to begin               passes to surviving parties. If two or more parties survive and one is the surviving
pumping gas. You fill your tank and the amount of gasoline you purchased is only                 spouse of the deceased party, the amount to which the deceased party, immediately
$50. Our processing system shows that you have $40 in your account available for                 before death, was beneficially entitled by law belongs to the surviving spouse. If two
other transactions ($120 - $80 = $40) even though you would have $70 in your                     or more parties survive and none is the spouse of the decedent, the amount to which
account available for other transactions if the amount of the temporary hold was                 the deceased party, immediately before death, was beneficially entitled by law
equal to the amount of your purchase ($120 - $50 = $70). Later, another transaction              belongs to the surviving parties in equal shares, and augments the proportion to
you have authorized is presented for payment from your account in the amount of                  which each surviving party, immediately before the deceased party’s death, was
$60 (this could be a check you have written, another debit card transaction, an ACH              beneficially entitled under law, and the right of survivorship continues between the
debit or any other kind of payment request). This other transaction is presented                 surviving parties.
before the amount of the temporary hold is adjusted to the amount of your purchase
                                                                                                 Multiple-Party Account Without Right of Survivorship - At death of party,
(remember, it may take up to three days for the adjustment to be made). Because the
                                                                                                 deceased party’s ownership passes as part of deceased party’s estate.
amount of this other transaction is greater than the amount our processing system
shows is available in your account, our payment of this transaction will result in an            Single-Party Account With Pay-on-Death Designation - At death of the party,
overdraft transaction. Because the transaction overdraws your account by $20, your               ownership passes to the designated pay-on-death beneficiaries and is not part of the
account will be assessed the overdraft fee of $35 according to our overdraft fee                 party’s estate.
policy. You will be charged this $35 fee according to our policy even though you                 Multiple-Party Account With Right of Survivorship and Pay-on-Death
would have had enough money in your account to cover the $60 transaction if your                 Designation - At death of last surviving party, ownership passes to the designated
account had only been debited the amount of your purchase rather than the amount                 pay-on-death beneficiaries and is not part of the last surviving party’s estate.
of the temporary hold or if the temporary hold had already been adjusted to the actual           In Arkansas, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
amount of your purchase.                                                                         These rules apply to this account depending on the form of ownership and beneficiary
Overdrafts - You understand that we may, at our discretion, honor withdrawal                     designation, if any, specified on the account records. We make no representations as
requests that overdraw your account. However, the fact that we may honor                         to the appropriateness or effect of the ownership and beneficiary designations, except
withdrawal requests that overdraw the account balance does not obligate us to do so              as they determine to whom we pay the account funds.
later. So you can NOT rely on us to pay overdrafts on your account regardless of how             Individual Account - is an account in the name of one person.
frequently or under what circumstances we have paid overdrafts on your account in
                                                                                                 Joint Account - With Survivorship (And Not As Tenants In Common) - is an
the past. We can change our practice of paying overdrafts on your account without
                                                                                                 account in the name of two or more persons. Each of you intend that when you die
notice to you. You can ask us if we have other account services that might be
                                                                                                 the balance in the account (subject to any previous pledge to which we have agreed)
available to you where we commit to paying overdrafts under certain circumstances,
                                                                                                 will belong to the survivor(s). If two or more of you survive, you will own the balance
such as an overdraft protection line-of-credit or a plan to sweep funds from another
                                                                                                 in the account as joint tenants with survivorship and not as tenants in common.
account you have with us. You agree that we may charge fees for overdrafts. For
consumer accounts, we will not charge fees for overdrafts caused by ATM                          Joint Account - No Survivorship (As Tenants In Common) - is owned by two or
withdrawals or one-time debit card transactions if you have not opted-in to that                 more persons, but none of you intend (merely by opening this account) to create any
service. We may use subsequent deposits, including direct deposits of social security            right of survivorship in any other person. We encourage you to agree and tell us in
or other government benefits, to cover such overdrafts and overdraft fees.                       writing of the percentage of the deposit contributed by each of you. This information
                                                                                                 will not, however, affect the “number of signatures” necessary for withdrawal.
Multiple signatures, electronic check conversion, and similar transactions - An
electronic check conversion transaction is a transaction where a check or similar item           Pay-On-Death Account - If two or more of you create such an account, you own the
is converted into an electronic fund transfer as defined in the Electronic Fund                  account jointly with survivorship. Beneficiaries cannot withdraw unless: (1) all persons
Transfers regulation. In these types of transactions the check or similar item is either         creating the account die, and (2) the beneficiary is then living. If two or more
removed from circulation (truncated) or given back to you. As a result, we have no               beneficiaries are named and survive the death of all persons creating the account,
opportunity to review the check to examine the signatures on the item. You agree                 such beneficiaries will own this account in equal shares, with right of survivorship.
that, as to these or any items as to which we have no opportunity to examine the                 The person(s) creating this account type reserves the right to: (1) change
signatures, you waive any requirement of multiple signatures.                                    beneficiaries, (2) change account types, and (3) withdraw all or part of the account
                                                                                                 funds at any time.
Notice of withdrawal - We reserve the right to require not less than 7 days’ notice in
writing before each withdrawal from an interest-bearing account other than a time                In Florida, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
deposit or demand deposit, or from any other savings account as defined by                       These rules apply to this account depending on the form of ownership and beneficiary
Regulation D. (The law requires us to reserve this right, but it is not our general policy       designation, if any, specified on the account records. We make no representations as
to use it.) Withdrawals from a time account prior to maturity or prior to any notice             to the appropriateness or effect of the ownership and beneficiary designations, except
period may be restricted and may be subject to penalty. See your notice of penalty for           as they determine to whom we pay the account funds.
early withdrawal.                                                                                Single-Party Account - Such an account is owned by one party.
In Louisiana, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -                                 Multiple-Party Account - Such an account is payable on request to one or more of
These rules apply to this account depending on the form of ownership and beneficiary             two or more parties, whether or not a right of survivorship is mentioned.
designation, if any, specified on the account records. We make no representations as



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Multiple-Party Account - Tenancy by the Entireties - The account is owned by two               BUSINESS, ORGANIZATION AND ASSOCIATION ACCOUNTS - Earnings in the
parties who are married to each other and hold the account as tenants by the entirety.         form of interest, dividends, or credits will be paid only on collected funds, unless
In Florida, RIGHTS AT DEATH - Single-Party Account - At the death of a party,                  otherwise provided by law or our policy. You represent that you have the authority to
ownership passes as part of the party’s estate.                                                open and conduct business on this account on behalf of the entity. We may require
                                                                                               the governing body of the entity opening the account to give us a separate
Multiple-Party Account With Right of Survivorship - At death of party, ownership
                                                                                               authorization telling us who is authorized to act on its behalf. We will honor the
passes to the surviving party or parties.
                                                                                               authorization until we actually receive written notice of a change from the governing
Multiple-Party Account Without Right of Survivorship - At death of party,                      body of the entity.
deceased party’s ownership passes as part of deceased party’s estate.
                                                                                               In Louisiana, Alabama, Georgia, and Tennessee, STOP PAYMENTS - Unless
Single-Party Account With Pay-on-Death Designation - At death of the party,                    otherwise provided, the rules in this section cover stopping payment of items such as
ownership passes to the designated pay-on-death beneficiaries and is not part of the           checks and drafts. Rules for stopping payment of other types of transfers of funds,
party’s estate.                                                                                such as consumer electronic fund transfers, may be established by law or our policy.
Multiple-Party Account With Right of Survivorship and Pay-on-Death                             If we have not disclosed these rules to you elsewhere, you may ask us about those
Designation - At death of last surviving party, ownership passes to the designated             rules.
pay-on-death beneficiaries and is not part of the last surviving party’s estate.               We may accept an order to stop payment on any item from any one of you. You must
In Georgia and Tennessee, OWNERSHIP OF ACCOUNT AND BENEFICIARY                                 make any stop-payment order in the manner required by law and we must receive it
DESIGNATION - These rules apply to this account depending on the form of                       in time to give us a reasonable opportunity to act on it before our stop-payment cutoff
ownership and beneficiary designation, if any, specified on the account records. We            time. Because stop-payment orders are handled by computers, to be effective, your
make no representations as to the appropriateness or effect of the ownership and               stop-payment order must precisely identify the number, date, and amount of the item,
beneficiary designations, except as they determine to whom we pay the account                  and the payee. You may stop payment on any item drawn on your account whether
funds.                                                                                         you sign the item or not. Generally, if your stop-payment order is given to us in writing
Individual Account - is an account in the name of one person.                                  it is effective for six months. Your order will lapse after that time if you do not renew
                                                                                               the order in writing before the end of the six-month period. If the original stop-
Joint Account - With Survivorship (And Not As Tenants In Common) - is an
                                                                                               payment order was oral your stop-payment order will lapse after 14 calendar days if
account in the name of two or more persons. Each of you intend that when you die
                                                                                               you do not confirm your order in writing within that time period. We are not obligated
the balance in the account (subject to any previous pledge to which we have agreed)
                                                                                               to notify you when a stop-payment order expires. A release of the stop-payment
will belong to the survivor(s). If two or more of you survive, you will own the balance
                                                                                               request may be made only by the person who initiated the stop-payment order.
in the account as joint tenants with survivorship and not as tenants in common.
                                                                                               If you stop payment on an item and we incur any damages or expenses because of
Joint Account - No Survivorship (As Tenants In Common) - is owned by two or
                                                                                               the stop payment, you agree to indemnify us for those damages or expenses,
more persons, but none of you intend (merely by opening this account) to create any
                                                                                               including attorneys’ fees. You assign to us all rights against the payee or any other
right of survivorship in any other person. We encourage you to agree and tell us in
                                                                                               holder of the item. You agree to cooperate with us in any legal actions that we may
writing of the percentage of the deposit contributed by each of you. This information
                                                                                               take against such persons. You should be aware that anyone holding the item may
will not, however, affect the “number of signatures” necessary for withdrawal.
                                                                                               be entitled to enforce payment against you despite the stop-payment order.
Revocable Trust or Pay-On-Death Account - If two or more of you create this type
                                                                                               Our stop-payment cutoff time is one hour after the opening of the next banking day
of account, you own the account jointly with survivorship. Beneficiaries cannot
                                                                                               after the banking day on which we receive the item. Additional limitations on our
withdraw unless: (1) all persons creating the account die, and (2) the beneficiary is
                                                                                               obligation to stop payment are provided by law (e.g., we paid the item in cash or we
then living. If two or more beneficiaries are named and survive the death of all
                                                                                               certified the item).
persons creating the account, beneficiaries will own this account in equal shares,
without right of survivorship. The person(s) creating either of these account types            In Florida, STOP PAYMENTS - Unless otherwise provided, the rules in this section
may: (1) change beneficiaries, (2) change account types, and (3) withdraw all or part          cover stopping payment of items such as checks and drafts. Rules for stopping
of the account funds at any time.                                                              payment of other types of transfers of funds, such as consumer electronic fund
                                                                                               transfers, may be established by law or our policy. If we have not disclosed these
In Texas, UNIFORM SINGLE-PARTY OR MULTIPLE-PARTY ACCOUNT
                                                                                               rules to you elsewhere, you may ask us about those rules.
SELECTION FORM NOTICE - The type of account you select may determine how
property passes on your death. Your will may not control the disposition of funds held         We may accept an order to stop payment on any item from any one of you. You must
in some of the following accounts. You may choose to designate one or more                     make any stop-payment order in the manner required by law, it must be made in a
convenience signers on an account, even if the account is not a convenience                    signed and dated writing, and we must receive it in time to give us a reasonable
account. A designated convenience signer may make transactions on your behalf                  opportunity to act on it before our stop-payment cutoff time. Because stop-payment
during your lifetime, but does not own the account during your lifetime. The                   orders are handled by computers, to be effective, your stop-payment order must
designated convenience signer owns the account on your death only if the                       precisely identify the number, date, and amount of the item, and the payee.
convenience signer is also designated as a P.O.D. payee or trust account beneficiary.          You may stop payment on any item drawn on your account whether you sign the item
Single-Party Account Without “P.O.D.” (Payable on Death) Designation - The                     or not. Your stop-payment order is effective for six months. Your order will lapse after
party to the account owns the account. On the death of the party, ownership of the             that time if you do not renew the order in writing before the end of the six-month
account passes as a part of the party’s estate under the party’s will or by intestacy.         period. We are not obligated to notify you when a stop-payment order expires. A
                                                                                               release of the stop-payment request may be made only by the person who initiated
Single-Party Account With “P.O.D.” (Payable on Death) Designation - The party
                                                                                               the stop-payment order.
to the account owns the account. On the death of the party, ownership of the account
passes to the P.O.D. beneficiaries of the account. The account is not a part of the            If you stop payment on an item and we incur any damages or expenses because of
party’s estate.                                                                                the stop payment, you agree to indemnify us for those damages or expenses,
                                                                                               including attorneys’ fees. You assign to us all rights against the payee or any other
Multiple-Party Account Without Right of Survivorship - The parties to the account
                                                                                               holder of the item. You agree to cooperate with us in any legal actions that we may
own the account in proportion to the parties’ net contributions to the account. The
                                                                                               take against such persons. You should be aware that anyone holding the item may
financial institution may pay any sum in the account to a party at any time. On the
                                                                                               be entitled to enforce payment against you despite the stop-payment order.
death of a party, the party’s ownership of the account passes as a part of the party’s
estate under the party’s will or by intestacy.                                                 Our stop-payment cutoff time is one hour after the opening of the next banking day
                                                                                               after the banking day on which we receive the item. Additional limitations on our
Multiple-Party Account With Right of Survivorship - The parties to the account
                                                                                               obligation to stop payment are provided by law (e.g., we paid the item in cash or we
own the account in proportion to the parties’ net contributions to the account. The
                                                                                               certified the item).
financial institution may pay any sum in the account to a party at any time. On the
death of a party, the party’s ownership of the account passes to the surviving parties.        In Arkansas, STOP PAYMENTS - Unless otherwise provided, the rules in this
                                                                                               section cover stopping payment of items such as checks and drafts. Rules for
Multiple-Party Account With Right of Survivorship and “P.O.D.” (Payable on
                                                                                               stopping payment of other types of transfers of funds, such as consumer electronic
Death) Designation - The parties to the account own the account in proportion to the
                                                                                               fund transfers, may be established by law or our policy. If we have not disclosed
parties’ net contributions to the account. The financial institution may pay any sum in
                                                                                               these rules to you elsewhere, you may ask us about those rules.
the account to a party at any time. On the death of the last surviving party, the
ownership of the account passes to the P.O.D. beneficiaries.                                   We may accept an order to stop payment on any item from any one of you. You must
                                                                                               make any stop-payment order in the manner required by law and we must receive it
Convenience Account - The parties to the account own the account. One or more
                                                                                               in time to give us a reasonable opportunity to act on it before our stop-payment cutoff
convenience signers to the account may make account transactions for a party. A
                                                                                               time. Because stop-payment orders are handled by computers, to be effective, your
convenience signer does not own the account. On the death of the last surviving
                                                                                               stop-payment order must precisely identify the number, date, and amount of the item,
party, ownership of the account passes as a part of the last surviving party's estate
                                                                                               and the payee. You may stop payment on any item drawn on your account whether
under the last surviving party's will or by intestacy. The financial institution may pay
                                                                                               you sign the item or not. Your stop payment order is effective for six months if it is
funds in the account to a convenience signer before the financial institution receives
                                                                                               given to us in writing or by another type of record (Generally, a “record” is information
notice of the death of the last surviving party. The payment to a convenience signer
                                                                                               that is stored in such a way that it can be retrieved and can be heard or read and
does not affect the parties' ownership of the account.
                                                                                               understood – you can ask us what type of stop payment records you can give us).
Trust Account - The parties named as trustees to the account own the account in                Your order will lapse after that time if you do not renew the order in writing before the
proportion to the parties’ net contributions to the account. A trustee may withdraw            end of the six-month period. If the original stop-payment order was oral your stop-
funds from the account. A beneficiary may not withdraw funds from the account                  payment order will lapse after 14 calendar days if it is not confirmed in writing or by
before all trustees are deceased. On the death of the last surviving trustee, the              another type of record within that time period. We are not obligated to notify you when
ownership of the account passes to the beneficiary. The trust account is not a part of         a stop-payment order expires. A release of the stop-payment request may be made
a trustee’s estate and does not pass under the trustee’s will or by intestacy, unless          only by the person who initiated the stop-payment order.
the trustee survives all of the beneficiaries and all other trustees.



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                   Case
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If you stop payment on an item and we incur any damages or expenses because of                 available, you cannot assert a claim against us on any items in that statement, and as
the stop payment, you agree to indemnify us for those damages or expenses,                     between you and us the loss will be entirely yours. This 60-day limitation is without
including attorneys’ fees. You assign to us all rights against the payee or any other          regard to whether we used ordinary care. The limitation in this paragraph is in
holder of the item. You agree to cooperate with us in any legal actions that we may            addition to that contained in the first paragraph of this section.
take against such persons. You should be aware that anyone holding the item may                Your duty to report other errors - In addition to your duty to review your statements
be entitled to enforce payment against you despite the stop-payment order.                     for unauthorized signatures, alterations and forgeries, you agree to examine your
Our stop-payment cutoff time is one hour after the opening of the next banking day             statement with reasonable promptness for any other error - such as an encoding
after the banking day on which we receive the item. Additional limitations on our              error. In addition, if you receive or we make available either your items or images of
obligation to stop payment are provided by law (e.g., we paid the item in cash or we           your items, you must examine them for any unauthorized or missing indorsements or
certified the item).                                                                           any other problems. You agree that the time you have to examine your statement and
In Texas, STOP PAYMENTS - Unless otherwise provided, the rules in this section                 items and report to us will depend on the circumstances. However, this time period
cover stopping payment of items such as checks and drafts. Rules for stopping                  shall not exceed 60 days. Failure to examine your statement and items and report
payment of other types of transfers of funds, such as consumer electronic fund                 any errors to us within 60 days of when we first send or make the statement available
transfers, may be established by law or our policy. If we have not disclosed these             precludes you from asserting a claim against us for any errors on items identified in
rules to you elsewhere, you may ask us about those rules.                                      that statement and as between you and us the loss will be entirely yours.
We may accept an order to stop payment on any item from any one of you. You must               Errors relating to electronic fund transfers or substitute checks (For consumer
make any stop-payment order in the manner required by law; it must be made in a                accounts only) - For information on errors relating to electronic fund transfers (e.g.,
dated, authenticated record that describes the item with certainty. (Generally, a              computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
“record” is information that is stored in such a way that it can be retrieved and can be       disclosure and the sections on consumer liability and error resolution. For information
heard or read and understood – you can ask us what type of stop payment records                on errors relating to a substitute check you received, refer to your disclosure entitled
you can give us). We must receive it in time to give us a reasonable opportunity to act        Substitute Checks and Your Rights.
on it before our stop-payment cutoff time. Because stop-payment orders are handled             In Tennessee, STATEMENTS - Your duty to report unauthorized signatures,
by computers, to be effective, your stop-payment order must precisely identify the             alterations, forgeries and other errors - You must examine your statement of
number, date, and amount of the item, and the payee.                                           account with “reasonable promptness.” In addition, if you receive or we make
You may stop payment on any item drawn on your account whether you sign the item               available either your items or images of your items, you must examine them for any
or not. Your stop-payment order is effective for six months. Your order will lapse after       unauthorized or missing indorsements or any other problems. If you discover (or
that time if you do not renew the order in writing before the end of the six-month             reasonably should have discovered) any unauthorized signatures, alterations,
period. We are not obligated to notify you when a stop-payment order expires. A                incorrect payment amounts, or missing or incorrectly credited deposits, you must
release of the stop-payment request may be made only by the person who initiated               promptly notify us of the relevant facts. As between you and us, if you fail to do either
the stop-payment order.                                                                        of these duties, you will have to bear the loss yourself unless you prove that we did
                                                                                               not pay the item in good faith. The loss could be not only with respect to items on the
If you stop payment on an item and we incur any damages or expenses because of
                                                                                               statement but other items with unauthorized signatures or alterations by the same
the stop payment, you agree to indemnify us for those damages or expenses,
                                                                                               wrongdoer.
including attorneys’ fees. You assign to us all rights against the payee or any other
holder of the item. You agree to cooperate with us in any legal actions that we may            You agree that the time you have to examine your statement and items and report to
take against such persons. You should be aware that anyone holding the item may                us will depend on the circumstances, but will not, in any circumstance, exceed a total
be entitled to enforce payment against you despite the stop-payment order.                     of 30 days from when the statement is first sent or made available to you.
Our stop-payment cutoff time is one hour after the opening of the next banking day             You further agree that if you fail to report any unauthorized signatures, alterations,
after the banking day on which we receive the item. Additional limitations on our              forgeries, incorrect payment amounts, missing or incorrectly credited deposits, or any
obligation to stop payment are provided by law (e.g., we paid the item in cash or we           other errors in your account within 60 days of when we first send or make the
certified the item).                                                                           statement available, you cannot assert a claim against us on any items in that
                                                                                               statement, and as between you and us the loss will be entirely yours. This 60-day
TELEPHONE TRANSFERS - A telephone transfer of funds from this account to
                                                                                               limitation is without regard to whether we used good faith. The limitation in this
another account with us, if otherwise arranged for or permitted, may be made by the
                                                                                               paragraph is in addition to that contained in the first paragraph of this section.
same persons and under the same conditions generally applicable to withdrawals
made in writing. Unless a different limitation is disclosed in writing, we restrict the        Errors relating to electronic fund transfers or substitute checks (For consumer
number of transfers from a savings account to another account or to third parties, to a        accounts only) - For information on errors relating to electronic fund transfers (e.g.,
maximum of six per month (less the number of “preauthorized transfers” during the              computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
month). Other account transfer restrictions may be described elsewhere.                        disclosure and the sections on consumer liability and error resolution. For information
                                                                                               on errors relating to a substitute check you received, refer to your disclosure entitled
AMENDMENTS AND TERMINATION - We may change any term of this agreement.
                                                                                               Substitute Checks and Your Rights.
Rules governing changes in interest rates are provided separately in the Truth-in-
Savings disclosure or in another document. For other changes, we will give you                 In Texas, STATEMENTS - Your duty to report unauthorized signatures,
reasonable notice in writing or by any other method permitted by law. We may also              alterations and forgeries - You must examine your statement of account with
close this account at any time upon reasonable notice to you and tender of the                 “reasonable promptness.” If you discover (or reasonably should have discovered) any
account balance personally or by mail. Items presented for payment after the account           unauthorized signatures or alterations, you must promptly notify us of the relevant
is closed may be dishonored. When you close your account, you are responsible for              facts. As between you and us, if you fail to do either of these duties, you will have to
leaving enough money in the account to cover any outstanding items to be paid from             either share the loss with us, or bear the loss entirely yourself (depending on whether
the account. Reasonable notice depends on the circumstances, and in some cases                 we used ordinary care and, if not, whether we contributed to the loss). The loss could
such as when we cannot verify your identity or we suspect fraud, it might be                   be not only with respect to items on the statement but other items with unauthorized
reasonable for us to give you notice after the change or account closure becomes               signatures or alterations by the same wrongdoer.
effective. For instance, if we suspect fraudulent activity with respect to your account,       You agree that the time you have to examine your statement and report to us will
we might immediately freeze or close your account and then give you notice. If we              depend on the circumstances, but will not, in any circumstance, exceed a total of 30
have notified you of a change in any term of your account and you continue to have             days from when the statement is first sent or made available to you.
your account after the effective date of the change, you have agreed to the new                You further agree that if you fail to report any unauthorized signatures, alterations or
term(s).                                                                                       forgeries in your account within 60 days of when we first send or make the statement
NOTICES - Any written notice you give us is effective when we actually receive it,             available, you cannot assert a claim against us on any items in that statement, and as
and it must be given to us according to the specific delivery instructions provided            between you and us the loss will be entirely yours. This 60-day limitation is without
elsewhere, if any. We must receive it in time to have a reasonable opportunity to act          regard to whether we used ordinary care. The limitation in this paragraph is in
on it. If the notice is regarding a check or other item, you must give us sufficient           addition to that contained in the first paragraph of this section.
information to be able to identify the check or item, including the precise check or           Your duty to report other errors - In addition to your duty to review your statements
item number, amount, date and payee. Written notice we give you is effective when it           for unauthorized signatures, alterations and forgeries, you agree to examine your
is deposited in the United States Mail with proper postage and addressed to your               statement with reasonable promptness for any other error - such as an encoding
mailing address we have on file. Notice to any of you is notice to all of you.                 error. In addition, if you receive or we make available either your items or images of
In Louisiana, Alabama, Arkansas, Florida, and Georgia, STATEMENTS - Your                       your items, you must examine them for any unauthorized or missing indorsements or
duty to report unauthorized signatures, alterations and forgeries - You must                   any other problems. You agree that the time you have to examine your statement and
examine your statement of account with “reasonable promptness.” If you discover (or            items and report to us will depend on the circumstances. However, this time period
reasonably should have discovered) any unauthorized signatures or alterations, you             shall not exceed 60 days. Failure to examine your statement and items and report
must promptly notify us of the relevant facts. As between you and us, if you fail to do        any errors to us within 60 days of when we first send or make the statement available
either of these duties, you will have to either share the loss with us, or bear the loss       precludes you from asserting a claim against us for any errors on items identified in
entirely yourself (depending on whether we used ordinary care and, if not, whether             that statement and as between you and us the loss will be entirely yours.
we substantially contributed to the loss). The loss could be not only with respect to          Errors relating to electronic fund transfers or substitute checks (For consumer
items on the statement but other items with unauthorized signatures or alterations by          accounts only) - For information on errors relating to electronic fund transfers (e.g.,
the same wrongdoer.                                                                            computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
You agree that the time you have to examine your statement and report to us will               disclosure and the sections on consumer liability and error resolution. For information
depend on the circumstances, but will not, in any circumstance, exceed a total of 30           on errors relating to a substitute check you received, refer to your disclosure entitled
days from when the statement is first sent or made available to you.                           Substitute Checks and Your Rights.
You further agree that if you fail to report any unauthorized signatures, alterations or       ACCOUNT TRANSFER - This account may not be transferred or assigned without
forgeries in your account within 60 days of when we first send or make the statement           our prior written consent.


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DIRECT DEPOSITS - If we are required for any reason to reimburse the federal                      The owner may terminate the agency at any time, and the agency is automatically
government for all or any portion of a benefit payment that was directly deposited into           terminated by the death of the owner. However, we may continue to honor the
your account, you authorize us to deduct the amount of our liability to the federal               transactions of the agent until: (a) we have received written notice or have actual
government from the account or from any other account you have with us, without                   knowledge of the termination of the agency, and (b) we have a reasonable
prior notice and at any time, except as prohibited by law. We may also use any other              opportunity to act on that notice or knowledge. We may refuse to accept the
legal remedy to recover the amount of our liability.                                              designation of an agent.
TEMPORARY ACCOUNT AGREEMENT - If the account documentation indicates                              In Alabama, AGENCY (Power of Attorney) DESIGNATION (Single-Party
that this is a temporary account agreement, each person who signs to open the                     Accounts only) - A single individual is the owner. The agent is merely designated to
account or has authority to make withdrawals (except as indicated to the contrary)                conduct transactions on the owner’s behalf. The owner does not give up any rights to
may transact business on this account. However, we may at some time in the future                 act on the account, and the agent may not in any manner affect the rights of the
restrict or prohibit further use of this account if you fail to comply with the                   owner or beneficiaries, if any, other than by withdrawing funds from the account. The
requirements we have imposed within a reasonable time.                                            owner is responsible for any transactions of the agent. We undertake no obligation to
In Louisiana, Alabama, Arkansas, Georgia, and Tennessee, SETOFF - We may                          monitor transactions to determine that they are on the owner’s behalf.
(without prior notice and when permitted by law) set off the funds in this account                The owner may terminate the agency at any time, and the agency is automatically
against any due and payable debt any of you owe us now or in the future. If this                  terminated by the death of the owner. However, we may continue to honor the
account is owned by one or more of you as individuals, we may set off any funds in                transactions of the agent until: (a) we have received written notice or have actual
the account against a due and payable debt a partnership owes us now or in the                    knowledge of the termination of the agency, and (b) we have a reasonable
future, to the extent of your liability as a partner for the partnership debt. If your debt       opportunity to act on that notice or knowledge. We may refuse to accept the
arises from a promissory note, then the amount of the due and payable debt will be                designation of an agent.
the full amount we have demanded, as entitled under the terms of the note, and this               In Arkansas, AGENCY (POWER OF ATTORNEY) DESIGNATION - Agents may
amount may include any portion of the balance for which we have properly                          make account transactions on behalf of the parties, but have no ownership or rights
accelerated the due date.                                                                         at death unless named as Pay-on-Death beneficiaries. The owner does not give up
This right of setoff does not apply to this account if prohibited by law. For example,            any rights to act on the account, and the agent may not in any manner affect the
the right of setoff does not apply to this account if: (a) it is an Individual Retirement         rights of the owner or beneficiaries, if any, other than by withdrawing funds from the
Account or similar tax-deferred account, or (b) the debt is created by a consumer                 account. The owner is responsible for any transactions of the agent. We undertake no
credit transaction under a credit card plan (but this does not affect our rights under            obligation to monitor transactions to determine that they are on the owner’s behalf.
any consensual security interest), or (c) the debtor’s right of withdrawal only arises in         The owner may terminate the agency at any time, and the agency is automatically
a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its         terminated by the death of the owner. However, we may continue to honor the
implementing regulations. We will not be liable for the dishonor of any check when                transactions of the agent until: (a) we have received written notice or have actual
the dishonor occurs because we set off a debt against this account. You agree to                  knowledge of the termination of the agency, and (b) we have a reasonable
hold us harmless from any claim arising as a result of our exercise of our right of               opportunity to act on that notice or knowledge. We may refuse to accept the
setoff.                                                                                           designation of an agent.
In Florida, SETOFF - We may (without prior notice and when permitted by law) set                  In Florida, CONVENIENCE ACCOUNT AGENT (Single-Party Accounts only) - A
off the funds in this account against any due and payable debt any of you owe us now              convenience account, as defined by Florida law, means a deposit account other than
or in the future. If this account is owned by one or more of you as individuals, we may           a certificate of deposit, in the name of one individual, in which one or more individuals
set off any funds in the account against a due and payable debt a partnership owes                have been designated as agent with the right to make deposits to and withdraw funds
us now or in the future, to the extent of your liability as a partner for the partnership         from or draw checks on such account on the owner’s behalf. A single individual is the
debt. If your debt arises from a promissory note, then the amount of the due and                  owner, and the agent is merely designated to conduct transactions on the owner’s
payable debt will be the full amount we have demanded, as entitled under the terms                behalf. The owner does not give up any rights to act on the account, and the agent
of the note, and this amount may include any portion of the balance for which we                  may not in any manner affect the rights of the owner or beneficiaries, if any, other
have properly accelerated the due date.                                                           than by withdrawing funds from the account. The owner is responsible for any
The funds in joint accounts, including accounts owned as tenants by the entireties,               transactions of the agent. We undertake no obligation to monitor transactions to
may be set off by us for any individual or joint debt of any person having withdrawal             determine that they are on the owner’s behalf.
rights. To the extent that setoff of funds in an account owned by husband and wife as             The owner may terminate the agency at any time, and the agency is automatically
tenants by the entireties would ordinarily not be permitted by law for a debt of only             terminated by the death of the owner. However, we may continue to honor the
one of the spouses, both spouses and all persons having rights of withdrawal hereby               transactions of the agent until: (a) we have received written notice or have actual
waive that right and consent to setoff for either an individual or joint debt owed by one         knowledge of the termination of agency, and (b) we have a reasonable opportunity to
or both of them to this bank. This waiver and consent applies to debts on which any               act on that notice or knowledge. We may refuse to accept the designation of a
one of you is liable, whether jointly with another, individually, or those on which you           convenience account agent.
are secondarily liable.
                                                                                                  In Georgia, AUTHORIZED SIGNER (Individual Accounts only) - A single individual
This right of setoff does not apply to this account if prohibited by law. For example,            is the owner. The authorized signer is merely designated to conduct transactions on
the right of setoff does not apply to this account if: (a) it is an Individual Retirement         the owner’s behalf. The owner does not give up any rights to act on the account, and
Account or similar tax-deferred account, or (b) the debt is created by a consumer                 the authorized signer may not in any manner affect the rights of the owner or
credit transaction under a credit card plan (but this does not affect our rights under            beneficiaries, if any, other than by withdrawing funds from the account. The owner is
any consensual security interest), or (c) the debtor’s right of withdrawal only arises in         responsible for any transactions of the authorized signer. We undertake no obligation
a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its         to monitor transactions to determine that they are on the owner’s behalf.
implementing regulations. We will not be liable for the dishonor of any check when
                                                                                                  The owner may terminate the authorization at any time, and the authorization is
the dishonor occurs because we set off a debt against this account. You agree to
                                                                                                  automatically terminated by the death of the owner. However, we may continue to
hold us harmless from any claim arising as a result of our exercise of our right of
                                                                                                  honor the transactions of the authorized signer until: (a) we have received written
setoff.
                                                                                                  notice or have actual knowledge of the termination of authority, and (b) we have a
In Texas, SETOFF - We may (without prior notice and when permitted by law) set off                reasonable opportunity to act on that notice or knowledge. We may refuse to accept
the funds in this account against any due and payable debt any of you owe us now or               the designation of an authorized signer.
in the future. If this account is owned by one or more of you as individuals, we may
                                                                                                  In Tennessee, ADDITIONAL AUTHORIZED SIGNATORY (Individual Accounts
set off any funds in the account against a due and payable debt a partnership owes
                                                                                                  only) - A single individual is the owner. The additional authorized signatory is merely
us now or in the future, to the extent of your liability as a partner for the partnership
                                                                                                  designated to conduct transactions on the owner’s behalf. The owner does not give
debt. If your debt arises from a promissory note, then the amount of the due and
                                                                                                  up any rights to act on the account, and the additional authorized signatory may not in
payable debt will be the full amount we have demanded, as entitled under the terms
                                                                                                  any manner affect the rights of the owner or beneficiaries, if any, other than by
of the note, and this amount may include any portion of the balance for which we
                                                                                                  withdrawing funds from the account. The owner is responsible for any transactions of
have properly accelerated the due date.
                                                                                                  the additional authorized signatory. We undertake no obligation to monitor
This right of setoff does not apply to this account if prohibited by law. For example,            transactions to determine that they are on the owner’s behalf.
the right of setoff does not apply to this account if: (a) it is an Individual Retirement
                                                                                                  The owner may terminate the authorization at any time, and the authorization is
Account or similar tax-deferred account, or (b) the debt is created by a consumer
                                                                                                  automatically terminated by the death of the owner. However, we may continue to
credit transaction under a credit card plan (but this does not affect our rights under
                                                                                                  honor the transactions of the additional authorized signatory until: (a) we have
any consensual security interest), or (c) the debtor’s right of withdrawal only arises in
                                                                                                  received written notice or have actual knowledge of the termination of authority, and
a representative capacity, or (d) the debt is created by a home equity loan, or (e)
                                                                                                  (b) we have a reasonable opportunity to act on that notice or knowledge. We may
setoff is prohibited by the Military Lending Act or its implementing regulations. We will
                                                                                                  refuse to accept the designation of an additional authorized signatory.
not be liable for the dishonor of any check when the dishonor occurs because we set
off a debt against this account. You agree to hold us harmless from any claim arising             RESTRICTIVE LEGENDS OR INDORSEMENTS - The automated processing of the
as a result of our exercise of our right of setoff.                                               large volume of checks we receive prevents us from inspecting or looking for
                                                                                                  restrictive legends, restrictive indorsements or other special instructions on every
In Louisiana, AUTHORIZED SIGNER (Agent) (Individual Accounts only) - A
                                                                                                  check. Examples of restrictive legends placed on checks are “must be presented
single individual is the owner. The authorized signer (hereinafter “agent”) is merely
                                                                                                  within 90 days” or “not valid for more than $1,000.00.” The payee’s signature
designated to conduct transactions on the owner’s behalf. The owner does not give
                                                                                                  accompanied by the words “for deposit only” is an example of a restrictive
up any rights to act on the account, and the agent may not in any manner affect the
                                                                                                  indorsement. For this reason, we are not required to honor any restrictive legend or
rights of the owner or beneficiaries, if any, other than by withdrawing funds from the
                                                                                                  indorsement or other special instruction placed on checks you write unless we have
account. The owner is responsible for any transactions of the agent. We undertake no
                                                                                                  agreed in writing to the restriction or instruction. Unless we have agreed in writing, we
obligation to monitor transactions to determine that they are on the owner’s behalf.
                                                                                                  are not responsible for any losses, claims, damages, or expenses that result from
                                                                                                  your placement of these restrictions or instructions on your checks.


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                   Case
                Case     21-06006 Document
                     6:23-cv-00002 Document190
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                                                          TXSB  on 10/03/22
                                                            06/22/23 in TXSD Page
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CHECK PROCESSING - We process items mechanically by relying solely on the                      LEGAL ACTIONS AFFECTING YOUR ACCOUNT - If we are served with a
information encoded in magnetic ink along the bottom of the items. This means that             subpoena, restraining order, writ of attachment or execution, levy, garnishment,
we do not individually examine all of your items to determine if the item is properly          search warrant, or similar order relating to your account (termed “legal action” in this
completed, signed and indorsed or to determine if it contains any information other            section), we will comply with that legal action. Or, in our discretion, we may freeze the
than what is encoded in magnetic ink. You agree that we have exercised ordinary                assets in the account and not allow any payments out of the account until a final court
care if our automated processing is consistent with general banking practice, even             determination regarding the legal action. We may do these things even if the legal
though we do not inspect each item. Because we do not inspect each item, if you                action involves less than all of you. In these cases, we will not have any liability to you
write a check to multiple payees, we can properly pay the check regardless of the              if there are insufficient funds to pay your items because we have withdrawn funds
number of indorsements unless you notify us in writing that the check requires                 from your account or in any way restricted access to your funds in accordance with
multiple indorsements. We must receive the notice in time for us to have a                     the legal action. Any fees or expenses we incur in responding to any legal action
reasonable opportunity to act on it, and you must tell us the precise date of the check,       (including, without limitation, attorneys’ fees and our internal expenses) may be
amount, check number and payee. We are not responsible for any unauthorized                    charged against your account. The list of fees applicable to your account(s) provided
signature or alteration that would not be identified by a reasonable inspection of the         elsewhere may specify additional fees that we may charge for certain legal actions.
item. Using an automated process helps us keep costs down for you and all account              SECURITY - It is your responsibility to protect the account numbers and electronic
holders.                                                                                       access devices (e.g., an ATM card) we provide you for your account(s). Do not
CHECK CASHING - We may charge a fee for anyone that does not have an account                   discuss, compare, or share information about your account number(s) with anyone
with us who is cashing a check, draft or other instrument written on your account. We          unless you are willing to give them full use of your money. An account number can be
may also require reasonable identification to cash such a check, draft or other                used by thieves to issue an electronic debit or to encode your number on a false
instrument. We can decide what identification is reasonable under the circumstances            demand draft which looks like and functions like an authorized check. If you furnish
and such identification may be documentary or physical and may include collecting a            your access device and grant actual authority to make transfers to another person (a
thumbprint or fingerprint.                                                                     family member or coworker, for example) who then exceeds that authority, you are
INDORSEMENTS - We may accept for deposit any item payable to you or your order,                liable for the transfers unless we have been notified that transfers by that person are
even if they are not indorsed by you. We may give cash back to any one of you. We              no longer authorized.
may supply any missing indorsement(s) for any item we accept for deposit or                    Your account number can also be used to electronically remove money from your
collection, and you warrant that all indorsements are genuine.                                 account, and payment can be made from your account even though you did not
To ensure that your check or share draft is processed without delay, you must                  contact us directly and order the payment.
indorse it (sign it on the back) in a specific area. Your entire indorsement (whether a        You must also take precaution in safeguarding your blank checks. Notify us at once if
signature or a stamp) along with any other indorsement information (e.g. additional            you believe your checks have been lost or stolen. As between you and us, if you are
indorsements, ID information, driver’s license number, etc.) must fall within 11/2” of         negligent in safeguarding your checks, you must bear the loss entirely yourself or
the “trailing edge” of a check. Indorsements must be made in blue or black ink, so             share the loss with us (we may have to share some of the loss if we failed to use
that they are readable by automated check processing equipment.                                ordinary care and if we substantially contributed to the loss).
As you look at the front of a check, the “trailing edge” is the left edge. When you flip       Except for consumer electronic funds transfers subject to Regulation E, you agree
the check over, be sure to keep all indorsement information within 11/2” of that edge.         that if we offer you services appropriate for your account to help identify and limit
                                                                                               fraud or other unauthorized transactions against your account, such as positive pay
                                                                                  7654         or commercially reasonable security procedures, and you reject those services, you
                                  Name
                                  Address, City, State                      20                 will be responsible for any fraudulent or unauthorized transactions which could have
                                  Pay to the
                                                                                               been prevented by the services we offered, unless we acted in bad faith or to the
                                  order of                              $                      extent our negligence contributed to the loss. If we offered you a commercially
                                                                                 dollars       reasonable security procedure which you reject, you agree that you are responsible
                                                                                               for any payment order, whether authorized or not, that we accept in compliance with
                                  Bank Name                                                    an alternative security procedure that you have selected.
                                  and Location
                                                                                               TELEPHONIC INSTRUCTIONS - Unless required by law or we have agreed
                                  Memo
                                                                                               otherwise in writing, we are not required to act upon instructions you give us via
                                    123456789             7654                               facsimile transmission or leave by voice mail or on a telephone answering machine.
         TRAILING EDGE                            FRONT OF CHECK                               MONITORING AND RECORDING TELEPHONE CALLS AND CONSENT TO
                                                                                               RECEIVE COMMUNICATIONS - We may monitor or record phone calls for security
                                                                                               reasons, to maintain a record and to ensure that you receive courteous and efficient
                                                                                               service. You consent in advance to any such recording. We need not remind you of
                                                                                               our recording before each phone conversation.
                                                                                               To provide you with the best possible service in our ongoing business relationship for
                                      1 1/2"             Keep your indorsement                 your account we may need to contact you about your account from time to time by
                                                            out of this area.                  telephone, text messaging or email. However, we must first obtain your consent to
 YOUR INDORSEMENT MUST                                                                         contact you about your account because we must comply with the consumer
 BE WITHIN THIS AREA                                                                           protection provisions in the federal Telephone Consumer Protection Act of 1991
                                                                                               (TCPA), CAN-SPAM Act and their related federal regulations and orders issued by
                                                                                               the Federal Communications Commission (FCC).
                                                   BACK OF CHECK                                    • Your consent is limited to this account, and as authorized by applicable law and
                                                                                                      regulations.
It is important that you confine the indorsement information to this area since the
remaining blank space will be used by others in the processing of the check to place                • Your consent does not authorize us to contact you for telemarketing purposes
additional needed indorsements and information. You agree that you will indemnify,                    (unless you otherwise agreed elsewhere).
defend, and hold us harmless for any loss, liability, damage or expense that occurs            With the above understandings, you authorize us to contact you regarding this
because your indorsement, another indorsement or information you have printed on               account throughout its existence using any telephone numbers or email addresses
the back of the check obscures our indorsement.                                                that you have previously provided to us or that you may subsequently provide to us.
These indorsement guidelines apply to both personal and business checks.                       This consent is regardless of whether the number we use to contact you is assigned
DEATH OR INCOMPETENCE - You agree to notify us promptly if any person with a                   to a landline, a paging service, a cellular wireless service, a specialized mobile radio
right to withdraw funds from your account(s) dies or is adjudicated (determined by the         service, other radio common carrier service or any other service for which you may
appropriate official) incompetent. We may continue to honor your checks, items, and            be charged for the call. You further authorize us to contact you through the use of
instructions until: (a) we know of your death or adjudication of incompetence, and (b)         voice, voice mail and text messaging, including the use of pre-recorded or artificial
we have had a reasonable opportunity to act on that knowledge. You agree that we               voice messages and an automated dialing device.
may pay or certify checks drawn on or before the date of death or adjudication of              If necessary, you may change or remove any of the telephone numbers or email
incompetence for up to ten (10) days after your death or adjudication of                       addresses at any time using any reasonable means to notify us.
incompetence unless ordered to stop payment by someone claiming an interest in the             CLAIM OF LOSS - If you claim a credit or refund because of a forgery, alteration, or
account.                                                                                       any other unauthorized withdrawal, you agree to cooperate with us in the
FIDUCIARY ACCOUNTS - Accounts may be opened by a person acting in a fiduciary                  investigation of the loss, including giving us an affidavit containing whatever
capacity. A fiduciary is someone who is appointed to act on behalf of and for the              reasonable information we require concerning your account, the transaction, and the
benefit of another. We are not responsible for the actions of a fiduciary, including the       circumstances surrounding the loss. You will notify law enforcement authorities of any
misuse of funds. This account may be opened and maintained by a person or                      criminal act related to the claim of lost, missing, or stolen checks or unauthorized
persons named as a trustee under a written trust agreement, or as executors,                   withdrawals. We will have a reasonable period of time to investigate the facts and
administrators, or conservators under court orders. You understand that by merely              circumstances surrounding any claim of loss. Unless we have acted in bad faith, we
opening such an account, we are not acting in the capacity of a trustee in connection          will not be liable for special or consequential damages, including loss of profits or
with the trust nor do we undertake any obligation to monitor or enforce the terms of           opportunity, or for attorneys’ fees incurred by you.
the trust or letters.                                                                          You agree that you will not waive any rights you have to recover your loss against
CREDIT VERIFICATION - You agree that we may verify credit and employment                       anyone who is obligated to repay, insure, or otherwise reimburse you for your loss.
history by any necessary means, including preparation of a credit report by a credit           You will pursue your rights or, at our option, assign them to us so that we may pursue
reporting agency.                                                                              them. Our liability will be reduced by the amount you recover or are entitled to recover
                                                                                               from these other sources.


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EARLY WITHDRAWAL PENALTIES (and involuntary withdrawals) - We may                                UNLAWFUL INTERNET GAMBLING NOTICE - Restricted transactions as defined in
impose early withdrawal penalties on a withdrawal from a time account even if you                Federal Reserve Regulation GG are prohibited from being processed through this
don’t initiate the withdrawal. For instance, the early withdrawal penalty may be                 account or relationship. Restricted transactions generally include, but are not limited
imposed if the withdrawal is caused by our setoff against funds in the account or as a           to, those in which credit, electronic fund transfers, checks, or drafts are knowingly
result of an attachment or other legal process. We may close your account and                    accepted by gambling businesses in connection with the participation by others in
impose the early withdrawal penalty on the entire account balance in the event of a              unlawful Internet gambling.
partial early withdrawal. See your notice of penalty for early withdrawals for additional
information.                                                                                                     ——————————————
ADDRESS OR NAME CHANGES - You are responsible for notifying us of any
change in your address or your name. Unless we agree otherwise, change of address
                                                                                                                 NOTICE OF CHANGE IN VISA ZERO
or name must be made in writing by at least one of the account holders. Informing us                                     LIABILITY RULE
of your address or name change on a check reorder form is not sufficient. We will
attempt to communicate with you only by use of the most recent address you have                  A change in the Visa Core Rules revises the circumstances under which you have
provided to us. If provided elsewhere, we may impose a service fee if we attempt to              zero liability for unauthorized electronic fund transfers. The change is highlighted in
locate you.                                                                                      bold italics type in the next two sentences. Under the new Visa rule, you will not be
                                                                                                 liable for any transactions using a lost or stolen Visa card unless you have been
RESOLVING ACCOUNT DISPUTES - We may place an administrative hold on the                          negligent or engaged in fraud. Under the previous rule, you are not liable for any
funds in your account (refuse payment or withdrawal of the funds) if it becomes                  transaction using a lost or stolen Visa card unless you were grossly negligent or
subject to a claim adverse to (1) your own interest; (2) others claiming an interest as          engaged in fraud. This change becomes effective 21 days after you receive this
survivors or beneficiaries of your account; or (3) a claim arising by operation of law.          notice.
The hold may be placed for such period of time as we believe reasonably necessary
to allow a legal proceeding to determine the merits of the claim or until we receive             Whether conduct is negligent depends on the circumstances and is subject to
evidence satisfactory to us that the dispute has been resolved. We will not be liable            interpretation. However, negligence is generally considered to be the failure to use
for any items that are dishonored as a consequence of placing a hold on funds in                 such care as a reasonably prudent person would have exercised in a similar situation.
your account for these reasons.                                                                  Negligence is more careful conduct than gross negligence.
WAIVER OF NOTICES - To the extent permitted by law, you waive any notice of non-                 As a result of the Visa rule change, you have to use a higher degree of care to have
payment, dishonor or protest regarding any items credited to or charged against your             zero liability for unauthorized transactions than you had to exercise under the
account. For example, if you deposit a check and it is returned unpaid or we receive a           previous Visa rule.
notice of nonpayment, we do not have to notify you unless required by federal                    Here is the disclosure of your liability for unauthorized electronic fund transfers,
Regulation CC or other law.                                                                      effective 21 days after you receive this notice —
ACH AND WIRE TRANSFERS - This agreement is subject to Article 4A of the                                                       UNAUTHORIZED TRANSFERS
Uniform Commercial Code - Fund Transfers as adopted in the state in which you                         (a) Consumer liability.
have your account with us. If you originate a fund transfer and you identify by name                   • Generally. Tell us AT ONCE if you believe your card and/or code has been lost
and number a beneficiary financial institution, an intermediary financial institution or a       or stolen, or if you believe that an electronic fund transfer has been made without
beneficiary, we and every receiving or beneficiary financial institution may rely on the         your permission using information from your check. Telephoning is the best way of
identifying number to make payment. We may rely on the number even if it identifies              keeping your possible losses down. You could lose all the money in your account
a financial institution, person or account other than the one named. You agree to be             (plus your maximum overdraft line of credit). If you tell us within 2 business days after
bound by automated clearing house association rules. These rules provide, among                  you learn of the loss or theft of your card and/or code, you can lose no more than $50
other things, that payments made to you, or originated by you, are provisional until             if someone used your card and/or code without your permission.
final settlement is made through a Federal Reserve Bank or payment is otherwise
made as provided in Article 4A-403(a) of the Uniform Commercial Code. If we do not                    If you do NOT tell us within 2 business days after you learn of the loss or theft of
receive such payment, we are entitled to a refund from you in the amount credited to             your card and/or code, and we can prove we could have stopped someone from
your account and the party originating such payment will not be considered to have               using your card and/or code without your permission if you had told us, you could
paid the amount so credited. Credit entries may be made by ACH. If we receive a                  lose as much as $500.
payment order to credit an account you have with us by wire or ACH, we are not                        Also, if your statement shows transfers that you did not make, including those
required to give you any notice of the payment order or credit.                                  made by card, code or other means, tell us at once. If you do not tell us within 60
FACSIMILE SIGNATURES - Unless you make advance arrangements with us, we                          days after the statement was mailed to you, you may not get back any money you
have no obligation to honor facsimile signatures on your checks or other orders. If we           lost after the 60 days if we can prove that we could have stopped someone from
do agree to honor items containing facsimile signatures, you authorize us, at any                taking the money if you had told us in time.
time, to charge you for all checks, drafts, or other orders, for the payment of money,                If a good reason (such as a long trip or a hospital stay) kept you from telling us,
that are drawn on us. You give us this authority regardless of by whom or by what                we will extend the time periods.
means the facsimile signature(s) may have been affixed so long as they resemble the                   • Additional Limit on Liability for Debit VISA® Card. Unless you have been
facsimile signature specimen filed with us, and contain the required number of                   negligent or have engaged in fraud, you will not be liable for any unauthorized
signatures for this purpose. You must notify us at once if you suspect that your                 transactions using your lost or stolen Debit VISA® Card. This additional limit on
facsimile signature is being or has been misused.                                                liability does not apply to ATM transactions outside of the U.S., to ATM transactions
TRUNCATION, SUBSTITUTE CHECKS, AND OTHER CHECK IMAGES - If you                                   not sent over Visa or Plus networks, or to transactions using your Personal
truncate an original check and create a substitute check, or other paper or electronic           Identification Number which are not processed by VISA®. Visa is a registered
image of the original check, you warrant that no one will be asked to make payment               trademark of Visa International Service Association.
on the original check, a substitute check or any other electronic or paper image, if the              (b) Contact in event of unauthorized transfer. If you believe your card and/or
payment obligation relating to the original check has already been paid. You also                code has been lost or stolen, call or write us at the telephone number or address
warrant that any substitute check you create conforms to the legal requirements and              listed below. You should also call the number or write to the address listed below if
generally accepted specifications for substitute checks. You agree to retain the                 you believe a transfer has been made using the information from your check without
original check in conformance with our internal policy for retaining original checks.            your permission.
You agree to indemnify us for any loss we may incur as a result of any truncated                                                        IBERIABANK
check transaction you initiate. We can refuse to accept substitute checks that have
not previously been warranted by a bank or other financial institution in conformance                                      12719 CANTRELL ROAD, SUITE 103
with the Check 21 Act. Unless specifically stated in a separate agreement between                                                LITTLE ROCK, AR 72223
you and us, we do not have to accept any other electronic or paper image of an                                                      Phone: 800-682-3231
original check.
REMOTELY CREATED CHECKS - Like any standard check or draft, a remotely
created check (sometimes called a telecheck, preauthorized draft or demand draft) is
a check or draft that can be used to withdraw money from an account. Unlike a typical
check or draft, however, a remotely created check is not issued by the paying bank
and does not contain the signature of the account owner (or a signature purported to
be the signature of the account owner). In place of a signature, the check usually has
a statement that the owner authorized the check or has the owner’s name typed or
printed on the signature line.
You warrant and agree to the following for every remotely created check we receive
from you for deposit or collection: (1) you have received express and verifiable
authorization to create the check in the amount and to the payee that appears on the
check; (2) you will maintain proof of the authorization for at least 2 years from the
date of the authorization, and supply us the proof if we ask; and (3) if a check is
returned you owe us the amount of the check, regardless of when the check is
returned. We may take funds from your account to pay the amount you owe us, and if
there are insufficient funds in your account, you still owe us the remaining balance.

200668917-010

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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 4/28/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    20
Account Number               *******8681                                   Statement Dates   4/03/17 thru 4/30/17
Previous Balance              176,577.41                                   Days this Statement Period           28
    4 Deposits/Credits        186,533.54                                   Average Ledger                30,409.61
   23 Checks/Debits           348,419.20                                   Average Collected             30,409.61
Service Charge                       .00
Interest Paid                        .00
Current Balance                14,691.75


                                             Deposits and Additions
Date      Description                                                                            Amount
 4/13     Transfer Credit                                                                      7,076.86
 4/18     Transfer Credit                                                                    107,000.00
 4/26     Credit Memo                                                                         15,350.30
 4/27     Transfer Credit                                                                     57,106.38

                            Withdrawals and Deductions
Date      Description                                   Amount
 4/20     Account Analysis Charge                       213.13-
 4/20     Account Analysis Charge                       810.45-
 4/26     Transfer to DDA                            57,106.38-
          Acct No.             8630-D

                                 Checks in Number Order
Date Check No              Amount Date Check No         Amount Date Check No                                                                  Amount
 4/05   24897              850.00 4/25    24910      3,152.00 4/21    24917                                                                    65.28
 4/12   24903*          23,272.07 4/18    24911      7,076.86 4/24    24918                                                                 3,582.63
 4/03   24904            1,200.00 4/24    24912         190.42 4/28   24919                                                                 2,220.00
 4/21   24906*          10,000.00 4/21    24913         719.00 4/24   24920                                                                   135.06
 4/24   24907               55.00 4/21    24914     15,350.30 4/04    24922*                                                               10,000.00
 4/21   24908           61,963.48 4/24    24915      5,267.30 4/04    24923                                                               139,605.00
 4/28   24909            5,250.00 4/21    24916         334.84
(*) Check Numbers       Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 4/28/17                         Page    2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                            Balance
 4/03               175,377.41    4/18           108,650.34   4/26                                                                        34,944.63-
 4/04                25,772.41    4/20           107,626.76   4/27                                                                        22,161.75
 4/05                24,922.41    4/21            19,193.86   4/28                                                                        14,691.75
 4/12                 1,650.34    4/24             9,963.45
 4/13                 8,727.20    4/25             6,811.45




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 5/31/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    16
Account Number               *******8681                                   Statement Dates   5/01/17 thru 5/31/17
Previous Balance               14,691.75                                   Days this Statement Period           31
   11 Deposits/Credits        338,492.26                                   Average Ledger                38,726.13
   23 Checks/Debits           336,533.71                                   Average Collected             38,726.13
Service Charge                       .00
Interest Paid                        .00
Current Balance                16,650.30


                                             Deposits and Additions
Date      Description                                                                            Amount
 5/16     Transfer Credit                                                                      4,000.00
 5/22     Transfer Credit                                                                      1,000.00
 5/22     Transfer Credit                                                                      2,200.00
 5/23     Transfer Credit                                                                     22,000.00
 5/23     Transfer Credit                                                                    148,094.36
 5/24     Transfer Credit                                                                        600.00
 5/24     Transfer Credit                                                                      1,325.00
 5/24     Transfer Credit                                                                    139,655.00
 5/30     Transfer Credit                                                                      2,854.60
 5/30     Transfer Credit                                                                     15,739.72
 5/31     Transfer Credit                                                                      1,023.58

                             Withdrawals and Deductions
Date      Description                                                                                Amount
 5/01     Payment     ATT                                                                            292.66-
          WEB
 5/03     0121D        Reliant Energy                                                                  44.00-
          TEL
 5/22     0121D        Reliant Energy                                                                  90.51-
          TEL
 5/22     Account Analysis Charge                                                                    190.21-
 5/22     Account Analysis Charge                                                                    542.99-




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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Case    21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 5/31/17                         Page    2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                            Withdrawals and Deductions
Date      Description                                    Amount
 5/25     CL PAYMENT TRAVELERS INSUR                   2,160.10-
          PPD
 5/25     IPFSPMTTXH IPFS       -4242                  5,535.67-
          CCD   GULF COAST ASPHALT COM

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 5/16   24924     10,000.00 5/22    24942          81.28 5/23   24956                                                                          20.00
 5/23   24930*    23,477.07 5/26    24948*         74.80 5/24   24957                                                                     139,605.00
 5/31   24931        113.00 5/11    24951*        554.39 5/30   24958                                                                       2,121.26
 5/11   24932      1,200.00 5/10    24952      6,237.41 5/30    24959                                                                     139,655.00
 5/24   24937*     1,239.36 5/26    24953         900.00
 5/23   24941*       382.84 5/25    24955*     2,016.16
(*) Check Numbers Missing

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                        Balance
 5/01                 14,399.09    5/16               363.29   5/25                                                                   139,896.46
 5/03                 14,355.09    5/22             2,658.30   5/26                                                                   138,921.66
 5/10                  8,117.68    5/23           148,872.75   5/30                                                                    15,739.72
 5/11                  6,363.29    5/24           149,608.39   5/31                                                                    16,650.30




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000283
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Case    21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 6/30/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    38
Account Number               *******8681                                   Statement Dates   6/01/17 thru 7/02/17
Previous Balance               16,650.30                                   Days this Statement Period           32
   13 Deposits/Credits        407,990.79                                   Average Ledger                68,976.69
   44 Checks/Debits           417,470.45                                   Average Collected             68,976.69
Service Charge                       .00
Interest Paid                        .00
Current Balance                 7,170.64


                                             Deposits and Additions
Date      Description                                                                            Amount
 6/01     Transfer Credit                                                                     62,939.28
 6/02     Transfer Credit                                                                      2,425.00
 6/02     Transfer Credit                                                                      5,480.54
 6/09     Transfer Credit                                                                     66,137.15
 6/12     Transfer Credit                                                                     14,700.00
 6/16     Transfer Credit                                                                      2,309.12
 6/22     Transfer Credit                                                                     60,537.13
 6/23     Transfer Credit                                                                    139,605.00
 6/26     Transfer Credit                                                                     50,000.00
 6/29     Transfer Credit                                                                      1,857.36
 6/30     VERIFYBANK PAYPAL                                                                         .10
          PPD
 6/30     VERIFYBANK PAYPAL                                                                                .11
          PPD
 6/30     Transfer Credit                                                                        2,000.00

                            Withdrawals and Deductions
Date      Description                                    Amount
 6/02     Wire Transfer Debit                          2,266.40-
          Jason b Goldstein, Amy Goldste




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                                    Debtor000288
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          Case
       Case    21-06006 Document
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                                   16-1Filed  in on
                                          Filed  TXSB  on 10/03/22
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                                                     STATEMENT OF ACCOUNT




                                                                                                     Date 6/30/17                         Page    2
             GULF COAST ASPHALT COMPANY LLC                                                          Account Number                     *******8681
             OPERATING ACCOUNT
             1990 POST OAK BLVD SUITE 2400
             HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                         *******8681               (Continued)

                                               Withdrawals and Deductions
Date        Description                                                                                Amount


            IBERIABANK
            20170602MMQFMP9H000513
            20170602MMQFMP9H000291
            06021120FT01
 6/07       Transfer to DDA                                                                      66,137.31-
            Acct No.             8630-D
 6/20       Account Analysis Charge                                                                    208.51-
 6/20       Account Analysis Charge                                                                    443.23-
 6/28       CHK ORDERS CHECKS AND FORMS                                                                171.53-
            PPD
 6/30       VERIFYBANK PAYPAL                                                                                .21-
            PPD

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                          Amount
 6/09   24921         50.00 6/12    24971      5,267.30 6/27    24986                                                                        23,612.07
 6/01   24946*     1,250.00 6/08    24972         924.54 6/29   24987                                                                            59.54
 6/08   24960*    15,350.30 6/19    24973         830.50 6/28   24988                                                                           120.71
 6/13   24961         60.00 6/08    24974         660.00 6/27   24989                                                                         1,207.21
 6/12   24962     38,234.40 6/07    24975         139.07 6/27   24990                                                                         1,194.67
 6/30   24963    139,605.00 6/05    24976         372.85 6/26   24991                                                                           296.98
 6/06   24964        313.44 6/14    24979*    14,700.00 6/27    24992                                                                           167.42
 6/05   24965      2,906.93 6/22    24980         985.77 6/26   24993                                                                        23,249.25
 6/12   24966      7,081.27 6/21    24981         178.88 6/29   24994                                                                           136.78
 6/12   24967        199.65 6/21    24982         481.07 6/28   24995                                                                         9,993.42
 6/08   24968      1,942.50 6/19    24983         663.40 6/28   24996                                                                        40,006.58
 6/08   24969      3,140.32 6/29    24984     10,000.00 6/30    25000*                                                                        1,129.58
 6/12   24970      1,239.36 6/28    24985         492.50
(*) Check Numbers Missing

                                  Daily Balance Information
Date                       Balance Date                 Balance Date                                                                           Balance
 6/01                   78,339.58    6/07            14,109.12   6/13                                                                       20,796.63
 6/02                   83,978.72    6/08             7,908.54- 6/14                                                                         6,096.63
 6/05                   80,698.94    6/09            58,178.61   6/16                                                                        8,405.75
 6/06                   80,385.50    6/12            20,856.63   6/19                                                                        6,911.85




                              Please examine this statement upon receipt and report at once if you find any difference.
             If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                            Debtor000289
                                                                                                                                                           556
       Case
    Case    21-06006 Document
         6:23-cv-00002 Document190
                                16-1Filed  in on
                                       Filed  TXSB  on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 6/30/17                         Page    3
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                        Balance
 6/20                  6,260.11    6/23           204,756.52   6/28                                                                   154,244.18
 6/21                  5,600.16    6/26           231,210.29   6/29                                                                   145,905.22
 6/22                 65,151.52    6/27           205,028.92   6/30                                                                     7,170.64




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000290
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
                            16-1Filed  in on
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
                            16-1Filed  in on
                                   Filed  TXSB  on 10/03/22
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
                            16-1Filed  in on
                                   Filed  TXSB  on 10/03/22
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
                            16-1Filed  in on
                                   Filed  TXSB  on 10/03/22
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
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                                   Filed  TXSB  on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 7/31/17                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




Change in terms: Effective September 1, 2017, deposit accounts with no transaction
activity and a zero balance for 30 consecutive days may be closed.

----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    19
Account Number               *******8681                                   Statement Dates   7/03/17 thru 7/31/17
Previous Balance                7,170.64                                   Days this Statement Period           29
    5 Deposits/Credits        221,366.76                                   Average Ledger                29,073.86
   24 Checks/Debits           207,260.98                                   Average Collected             28,556.62
Service Charge                       .00
Interest Paid                        .00
Current Balance                21,276.42


                                             Deposits and Additions
Date      Description                                                                            Amount
 7/18     Transfer Credit                                                                      1,797.96
 7/19     Transfer Credit                                                                     59,963.80
 7/19     Transfer Credit                                                                    139,605.00
 7/27     Transfer Credit                                                                      5,000.00
 7/31     Remote DDA Deposit                                                                  15,000.00

                            Withdrawals and Deductions
Date      Description                                    Amount
 7/17     P-CARD PMT IBERIA                            5,370.76-
          CCD   GULF COAST ASPHALT CB
 7/20     Account Analysis Charge                         17.72-
 7/20     Account Analysis Charge                      1,037.62-
 7/25     Transfer to DDA                              1,918.04-
          Acct No.             8630-D
 7/27     CLUB FEES DYNAMIC CLUB ABC                     168.78-
          PPD

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                       Amount
 7/06   24998        585.52 7/20    25002         994.25 7/27   25005                                                                      2,395.03
 7/05   24999        142.26 7/21    25003    139,605.00 7/25    25006                                                                     23,231.07
 7/18   25001*       803.71 7/27    25004     10,000.00 7/21    25007                                                                        257.24
(*) Check Numbers Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
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                                                                    Debtor000296
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       Case
    Case    21-06006 Document
         6:23-cv-00002 Document190
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 7/31/17                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 7/26   25008        378.52 7/25    25013         187.42 7/25   25018*                                                                        934.35
 7/25   25009      1,275.00 7/26    25014      2,036.36 7/28    25019                                                                       2,231.14
 7/27   25010      4,953.89 7/31    25015      2,220.00
 7/25   25012*     5,267.30 7/26    25016      1,250.00
(*) Check Numbers Missing

                                 Daily Balance Information
Date                      Balance Date                 Balance Date                                                                          Balance
 7/03                   7,170.64    7/19           201,635.15   7/27                                                                      10,727.56
 7/05                   7,028.38    7/20           199,585.56   7/28                                                                       8,496.42
 7/06                   6,442.86    7/21            59,723.32   7/31                                                                      21,276.42
 7/17                   1,072.10    7/25            26,910.14
 7/18                   2,066.35    7/26            23,245.26




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000297
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document190
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/17                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    23
Account Number               *******8681                                   Statement Dates   8/01/17 thru 8/31/17
Previous Balance               21,276.42                                   Days this Statement Period           31
    7 Deposits/Credits        416,363.28                                   Average Ledger                82,933.56
   32 Checks/Debits           276,153.90                                   Average Collected             82,933.56
Service Charge                       .00
Interest Paid                        .00
Current Balance               161,485.80


                                             Deposits and Additions
Date      Description                                                                            Amount
 8/03     Transfer Credit                                                                     15,000.00
 8/04     Transfer Credit                                                                    165,000.00
 8/08     Transfer Credit                                                                     29,722.73
 8/16     Transfer Credit                                                                      5,000.00
 8/18     Transfer Credit                                                                        500.00
 8/22     Transfer Credit                                                                      2,103.33
 8/22     Transfer Credit                                                                    199,037.22

                             Withdrawals and Deductions
Date      Description                                     Amount
 8/02     Transfer to DDA                             64,157.95-
          Acct No.              8630-D
 8/03     Chargeback                                  15,000.00-
 8/07     Transfer to DDA                               8,047.95-
          Acct No.              8630-D
 8/09     PREM PMT    BCBS OF AL                      27,240.03-
          CCD   JOHN TOMASZEWSKI
 8/10     GBDORMBLAC THE HARTFORD                       1,157.85-
          CCD   GULF COAST ASPHALT CO.
 8/10     GBDORMBLAC THE HARTFORD                       1,324.85-
          CCD   GULF COAST ASPHALT CO.
 8/14     P-CARD PMT IBERIA                             6,311.52-
          CCD   GULF COAST ASPHALT CB




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/17                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                            Withdrawals and Deductions
Date      Description                                                                                Amount
 8/21     Account Analysis Charge                                                                    187.35-
 8/21     Account Analysis Charge                                                                    513.81-

                                 Checks in Number Order
Date Check No              Amount Date Check No         Amount Date Check No                                                                 Amount
 8/09   25017              718.70 8/30    25031          25.00 8/25   25043*                                                               6,058.91
 8/15   25022*          42,865.54 8/21    25032      1,500.00 8/28    25044                                                                5,530.67
 8/14   25023            5,250.00 8/17    25033      1,200.00 8/24    25045                                                                  782.71
 8/11   25024           15,575.98 8/29    25035*     2,000.00 8/29    25046                                                                  410.00
 8/01   25025           12,971.60 8/30    25037*     1,743.16 8/25    25047                                                                  389.57
 8/08   25026              424.92 8/30    25038      4,491.89 8/28    25048                                                               10,370.69
 8/07   25028*          29,474.91 8/30    25040*        265.66 8/28   25049                                                                  825.00
 8/14   25030*           4,679.52 8/28    25041      4,658.16
(*) Check Numbers       Missing

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 8/01                 8,304.82    8/10            70,480.39   8/21                                                                      2,103.33-
 8/02                55,853.13- 8/11              54,904.41   8/22                                                                    199,037.22
 8/03                55,853.13- 8/14              38,663.37   8/24                                                                    198,254.51
 8/04               109,146.87    8/15             4,202.17- 8/25                                                                     191,806.03
 8/07                71,624.01    8/16               797.83   8/28                                                                    170,421.51
 8/08               100,921.82    8/17               402.17- 8/29                                                                     168,011.51
 8/09                72,963.09    8/18                97.83   8/30                                                                    161,485.80




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000303
                                                                                                                                                         569
   Case
Case     21-06006 Document
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Case     21-06006 Document
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   Case
Case     21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 9/29/17                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    22
Account Number               *******8681                                   Statement Dates   9/01/17 thru 10/01/17
Previous Balance              161,485.80                                   Days this Statement Period           31
    9 Deposits/Credits        339,346.75                                   Average Ledger                55,036.19
   25 Checks/Debits           278,051.04                                   Average Collected             55,036.19
Service Charge                       .00
Interest Paid                        .00
Current Balance               222,781.51


                                             Deposits and Additions
Date      Description                                                                            Amount
 9/06     Transfer Credit                                                                     51,000.00
 9/12     Transfer Credit                                                                      3,405.68
 9/12     Transfer Credit                                                                      6,520.67
 9/15     Transfer Credit                                                                      1,691.80
 9/19     Transfer Credit                                                                         66.00
 9/21     Transfer Credit                                                                        826.55
 9/22     Transfer Credit                                                                     58,000.00
 9/27     Transfer Credit                                                                    217,336.05
 9/28     Transfer Credit                                                                        500.00

                            Withdrawals and Deductions
Date      Description                                    Amount
 9/15     P-CARD PMT IBERIA                            6,520.67-
          CCD   GULF COAST ASPHALT CB
 9/20     Account Analysis Charge                        186.45-
 9/20     Account Analysis Charge                        640.12-

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                      Amount
 9/18   25027         65.98 9/07    25039*     7,827.03 9/07    25051                                                                     1,200.00
 9/01   25034*   139,605.00 9/05    25042*    16,898.77 9/08    25053*                                                                    5,470.00
 9/01   25036*         5.00 9/11    25050*    44,212.36 9/11    25056*                                                                      673.32
(*) Check Numbers Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000307
                                                                                                                                                     572
   Case
Case     21-06006 Document
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                                          TXSB  on 10/03/22
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                                                                    Debtor000308
                                                                                   573
       Case
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 9/29/17                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          OPERATING ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                       Amount
 9/26   25057      1,080.00 9/22    25065         870.78 9/26   25072                                                                      5,794.04
 9/14   25058      1,691.80 9/26    25066         496.67 9/27   25073                                                                      6,125.77
 9/26   25060*    25,543.05 9/29    25068*     1,325.00 9/27    25074                                                                      1,500.00
 9/26   25063*     1,564.34 9/28    25069      5,810.00
 9/26   25064        332.84 9/27    25071*     2,612.05
(*) Check Numbers Missing

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                        Balance
 9/01                 21,875.80    9/12             6,520.67   9/21                                                                          .00
 9/05                  4,977.03    9/14             4,828.87   9/22                                                                    57,129.22
 9/06                 55,977.03    9/15                   .00  9/26                                                                    22,318.28
 9/07                 46,950.00    9/18                65.98- 9/27                                                                    229,416.51
 9/08                 41,480.00    9/19                   .02  9/28                                                                   224,106.51
 9/11                  3,405.68- 9/20                 826.55- 9/29                                                                    222,781.51




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000309
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   Case
Case     21-06006 Document
     6:23-cv-00002 Document191
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                                          TXSB  on 10/03/22
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   Case
Case     21-06006 Document
     6:23-cv-00002 Document191
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document191
                            16-1Filed  in on
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 10/31/17                       Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                   46
Account Number               *******8681                                   Statement Dates 10/02/17 thru 10/31/17
Previous Balance              222,781.51                                   Days this Statement Period          30
   10 Deposits/Credits        641,236.78                                   Average Ledger               69,803.91
   50 Checks/Debits           639,752.52                                   Average Collected            69,803.91
Service Charge                       .00
Interest Paid                        .00
Current Balance               224,265.77


                                             Deposits and Additions
Date      Description                                                                            Amount
10/02     Transfer Credit                                                                    208,504.25
10/04     Transfer Credit                                                                      1,015.40
10/04     Transfer Credit                                                                      6,500.00
10/04     Transfer Credit                                                                      7,083.10
10/04     Transfer Credit                                                                     63,486.58
10/06     Transfer Credit                                                                      2,921.97
10/11     Transfer Credit                                                                     25,000.00
10/12     TRANSFER    PAYPAL                                                                  28,530.16
          PPD
10/26     Transfer Credit                                                                     20,000.00
10/30     Transfer Credit                                                                    278,195.32

                             Withdrawals and Deductions
Date      Description                                     Amount
10/16     P-CARD PMT IBERIA                             2,921.97-
          CCD   GULF COAST ASPHALT CB
10/20     Account Analysis Charge                         170.27-
10/20     Account Analysis Charge                         561.98-
10/31     Wire Transfer Debit                           3,729.51-
          John D Tomaszewski




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000313
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   Case
Case    21-06006 Document
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                                                                    Debtor000314
                                                                                   578
          Case
       Case    21-06006 Document
            6:23-cv-00002 Document191
                                   16-1Filed  in on
                                          Filed  TXSB  on 10/03/22
                                                    06/22/23 in TXSDPage 1279
                                                                      Page  of of
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                                                     STATEMENT OF ACCOUNT




                                                                                                     Date 10/31/17                       Page     2
             GULF COAST ASPHALT COMPANY LLC                                                          Account Number                     *******8681
             1990 POST OAK BLVD SUITE 2400
             HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                         *******8681               (Continued)

                                               Withdrawals and Deductions
Date        Description                                                                                Amount



            JPMCHASE TEXAS
            20171031MMQFMP9H002035
            20171031B1QGC01R067777
            10311548FT03

                                             Checks in Number Order
Date Check No        Amount                   Date Check No         Amount Date Check No                                                       Amount
10/02   25061      1,164.08                   10/11   25090      6,158.00 10/16   25110                                                        684.63
10/02   25062         35.00                   10/16   25091      5,250.00 10/19   25111                                                      1,241.18
10/02   25067*     4,292.20                   10/13   25092      1,084.52 10/25   25112                                                     20,000.00
10/02   25070*       558.30                   10/11   25093      2,000.00 10/30   25113                                                        838.72
10/19   25075*       888.93                   10/10   25094         507.84 10/31  25115*                                                    44,212.36
10/02   25076    171,130.64                   10/10   25095      1,200.00 10/31   25116                                                      2,615.00
10/02   25077     44,212.36                   10/13   25096      6,500.00 10/31   25118*                                                    25,379.05
10/04   25080*   181,558.56                   10/11   25097      7,083.10 10/27   25120*                                                        30.00
10/10   25081        414.59                   10/10   25098      1,015.40 10/31   25121                                                      2,580.39
10/13   25082      1,284.06                   10/05   25101*    18,486.58 10/31   25126*                                                       165.42
10/06   25083      4,026.62                   10/05   25102     37,000.00 10/26   25127                                                      5,881.29
10/10   25085*     2,680.00                   10/11   25103      5,000.00 10/27   25128                                                        655.91
10/03   25086        291.43                   10/10   25104      3,000.00 10/31   25130*                                                       125.41
10/11   25087        862.50                   10/16   25105     11,347.17 10/31   25132*                                                       606.15
10/12   25088        286.09                   10/19   25107*     7,000.00
10/12   25089        900.00                   10/16   25109*        135.31
(*) Check Numbers Missing

                                Daily Balance Information
Date                      Balance Date                Balance                                          Date                                 Balance
10/02                 209,893.18 10/11             44,615.61                                           10/25                             12,889.66
10/03                 209,601.75 10/12             71,959.68                                           10/26                             27,008.37
10/04                 106,128.27 10/13             63,091.10                                           10/27                             26,322.46
10/05                  50,641.69 10/16             42,752.02                                           10/30                            303,679.06
10/06                  49,537.04 10/19             33,621.91                                           10/31                            224,265.77
10/10                  40,719.21 10/20             32,889.66




                              Please examine this statement upon receipt and report at once if you find any difference.
             If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                            Debtor000315
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document191
                            16-1Filed  in on
                                   Filed  TXSB  on 10/03/22
                                             06/22/23 in TXSDPage 1380
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                                                                        28453




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   Case
Case    21-06006 Document
     6:23-cv-00002 Document191
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Case    21-06006 Document
     6:23-cv-00002 Document191
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Case    21-06006 Document
     6:23-cv-00002 Document191
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document191
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                                   Filed  TXSB  on 10/03/22
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                                                               Page  of of
                                                                        28453

                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 11/30/17                       Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                   36
Account Number               *******8681                                   Statement Dates 11/01/17 thru 11/30/17
Previous Balance              224,265.77                                   Days this Statement Period          30
   11 Deposits/Credits        476,557.14                                   Average Ledger              128,905.50
   44 Checks/Debits           632,419.75                                   Average Collected           128,613.84
Service Charge                       .00
Interest Paid                        .00
Current Balance                68,403.16


                                             Deposits and Additions
Date      Description                                                                            Amount
11/01     Transfer Credit                                                                     42,579.77
11/02     Deposit                                                                              5,750.00
11/02     Transfer Credit                                                                     10,000.00
11/03     Transfer Credit                                                                     22,000.00
11/03     Transfer Credit                                                                    155,370.97
11/10     Transfer Credit                                                                    189,932.51
11/13     TRANSFER    PAYPAL                                                                  20,520.00
          PPD
11/17     Deposit                                                                               1,000.00
11/17     Transfer Credit                                                                       9,753.05
11/20     Transfer Credit                                                                       1,650.84
11/20     TRANSFER    PAYPAL                                                                   18,000.00
          PPD

                            Withdrawals and Deductions
Date      Description                                    Amount
11/01     GBDORMBLAC THE HARTFORD                      1,321.97-
          CCD   GULF COAST ASPHALT CO.
11/01     GBDORMBLAC THE HARTFORD                      1,324.85-
          CCD   GULF COAST ASPHALT CO.
11/01     GBDORMBLAC THE HARTFORD                      1,324.85-
          CCD   GULF COAST ASPHALT CO.




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000321
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   Case
Case    21-06006 Document
     6:23-cv-00002 Document191
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                                   Filed  TXSB  on 10/03/22
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                                                               Page  of of
                                                                        28453




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       Case
    Case    21-06006 Document
         6:23-cv-00002 Document191
                                16-1Filed  in on
                                       Filed  TXSB  on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 11/30/17                       Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                             Withdrawals and Deductions
Date      Description                                    Amount
11/03     Wire Transfer Debit                         22,000.00-
          TOURNAMENT MG, LLC



          CADENCE BANK
          20171103MMQFMP9H001561
          20171103MMQFMPAY000251
          11031510FT03
11/14     DEBIT      FEDERAL EXPRESS                                                                 261.33-
          CCD   GULF COAST ASPHALT COM
11/14     P-CARD PMT IBERIA                                                                      6,659.95-
          CCD   GULF COAST ASPHALT CB
11/20     Account Analysis Charge                                                                    188.18-
11/20     Account Analysis Charge                                                                    319.98-

                                           Checks in Number Order
Date Check No        Amount                 Date Check No         Amount Date Check No                                                        Amount
11/07   25114         22.00                 11/07   25139      2,980.00 11/10   25153                                                         362.21
11/01   25117*   159,380.69                 11/07   25140         100.16 11/13  25154                                                          72.68
11/08   25119*       324.72                 11/03   25141         619.36 11/14  25155                                                     163,857.24
11/06   25122*     1,365.36                 11/07   25142      6,211.90 11/22   25157*                                                        361.98
11/10   25123      5,272.17                 11/08   25143     10,310.00 11/28   25159*                                                      2,010.84
11/01   25125*     5,530.67                 11/09   25144      7,884.00 11/21   25160                                                          48.60
11/02   25129*     3,414.60                 11/13   25145      5,250.00 11/27   25161                                                       2,575.25
11/06   25133*    11,787.26                 11/07   25146         986.05 11/29  25162                                                       3,430.03
11/10   25135*     1,200.00                 11/06   25147     10,000.00 11/28   25163                                                         165.42
11/08   25136      5,230.00                 11/07   25148      2,581.76 11/27   25164                                                         474.53
11/06   25137        558.30                 11/08   25151*   155,370.97 11/27   25165                                                       1,863.00
11/09   25138      1,250.00                 11/21   25152     25,379.05 11/22   25166                                                         787.84
(*) Check Numbers Missing

                              Daily Balance Information
Date                    Balance Date                Balance                                          Date                                 Balance
11/01                97,962.51 11/07            228,456.73                                           11/13                            246,382.49
11/02               110,297.91 11/08             57,221.04                                           11/14                             75,603.97
11/03               265,049.52 11/09             48,087.04                                           11/17                             86,357.02
11/06               241,338.60 11/10            231,185.17                                           11/20                            105,499.70




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000323
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       Case
    Case    21-06006 Document
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                                       Filed  TXSB  on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 11/30/17                       Page     3
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                               Daily Balance Information
Date                     Balance Date                Balance Date                                                                            Balance
11/21                 80,072.05 11/27             74,009.45 11/29                                                                         68,403.16
11/22                 78,922.23 11/28             71,833.19




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000324
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   Case
Case    21-06006 Document
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                                   Filed  TXSB  on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 12/29/17                       Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                   25
Account Number               *******8681                                   Statement Dates 12/01/17 thru 12/31/17
Previous Balance               68,403.16                                   Days this Statement Period          31
    5 Deposits/Credits        207,597.02                                   Average Ledger               73,054.87
   33 Checks/Debits           220,000.00                                   Average Collected            73,054.87
Service Charge                       .00
Interest Paid                        .00
Current Balance                56,000.18


                                             Deposits and Additions
Date      Description                                                                             Amount
12/01     Transfer Credit                                                                      50,000.00
12/07     Transfer Credit                                                                      14,604.84
12/14     TRANSFER    PAYPAL                                                                   15,355.51
          PPD
12/15     Transfer Credit                                                                      29,533.83
12/21     Transfer Credit                                                                      98,102.84

                             Withdrawals and Deductions
Date      Description                                    Amount
12/01     IPFSPMTTXH IPFS         4242                 5,272.30-
          CCD   GULF COAST ASPHALT COM
12/04     Wire Transfer Debit                            515.18-
          John D Tomaszewski




          JPMCHASE TEXAS
          20171204MMQFMP9H000003
          20171204B1QGC01R008123
          12040802FT01




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000329
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   Case
Case    21-06006 Document
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                                                                    Debtor000330
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       Case
    Case    21-06006 Document
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                                                                            28453

                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 12/29/17                       Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                            Withdrawals and Deductions
Date      Description                                    Amount
12/08     IPFSPMTTXH IPFS         4242                 5,272.30-
          CCD   GULF COAST ASPHALT COM
12/14     5122247661 TEXAS MUTUAL INS                    220.60-
          CCD   Gulf Coast Asphalt Com
12/14     P-CARD PMT IBERIA                            4,941.26-
          CCD   GULF COAST ASPHALT CB
12/15     GBDORMBLAC THE HARTFORD                      1,274.29-
          CCD   GULF COAST ASPHALT CO.
12/20     Transfer to DDA                            87,196.87-
          Acct No.             8630-D
12/20     Account Analysis Charge                        211.07-

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
12/04   25158      1,048.38 12/11   25178         532.19 12/26  25189*                                                                      2,520.00
12/08   25167*        18.00 12/05   25179         121.19 12/26  25191*                                                                      2,500.00
12/05   25168     35,107.50 12/08   25180     19,304.11 12/18   25192                                                                       2,500.00
12/05   25169        458.98 12/29   25181         534.15 12/22  25193                                                                       2,500.00
12/04   25171*     1,200.00 12/27   25182      2,303.39 12/19   25194                                                                      10,000.00
12/07   25172      2,651.21 12/18   25183      6,500.00 12/26   25196*                                                                      3,022.59
12/05   25173         19.54 12/13   25184      3,541.56 12/29   25197                                                                       5,395.23
12/05   25174      1,374.75 12/18   25186*     5,000.00
12/01   25177*       711.41 12/26   25187      6,231.95
(*) Check Numbers Missing

                              Daily Balance Information
Date                    Balance Date                Balance                                          Date                                    Balance
12/01               112,419.45 12/13             55,859.40                                           12/21                                81,007.49
12/04               109,655.89 12/14             66,053.05                                           12/22                                78,507.49
12/05                72,573.93 12/15             94,312.59                                           12/26                                64,232.95
12/07                84,527.56 12/18             80,312.59                                           12/27                                61,929.56
12/08                59,933.15 12/19             70,312.59                                           12/29                                56,000.18
12/11                59,400.96 12/20             17,095.35-




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000331
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   Case
Case    21-06006 Document
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Case    21-06006 Document
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 1/31/18                        Page     1
                             AJH BLHMHLGLBLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                             A HM CNOILBNLBCNJK
                             AC JGBMBGHMMC JKJK   1990 POST OAK BLVD SUITE 2400
                             ANHAFNLLGEGE IDNKK
                             DDLLLLDLDLDLDLDLLL   HOUSTON TX 77056
                             014436




AJH BLHMHLGLBLHMHK
A HM CNOILBNLBCNJK
AC JGBMBGHMMC JKJK
ANHAFNLLGEGE IDNKK
DDLLLLDLDLDLDLDLLL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                       24
                     Account Number               *******8681                                                      Statement Dates   1/01/18 thru 1/31/18
                     Previous Balance               56,000.18                                                      Days this Statement Period           31
                         9 Deposits/Credits        486,510.72                                                      Average Ledger                40,335.65
                        31 Checks/Debits           542,357.96                                                      Average Collected             40,335.65
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                   152.94


                                                                                     Deposits and Additions
                     Date                         Description                                                                             Amount
                      1/05                        Transfer Credit                                                                      11,537.40
                      1/05                        Transfer Credit                                                                      27,888.20
                      1/05                        Transfer Credit                                                                      54,000.00
                      1/08                        TRANSFER    PAYPAL                                                                   15,285.50
                                                  PPD
                      1/08                        Transfer Credit                                                                    322,977.16
                      1/11                        Transfer Credit                                                                     17,536.22
                      1/11                        Transfer Credit                                                                     34,786.24
                      1/25                        Transfer Credit                                                                      1,500.00
                      1/30                        Transfer Credit                                                                      1,000.00

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      1/04                        Transfer to DDA                             88,758.14-
                                                  Acct No.              8630-D
                      1/09                        From DDA *8681,To DDA *8665                315,567.41-
                      1/10                        INS PREM    PROG COUNTY MUT                   3,518.00-
                                                  WEB
                      1/11                        CLUB FEES DYNAMIC CLUB ABC                      136.00-
                                                  PPD
                      1/16                        P-CARD PMT IBERIA                             7,497.14-
                                                  CCD   GULF COAST ASPHALT CB




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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   Case
Case     21-06006 Document
     6:23-cv-00002 Document192
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                                          TXSB  on 10/03/22
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                                                                    Debtor000336
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                          Case
                       Case     21-06006 Document
                            6:23-cv-00002 Document192
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                                                                   06/22/23 in TXSD Page
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                                                                                           of 31
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                                                                        STATEMENT OF ACCOUNT




                                                                                                                        Date 1/31/18                        Page     2
                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AJHLF HMHLGLBLHMHK
A HM CNOILBMLFENJK   COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)
AC JHCEGGC IDLEE K
AOBCD NCD CBH IK
DLLLLLDLDDDLDLDLLL
                                                 Withdrawals and Deductions
                     Date      Description                                    Amount
                      1/22     Transfer to DDA                              9,056.00-
                               Acct No.             8630-D
                      1/22     Account Analysis Charge                        211.32-

                                                Checks in Number Order
                     Date Check No        Amount Date Check No         Amount Date Check No                                                                       Amount
                      1/08   25170      1,060.27 1/09    25204         530.26 1/08   25212                                                                      1,550.00
                      1/12   25190*     3,281.88 1/11    25205         875.00 1/12   25213                                                                      1,851.76
                      1/12   25198*     2,289.39 1/11    25206      2,509.15 1/18    25217*                                                                     1,788.75
                      1/02   25199        198.76 1/29    25207      4,241.50 1/12    25218                                                                      1,200.00
                      1/08   25200     10,000.00 1/10    25208      7,409.75 1/18    25220*                                                                    31,797.49
                      1/11   25201        625.63 1/10    25209         187.42 1/12   25221                                                                     17,536.22
                      1/09   25202     25,379.05 1/08    25210         884.27 1/25   25222                                                                        864.38
                      1/22   25203         87.81 1/10    25211         161.46 1/26   25223                                                                      1,303.75
                     (*) Check Numbers Missing

                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                           Balance
                      1/01                56,000.18    1/10            32,483.65   1/25                                                                        4,698.19
                      1/02                55,801.42    1/11            80,660.33   1/26                                                                        3,394.44
                      1/04                32,956.72- 1/12              54,501.08   1/29                                                                          847.06-
                      1/05                60,468.88    1/16            47,003.94   1/30                                                                          152.94
                      1/08               385,237.00    1/18            13,417.70
                      1/09                43,760.28    1/22             4,062.57




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                                                                                                                                                               Debtor000337
                                                                                                                                                                                  599
CaseCase 21-06006 Document 192
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CaseCase 21-06006 Document 192
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                                 FiledinonTXSB on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 2/28/18                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    26
Account Number               *******8681                                   Statement Dates   2/01/18 thru 2/28/18
Previous Balance                  152.94                                   Days this Statement Period           28
    6 Deposits/Credits        307,530.31                                   Average Ledger                40,049.47
   29 Checks/Debits           108,229.42                                   Average Collected             40,049.47
Service Charge                       .00
Interest Paid                        .00
Current Balance               199,453.83


                                             Deposits and Additions
Date      Description                                                                            Amount
 2/01     Transfer Credit                                                                     80,210.82
 2/14     Transfer Credit                                                                      5,747.70
 2/14     Transfer Credit                                                                     10,000.00
 2/21     Transfer Credit                                                                     10,000.00
 2/26     Transfer Credit                                                                     95,000.00
 2/28     Transfer Credit                                                                    106,571.79

                             Withdrawals and Deductions
Date      Description                                     Amount
 2/08     CHK ORDERS CHECKS AND FORMS                     180.07-
          PPD
 2/14     P-CARD PMT IBERIA                             5,772.70-
          CCD   GULF COAST ASPHALT CB
 2/20     Wire Transfer Debit                             299.00-
          John D Tomaszewski




          JPMCHASE TEXAS




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000341
                                                                                                                                                    602
CaseCase 21-06006 Document 192
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                                                                   Debtor000342
                                                                                  603
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 2/28/18                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                            Withdrawals and Deductions
Date      Description                                                                                Amount
          20180220MMQFMP9H000004
          20180220B1QGC01R012139
          02200801FT01

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                       Amount
 2/13   25224      6,950.00 2/05    25233      1,837.92 2/14    25243                                                                        596.20
 2/08   25225        285.77 2/09    25234         212.33 2/23   25244                                                                      5,422.50
 2/09   25226     23,354.07 2/12    25235      1,295.00 2/12    25245                                                                        682.59
 2/08   25227      4,741.65 2/07    25236      1,939.43 2/15    25246                                                                      1,935.86
 2/21   25228          4.80 2/05    25237      1,200.00 2/23    25248*                                                                       332.60
 2/12   25229      2,012.87 2/23    25238      1,100.00 2/22    25249                                                                      9,743.86
 2/09   25230      1,374.75 2/06    25239      3,375.00 2/26    25250                                                                        714.00
 2/08   25231     27,239.30 2/14    25241*        571.30 2/27   25253*                                                                     2,935.42
 2/08   25232        175.00 2/14    25242      1,945.43
(*) Check Numbers Missing

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                        Balance
 2/01                 80,363.76    2/12            10,458.01   2/22                                                                     8,386.56
 2/05                 77,325.84    2/13             3,508.01   2/23                                                                     1,531.46
 2/06                 73,950.84    2/14            10,370.08   2/26                                                                    95,817.46
 2/07                 72,011.41    2/15             8,434.22   2/27                                                                    92,882.04
 2/08                 39,389.62    2/20             8,135.22   2/28                                                                   199,453.83
 2/09                 14,448.47    2/21            18,130.42




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000343
                                                                                                                                                         604
CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 3/30/18                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    29
Account Number               *******8681                                   Statement Dates   3/01/18 thru 4/01/18
Previous Balance              199,453.83                                   Days this Statement Period           32
    7 Deposits/Credits        631,230.13                                   Average Ledger                97,491.84
   33 Checks/Debits           799,880.25                                   Average Collected             97,372.94
Service Charge                       .00
Interest Paid                        .00
Current Balance                30,803.71


                                             Deposits and Additions
Date      Description                                                                            Amount
 3/06     Transfer Credit                                                                    333,936.35
 3/07     Remote DDA Deposit                                                                   3,804.64
 3/07     Transfer Credit                                                                     14,000.00
 3/09     Transfer Credit                                                                    163,115.64
 3/15     Transfer Credit                                                                      5,230.48
 3/20     Transfer Credit                                                                     95,852.52
 3/22     TRANSFER    PAYPAL                                                                  15,290.50
          PPD

                             Withdrawals and Deductions
Date      Description                                     Amount
 3/14     P-CARD PMT IBERIA                             5,230.48-
          CCD   GULF COAST ASPHALT CB
 3/20     Account Analysis Charge                         336.82-
 3/22     TESLA MOTO TESLA MOTORS                     86,491.00-
          PPD
 3/29     Wire Transfer Debit                             397.27-
          John D Tomaszewski




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000347
                                                                                                                                                    608
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                                                                                   609
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount
                                               8
          JPMCHASE TEXAS
          20180329MMQFMP9H000917
          20180329B1QGC01R047903
          03291228FT01

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 3/06   25251     76,800.74 3/12    25264      3,150.00 3/13    25277                                                                         290.40
 3/12   25254*     4,668.01 3/07    25265      1,443.56 3/13    25279*                                                                    144,624.00
 3/02   25255      1,129.10 3/13    25266     14,000.00 3/13    25280                                                                       1,047.06
 3/06   25257*     3,687.50 3/15    25268*     6,000.00 3/13    25281                                                                       2,898.54
 3/01   25258     75,000.00 3/13    25271*        496.26 3/14   25282                                                                         244.35
 3/06   25259     28,409.32 3/26    25272      1,318.86 3/26    25284*                                                                        457.31
 3/09   25260      1,962.47 3/13    25273          71.28 3/22   25286*                                                                        795.06
 3/05   25261      1,200.00 3/13    25274      1,150.00 3/22    25287                                                                       2,678.77
 3/09   25262    326,942.40 3/13    25275         430.00 3/13 925270*                                                                       3,294.89
 3/06   25263      1,984.80 3/16    25276      1,250.00
(*) Check Numbers Missing

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 3/01               124,453.83    3/09           195,750.57   3/16                                                                     12,135.78
 3/02               123,324.73    3/12           187,932.56   3/20                                                                    107,651.48
 3/05               122,124.73    3/13            19,630.13   3/22                                                                     32,977.15
 3/06               345,178.72    3/14            14,155.30   3/26                                                                     31,200.98
 3/07               361,539.80    3/15            13,385.78   3/29                                                                     30,803.71




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000349
                                                                                                                                                         610
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    32
Account Number               *******8681                                   Statement Dates   4/02/18 thru 4/30/18
Previous Balance               30,803.71                                   Days this Statement Period           29
    6 Deposits/Credits        265,107.08                                   Average Ledger                80,404.85
   36 Checks/Debits           226,328.04                                   Average Collected             74,676.20
Service Charge                       .00
Interest Paid                        .00
Current Balance                69,582.75


                                             Deposits and Additions
Date      Description                                                                             Amount
 4/04     Transfer Credit                                                                      74,000.00
 4/10     Remote DDA Deposit                                                                      417.93
 4/11     Transfer Credit                                                                      19,160.63
 4/13     Remote DDA Deposit                                                                   55,237.57
 4/17     Transfer Credit                                                                      33,199.10
 4/26     Transfer Credit                                                                      83,091.85

                             Withdrawals and Deductions
Date      Description                                     Amount
 4/13     P-CARD PMT IBERIA                             6,542.73-
          CCD   GULF COAST ASPHALT CB
 4/20     Account Analysis Charge                         313.05-
 4/25     Transfer to DDA                             83,091.95-
          Acct No.              8630-D
 4/27     Wire Transfer Debit                           1,117.23-
          John D Tomaszewski




          JPMCHASE TEXAS




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000353
                                                                                                                                                    614
CaseCase 21-06006 Document
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                                                                    Debtor000354
                                                                                   615
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                            Withdrawals and Deductions
Date      Description                                                                                Amount
          20180427MMQFMP9H000305
          20180427B1QGC01R020226
          04270949FT03

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 4/09   25240        827.36 4/10    25296          65.74 4/17   25307                                                                      10,000.00
 4/05   25283*     1,683.80 4/10    25297      2,898.54 4/12    25308                                                                       6,900.00
 4/03   25285*       237.58 4/05    25298         797.57 4/18   25309                                                                       3,130.93
 4/30   25288*     6,000.00 4/06    25299      1,699.79 4/19    25310                                                                         270.62
 4/10   25289     25,722.86 4/11    25300          84.14 4/25   25311                                                                       7,500.00
 4/23   25290        256.58 4/13    25301         718.70 4/17   25312                                                                      18,747.55
 4/30   25291      2,966.02 4/10    25302         347.38 4/20   25313                                                                       3,550.00
 4/10   25292         55.68 4/12    25303     17,423.90 4/25    25315*                                                                      2,033.70
 4/10   25293        463.00 4/06    25304      1,642.45 4/23    25316                                                                       3,423.77
 4/06   25294     10,573.11 4/10    25305      1,200.00 4/30    25318*                                                                      1,000.00
 4/12   25295      1,981.68 4/10    25306      1,060.63
(*) Check Numbers Missing

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                            Balance
 4/02                30,803.71    4/11            75,022.64   4/23                                                                        90,199.80
 4/03                30,566.13    4/12            48,717.06   4/25                                                                         2,425.85-
 4/04               104,566.13    4/13            96,693.20   4/26                                                                        80,666.00
 4/05               102,084.76    4/17           101,144.75   4/27                                                                        79,548.77
 4/06                88,169.41    4/18            98,013.82   4/30                                                                        69,582.75
 4/09                87,342.05    4/19            97,743.20
 4/10                55,946.15    4/20            93,880.15




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000355
                                                                                                                                                         616
CaseCase 21-06006 Document
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                             AJH BLHMHLFNB FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                             A HMODOLMHCLNGGOJK
                             AC JLFIMM EGANFG K   1990 POST OAK BLVD SUITE 2400
                             AKNGNIBOJLFABGE JK
                             DLLLLLDLLDLLLLDLDL   HOUSTON TX 77056
                             014739




AJH BLHMHLFNB FODK
A HMODOLMHCLNGGOJK
AC JLFIMM EGANFG K
AKNGNIBOJLFABGE JK
DLLLLLDLLDLLLLDLDL
014739


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                       27
                     Account Number               *******8681                                                      Statement Dates   5/01/18 thru 5/31/18
                     Previous Balance               69,582.75                                                      Days this Statement Period           31
                         5 Deposits/Credits        383,096.99                                                      Average Ledger                98,832.92
                        34 Checks/Debits           406,040.26                                                      Average Collected             98,832.92
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                46,639.48


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      5/04                        Transfer Credit                                                                    211,585.00
                      5/07                        Transfer Credit                                                                     35,538.26
                      5/15                        Transfer Credit                                                                     12,871.14
                      5/21                        Transfer Credit                                                                     40,010.64
                      5/23                        Transfer Credit                                                                     83,091.95

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      5/04                        IPFSPMTTXH IPFS         4242                 5,045.58-
                                                  CCD   GULF COAST ASPHALT COM
                      5/09                        IPFSPMTTXH IPFS877-615-4242                   4,587.34-
                                                  CCD   GULF COAST ASPHALT COM
                      5/14                        P-CARD PMT IBERIA                           12,687.49-
                                                  CCD   GULF COAST ASPHALT CB
                      5/16                        IPFSPMTTXH IPFS877-615-4242                   1,485.59-
                                                  CCD   GULF COAST ASPHALT COM
                      5/21                        Account Analysis Charge                         376.40-
                      5/23                        Wire Transfer Debit                           3,285.06-
                                                  John D Tomaszewski




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            009235

                                                                                                                                                                             Debtor000359
                                                                                                                                                                                              620
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                                                                    Debtor000360
                                                                                   621
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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AJHLF HMHLFNB FODK
A HMODOLMHCKNCAOJK   COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)
AC JKGALMKHCBJIIJK
AJLELKEINMNG JJNLK
DDLLLLDLLLLLLLDLDL
014739                                                            Withdrawals and Deductions
                     Date      Description                                                                                Amount



                               JPMCHASE TEXAS
                               20180523MMQFMP9H000128
                               20180523B1QGC01R013221
                               05230917FT03
                      5/23     Transfer to DDA                                                                      83,091.95-
                               Acct No.             8630-D

                                                Checks in Number Order
                     Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
                      5/07   25314        500.00 5/08    25326         176.69 5/17   25336                                                                       6,396.00
                      5/02   25317*       920.54 5/08    25327      1,172.00 5/07    25337                                                                         270.00
                      5/02   25319*     1,200.00 5/08    25329*        165.42 5/10   25338                                                                      25,000.00
                      5/01   25320      8,319.37 5/10    25330         718.70 5/08   25339                                                                       2,757.39
                      5/02   25321        649.92 5/10    25331    136,902.70 5/08    25340                                                                       1,114.87
                      5/08   25322     17,195.51 5/08    25332          71.28 5/16   25341                                                                      10,842.07
                      5/03   25323      3,000.00 5/08    25333     25,722.86 5/18    25342                                                                         548.48
                      5/14   25324         85.00 5/14    25334     10,000.00 5/23    25343                                                                      40,010.64
                      5/09   25325      1,024.10 5/10    25335         135.31 5/30   25344                                                                         582.00
                     (*) Check Numbers Missing

                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                            Balance
                      5/01                61,263.38    5/09           242,813.14   5/18                                                                        50,882.94
                      5/02                58,492.92    5/10            80,056.43   5/21                                                                        90,517.18
                      5/03                55,492.92    5/14            57,283.94   5/23                                                                        47,221.48
                      5/04               262,032.34    5/15            70,155.08   5/30                                                                        46,639.48
                      5/07               296,800.60    5/16            57,827.42
                      5/08               248,424.58    5/17            51,431.42




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              009237

                                                                                                                                                               Debtor000361
                                                                                                                                                                                  622
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                     CaseCase 21-06006 Document
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 6/29/18                        Page     1
                             AJGNBLHMHKE B FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                             A HM DOLNGHHLGG JK
                             AC MKCAGCBDJNHBO K   1990 POST OAK BLVD SUITE 2400
                             AKCGL IKENANKCMLK
                             DDDLLLDLLLDLLLDLDL   HOUSTON TX 77056
                             017021




AJGNBLHMHKE B FODK
A HM DOLNGHHLGG JK
AC MKCAGCBDJNHBO K
AKCGL IKENANKCMLK
DDDLLLDLLLDLLLDLDL
017021


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                       36
                     Account Number               *******8681                                                      Statement Dates   6/01/18 thru 7/01/18
                     Previous Balance               46,639.48                                                      Days this Statement Period           31
                         6 Deposits/Credits        666,947.55                                                      Average Ledger               125,432.02
                        43 Checks/Debits           435,565.81                                                      Average Collected            125,432.02
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance               278,021.22


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      6/08                        Transfer Credit                                                                     69,521.51
                      6/11                        Transfer Credit                                                                    150,000.00
                      6/15                        Transfer Credit                                                                     14,102.93
                      6/19                        Transfer Credit                                                                    162,326.93
                      6/28                        Transfer Credit                                                                     87,362.99
                      6/29                        Transfer Credit                                                                    183,633.19

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      6/01                        Wire Transfer Debit                           1,681.59-
                                                  John D Tomaszewski




                                                  JPMCHASE TEXAS
                                                  20180601MMQFMP9H000594
                                                  20180601B1QGC01R024802
                                                  06011014FT03
                      6/11                        IPFSPMTTXH IPFS       -4242                                                            1,459.68-
                                                  CCD   GULF COAST ASPHALT COM




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            007547

                                                                                                                                                                             Debtor000365
                                                                                                                                                                                              626
CaseCase 21-06006 Document 193
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                                                                            124.7
                                                                   Debtor000366
                                                                       Adv. No.: 21-06006 8/30/2022
                                                                                            627
                       CaseCase 21-06006 Document 193
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                                                                        STATEMENT OF ACCOUNT




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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AJGJF HMHKE B FODK
A HM DOLNGHGLCA JK   COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)
AC MLBIBCEANMDMAJK
AJEENNKOODFGDF OJK
DLDLLLDLLDDLLLDLDL
017021                                            Withdrawals and Deductions
                     Date      Description                                     Amount
                      6/14     IPFSPMTTXH IPFS        -4242                 1,485.59-
                               CCD   GULF COAST ASPHALT COM
                      6/14     P-CARD PMT IBERIA                             3,231.75-
                               CCD   GULF COAST ASPHALT CB
                      6/20     Account Analysis Charge                         389.62-
                      6/29     Wire Transfer Debit                             170.62-
                               John D Tomaszewski




                               JPMCHASE TEXAS
                               20180629MMQFMP9H003308
                               20180629B1QGC01R089806
                               06291558FT03
                      6/29     Wire Transfer Debit                                                                        800.92-
                               John D Tomaszewski




                               JPMCHASE TEXAS
                               20180629MMQFMP9H000804
                               20180629B1QGC01R032197
                               06291028FT03

                                                Checks in Number Order
                     Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
                      6/01   25345        165.42 6/15    25352         457.82 6/14   25359                                                                          87.28
                      6/04   25346      1,981.68 6/19    25353         718.70 6/13   25360                                                                          20.65
                      6/01   25347        737.00 6/14    25354         314.40 6/13   25361                                                                         165.42
                      6/18   25348        192.23 6/14    25355      1,981.68 6/13    25362                                                                       1,226.49
                      6/04   25349      1,200.00 6/13    25356      1,373.79 6/18    25363                                                                         396.40
                      6/13   25350     25,722.86 6/13    25357         272.90 6/19   25364                                                                      19,686.88
                      6/13   25351     11,331.58 6/20    25358      2,883.07 6/12    25365                                                                     150,000.00
                     (*) Check Numbers Missing




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              007549

                                                                                                                                                               Debtor000367
                                                                                                                                                                                  628
                       CaseCase 21-06006 Document 193
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                                                                        STATEMENT OF ACCOUNT




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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AJGJF HMHKE B FODK
A HM DOLNGHGLCA JK   COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)
AC MLBIBCEANMDMAJK
AJEENNKOODFGDF OJK
DLDLLLDLLDDLLLDLDL
017021                                          Checks in Number Order
                     Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
                      6/18   25366        829.72 6/26    25371     14,293.87 6/27    25376                                                                     134,076.96
                      6/18   25367      4,536.61 6/25    25372         149.48 6/27   25378*                                                                      5,195.00
                      6/19   25368      5,504.85 6/21    25373         426.00 6/27   25381*                                                                      1,000.00
                      6/25   25369      3,525.00 6/25    25374          71.28 6/25   25382                                                                      34,865.14
                      6/28   25370        135.31 6/22    25375         174.03 6/29   25385*                                                                        646.54
                     (*) Check Numbers Missing

                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                         Balance
                      6/01                44,055.47    6/14            61,721.23   6/22                                                                    201,955.16
                      6/04                40,873.79    6/15            75,366.34   6/25                                                                    163,344.26
                      6/08               110,395.30    6/18            69,411.38   6/26                                                                    149,050.39
                      6/11               258,935.62    6/19           205,827.88   6/27                                                                      8,778.43
                      6/12               108,935.62    6/20           202,555.19   6/28                                                                     96,006.11
                      6/13                68,821.93    6/21           202,129.19   6/29                                                                    278,021.22




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              007550

                                                                                                                                                               Debtor000368
                                                                                                                                                                                  629
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                                                  T0 PL0 R                                                                                 Date 7/31/18                        Page     1
                             AJH BLHMHKEOB FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                             A HM DLJNFBK HFMJK
                             AC EJNGHHCODLDFC K   1990 POST OAK BLVD SUITE 2400
                             ALDMDLFGLC ELCAOKK
                             DLDLLLDLLLDLLLDLLL   HOUSTON TX 77056
                             015068




AJH BLHMHKEOB FODK
A HM DLJNFBK HFMJK
AC EJNGHHCODLDFC K
ALDMDLFGLC ELCAOKK
DLDLLLDLLLDLLLDLLL
015068


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                       35
                     Account Number               *******8681                                                      Statement Dates   7/02/18 thru 7/31/18
                     Previous Balance              278,021.22                                                      Days this Statement Period           30
                         5 Deposits/Credits        353,873.19                                                      Average Ledger               150,113.06
                        40 Checks/Debits           599,398.33                                                      Average Collected            150,113.06
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                32,496.08


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      7/03                        Transfer Credit                                                                     99,182.87
                      7/11                        Transfer Credit                                                                     72,647.75
                      7/25                        Transfer Credit                                                                    141,195.78
                      7/26                        Transfer Credit                                                                     11,834.33
                      7/27                        Transfer Credit                                                                     29,012.46

                                                                     Withdrawals and Deductions
                     Date                         Description                                    Amount
                      7/09                        IPFSPMTTXH IPFS         4242                 4,587.34-
                                                  CCD   GULF COAST ASPHALT COM
                      7/13                        Wire Transfer Debit                            374.82-
                                                  John D Tomaszewski




                                                  JPMCHASE TEXAS
                                                  20180713MMQFMP9H001885
                                                  20180713B1QGC01R052159
                                                  07131449FT03
                      7/16                        P-CARD PMT IBERIA                                                                      6,654.53-
                                                  CCD   GULF COAST ASPHALT CB




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            009567

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                                                                                                                                                                                              633
CaseCase 21-06006 Document 193
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                                                                   Debtor000374
                                                                                  634
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                                                                        STATEMENT OF ACCOUNT




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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AJHLF HMHKEOB FODK
A HM DLJNFBL DDMJK   COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)
AC EIOOAHHNHKHIMJK
AIFOFJAA FGCFNNMIK
DDDLLLDLLDDLLLDLLL
015068                                            Withdrawals and Deductions
                     Date      Description                                                                                Amount
                      7/20     Account Analysis Charge                                                                    629.78-
                      7/30     Wire Transfer Debit                                                                        431.25-
                               John D Tomaszewski




                               JPMCHASE TEXAS
                               20180730MMQFMP9H000054
                               20180730B1QGC01R009696
                               07300810FT03

                                                Checks in Number Order
                     Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
                      7/06   25377      1,250.00 7/12    25393      1,021.00 7/30    25406                                                                         280.64
                      7/20   25379*     2,000.00 7/18    25394     42,617.23 7/30    25407                                                                       3,294.06
                      7/02   25380         30.00 7/18    25395         985.36 7/27   25408                                                                          20.69
                      7/05   25383*       227.97 7/16    25396         980.72 7/26   25409                                                                         956.38
                      7/09   25384     41,623.34 7/18    25397      4,068.55 7/26    25410                                                                       1,512.84
                      7/09   25386*   133,887.01 7/12    25398     20,494.30 7/27    25411                                                                          67.52
                      7/03   25387     25,722.86 7/17    25399      1,480.59 7/31    25412                                                                     133,589.80
                      7/10   25388     17,005.00 7/12    25400      8,782.62 7/31    25413                                                                          52.00
                      7/02   25389        362.68 7/19    25401         280.40 7/30   25414                                                                      11,834.33
                      7/02   25390      4,654.72 7/19    25402         165.42 7/30   25417*                                                                        270.00
                      7/02   25391      1,200.00 7/27    25403         961.54 7/31   25419*                                                                     25,722.86
                      7/09   25392     99,182.87 7/31    25405*        135.31
                     (*) Check Numbers Missing

                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                         Balance
                      7/02               271,773.82    7/12            89,820.13   7/25                                                                    170,778.51
                      7/03               345,233.83    7/13            89,445.31   7/26                                                                    180,143.62
                      7/05               345,005.86    7/16            81,810.06   7/27                                                                    208,106.33
                      7/06               343,755.86    7/17            80,329.47   7/30                                                                    191,996.05
                      7/09                64,475.30    7/18            32,658.33   7/31                                                                     32,496.08
                      7/10                47,470.30    7/19            32,212.51
                      7/11               120,118.05    7/20            29,582.73




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              009569

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                                                                                                                                                                                  635
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/18                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    20
Account Number               *******8681                                   Statement Dates   8/01/18 thru 9/03/18
Previous Balance               32,496.08                                   Days this Statement Period           34
    6 Deposits/Credits        186,312.03                                   Average Ledger                38,618.37
   28 Checks/Debits           151,701.96                                   Average Collected             38,618.37
Service Charge                       .00
Interest Paid                        .00
Current Balance                67,106.15


                                             Deposits and Additions
Date      Description                                                                             Amount
 8/01     Transfer Credit                                                                         149.04
 8/03     Transfer Credit                                                                      83,550.11
 8/08     Transfer Credit                                                                       7,500.00
 8/14     Transfer Credit                                                                      37,892.02
 8/20     Transfer Credit                                                                       7,500.00
 8/31     Transfer Credit                                                                      49,720.86

                             Withdrawals and Deductions
Date      Description                                     Amount
 8/02     Transfer to DDA                             82,926.29-
          Acct No.              8630-D
 8/07     Transfer to DDA                                    .20-
          Acct No.              8630-D
 8/09     IPFSPMTTXH IPFS        -4242                 4,587.34-
          CCD   GULF COAST ASPHALT COM
 8/14     IPFSPMTTXH IPFS        -4242                 1,485.59-
          CCD   GULF COAST ASPHALT COM
 8/14     P-CARD PMT IBERIA                             7,920.75-
          CCD   GULF COAST ASPHALT CB
 8/15     Wire Transfer Debit                             618.20-
          John D Tomaszewski




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000379
                                                                                                                                                    639
CaseCase 21-06006 Document
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                                                                    Debtor000380
                                                                                   640
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount




          JPMCHASE TEXAS
          20180815MMQFMP9H000072
          20180815B1QGC01R010660
          08150840FT03
 8/20     Account Analysis Charge                                                                    673.22-
 8/31     Wire Transfer Debit                                                                        941.15-
          John D Tomaszewski




          JPMCHASE TEXAS
          20180831MMQFMP9H000190
          20180831B1QGC01R015257
          08310840FT03

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
 8/03   25404         25.00 8/21    25424          25.00 8/24   25431                                                                      20,332.80
 8/14   25416*     2,500.00 8/17    25425         135.31 8/16   25433*                                                                        248.27
 8/03   25418*       519.60 8/17    25426         328.08 8/20   25434                                                                       8,400.00
 8/27   25420*       149.04 8/20    25427      1,980.72 8/22    25435                                                                          41.40
 8/22   25421      1,710.65 8/17    25428         165.42 8/17   25436                                                                       1,004.47
 8/07   25422      1,200.00 8/17    25429         142.56 8/28   25437                                                                       7,500.00
 8/13   25423      1,715.90 8/20    25430      4,425.00
(*) Check Numbers Missing

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                           Balance
 8/01                 32,645.12    8/07            31,524.14   8/13                                                                       32,720.90
 8/02                 50,281.17- 8/08              39,024.14   8/14                                                                       58,706.58
 8/03                 32,724.34    8/09            34,436.80   8/15                                                                       58,088.38




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000381
                                                                                                                                                         641
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                           Balance
 8/16                 57,840.11    8/21            48,060.33   8/27                                                                       25,826.44
 8/17                 56,064.27    8/22            46,308.28   8/28                                                                       18,326.44
 8/20                 48,085.33    8/24            25,975.48   8/31                                                                       67,106.15




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000382
                                                                                                                                                         642
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    32
Account Number               *******8681                                   Statement Dates   9/04/18 thru 9/30/18
Previous Balance               67,106.15                                   Days this Statement Period           27
   12 Deposits/Credits        218,399.68                                   Average Ledger                29,989.43
   37 Checks/Debits           235,336.72                                   Average Collected             29,986.80
Service Charge                       .00
Interest Paid                        .00
Current Balance                50,169.11


                                             Deposits and Additions
Date      Description                                                                             Amount
 9/05     Transfer Credit                                                                      25,063.64
 9/07     Transfer Credit                                                                       4,500.00
 9/07     Transfer Credit                                                                       7,500.00
 9/12     Transfer Credit                                                                      15,500.00
 9/14     Transfer Credit                                                                       7,764.44
 9/17     Transfer Credit                                                                      10,386.44
 9/19     Transfer Credit                                                                       3,891.36
 9/20     Deposit                                                                                  70.94
 9/25     Transfer Credit                                                                       8,000.00
 9/27     Transfer Credit                                                                      60,000.00
 9/28     Transfer Credit                                                                      25,722.86
 9/28     Transfer Credit                                                                      50,000.00

                             Withdrawals and Deductions
Date      Description                                                                                Amount
 9/14     Wire Transfer Debit                                                                        753.43-
          John D Tomaszewski




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000385
                                                                                                                                                    645
CaseCase 21-06006 Document
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                                                                    Debtor000386
                                                                                   646
   CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                             Withdrawals and Deductions
Date      Description                                     Amount
          Houston, Texas 77098
          JPMCHASE TEXAS
          20180914MMQFMP9H000227
          20180914B1QGC01R014445
          09140917FT03
 9/14     IPFSPMTTXH IPFS877-615-4242                   4,587.34-
          CCD   GULF COAST ASPHALT COM
 9/17     P-CARD PMT IBERIA                             5,377.34-
          CCD   GULF COAST ASPHALT CB
 9/20     Account Analysis Charge                         839.23-
 9/28     Wire Transfer Debit                             556.51-
          John D Tomaszewski




          JPMCHASE TEXAS
          20180928MMQFMP9H000883
          20180928B1QGC01R037460
          09281110FT03

                                 Checks in Number Order
Date Check No              Amount Date Check No         Amount Date Check No                                                                 Amount
 9/05   25438           25,722.86 9/05    25449      1,034.48 9/21    25460                                                                  442.95
 9/04   25439              831.76 9/13    25450      5,810.00 9/21    25461                                                                7,962.77
 9/06   25440               26.20 9/12    25451      1,150.60 9/18    25462                                                                  735.83
 9/06   25441              100.00 9/14    25452      4,500.00 9/24    25463                                                                3,155.53
 9/04   25442              958.69 9/14    25453          52.00 9/21   25464                                                                1,500.00
 9/12   25443           20,352.65 9/17    25454         400.00 9/27   25465                                                               36,442.04
 9/04   25444               10.00 9/07    25455      6,000.00 9/27    25466                                                                4,387.28
 9/10   25445              718.70 9/11    25456      7,500.00 9/25    25467                                                                1,248.06
 9/06   25446            1,000.00 9/11    25457      7,000.00 9/28    25469*                                                               1,480.59
 9/05   25447           12,958.16 9/12    25458      2,500.00 9/27    25470                                                               60,000.00
 9/06   25448            5,261.00 9/21    25459      1,980.72
(*) Check Numbers       Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000387
                                                                                                                                                         647
   CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                           Balance
 9/04                 65,305.70    9/12            26,544.69   9/20                                                                       25,602.70
 9/05                 50,653.84    9/13            20,734.69   9/21                                                                       13,716.26
 9/06                 44,266.64    9/14            18,606.36   9/24                                                                       10,560.73
 9/07                 50,266.64    9/17            23,215.46   9/25                                                                       17,312.67
 9/10                 49,547.94    9/18            22,479.63   9/27                                                                       23,516.65-
 9/11                 35,047.94    9/19            26,370.99   9/28                                                                       50,169.11




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000388
                                                                                                                                                         648
CaseCase 21-06006 Document
     6:23-cv-00002 Document193
                            16-1 Filed
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

  Effective Oct 2018, Earnings Credit Rate will be tiered based on balances.
  Eligible account balances above $250,000 and $1,000,000 may qualify for a
  premium Earnings Credit Rate.
  Tier 1 - $0.00 - $249,999.99
  Tier 2 - $250,000.00 - $999,999.99
  Tier 3 - $1,000,000.00 and greater

COMMERCIAL CHECKING ANALYSIS                                                                                   21
Account Number               *******8681                                   Statement Dates 10/01/18 thru 10/31/18
Previous Balance               50,169.11                                   Days this Statement Period          31
    6 Deposits/Credits        251,523.87                                   Average Ledger               29,017.34
   30 Checks/Debits           295,805.17                                   Average Collected            27,726.38
Service Charge                       .00
Interest Paid                        .00
Current Balance                 5,887.81


                                             Deposits and Additions
Date      Description                                                                            Amount
10/03     Transfer Credit                                                                      8,594.81
10/12     Transfer Credit                                                                     57,000.00
10/24     Deposit                                                                                 19.70
10/24     Transfer Credit                                                                     45,418.75
10/29     Deposit                                                                             40,000.00
10/29     Return Item Credit                                                                 100,490.61

                             Withdrawals and Deductions
Date      Description                                     Amount
10/04     5122247661 TEXAS MUTUAL INS                      49.40-
          CCD   Gulf Coast Asphalt Com
10/15     P-CARD PMT IBERIA                             6,499.12-
          CCD   GULF COAST ASPHALT CB
10/15     ENC ERR CK 25396                              1,000.00-
          L/S 980.72/1980.72




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000393
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CaseCase 21-06006 Document
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                                                                    Debtor000394
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                             Withdrawals and Deductions
Date      Description                                     Amount
10/19     Wire Transfer Debit                           2,014.68-
          John D Tomaszewski




          JPMCHASE TEXAS
          20181019MMQFMP9H000327
          20181019B1QGC01R020674
          10191026FT03
10/22     Account Analysis Charge                                                                 839.83-
10/24     Wire Transfer Debit                                                                  22,728.66-
          Perdido Supply & Trading




          JPMCHASE TEXAS
          20181024MMQFMP9H000328
          20181024B1QGC01R020227
          10241039FT03
10/26     Transfer to DDA                                                                      84,039.18-
          Acct No.             8630-D
10/29     Transfer to DDA                                                                    100,490.61-
          Acct No.             8630-D
10/30     Transfer to DDA                                                                        5,490.61-
          Acct No.             8630-D

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                       Amount
10/02   25468        728.70 10/22   25475         507.84 10/15  25480                                                                         73.06
10/02   25471*    25,722.86 10/17   25476      3,487.07 10/16   25481                                                                      6,136.96
10/04   25472      5,668.67 10/16   25477      4,563.28 10/16   25482                                                                        165.42
10/03   25473      1,726.14 10/16   25478         138.12 10/17  25486*                                                                     2,454.18
10/05   25474      1,200.00 10/18   25479      1,980.72 10/12   25487                                                                     14,697.27
(*) Check Numbers Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000395
                                                                                                                                                         654
   CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount Date Check No                                                                        Amount
10/17   25491*       400.00 10/24   25493         270.62 10/30  25495                                                                          20.74
10/16   25492      1,373.17 10/29   25494         165.42 10/24  25496                                                                       1,172.84
(*) Check Numbers Missing

                               Daily Balance Information
Date                     Balance Date                Balance                                         Date                                    Balance
10/01                 50,169.11 10/15             58,398.70                                          10/24                                55,603.76
10/02                 23,717.55 10/16             46,021.75                                          10/26                                28,435.42-
10/03                 30,586.22 10/17             39,680.50                                          10/29                                11,399.16
10/04                 24,868.15 10/18             37,699.78                                          10/30                                 5,887.81
10/05                 23,668.15 10/19             35,685.10
10/12                 65,970.88 10/22             34,337.43




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000396
                                                                                                                                                         655
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

  Effective Oct 2018, Earnings Credit Rate will be tiered based on balances.
  Eligible account balances above $250,000 and $1,000,000 may qualify for a
  premium Earnings Credit Rate.
  Tier 1 - $0.00 - $249,999.99
  Tier 2 - $250,000.00 - $999,999.99
  Tier 3 - $1,000,000.00 and greater

COMMERCIAL CHECKING ANALYSIS                                                                                   35
Account Number               *******8681                                   Statement Dates 11/01/18 thru 12/02/18
Previous Balance                5,887.81                                   Days this Statement Period          32
    6 Deposits/Credits        438,256.35                                   Average Ledger               55,643.36
   44 Checks/Debits           425,673.62                                   Average Collected            55,643.36
Service Charge                       .00
Interest Paid                        .00
Current Balance                18,470.54


                                             Deposits and Additions
Date      Description                                                                             Amount
11/02     TRANSFER    PAYPAL                                                                   14,491.75
          WEB
11/02     Transfer Credit                                                                    112,000.00
11/02     Transfer Credit                                                                    150,000.00
11/19     Transfer Credit                                                                    131,625.95
11/27     Transfer Credit                                                                      2,638.65
11/28     Transfer Credit                                                                     27,500.00

                            Withdrawals and Deductions
Date      Description                                   Amount
11/01     Chargeback                                 40,000.00-
11/07     Wire Transfer Debit                           583.09-
          Jason b Goldstein, Amy Goldste




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000399
                                                                                                                                                    658
CaseCase 21-06006 Document 194
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                                                                       VITOL EXHIBIT
                                                                                                  exhibitsticker.com




                                                                            124.8
                                                                   Debtor000400
                                                                       Adv. No.: 21-06006 8/30/2022
                                                                                            659
   CaseCase 21-06006 Document 194
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                            Withdrawals and Deductions
Date      Description                                    Amount
          6215 Holly Springs Dr
          Houston, Texas 77057
          IBERIABANK
          20181107MMQFMP9H000217
          20181107MMQFMP9H000254
          11071016FT03
11/15     Wire Transfer Debit                          2,229.14-
          Kenny Hucker
          062000019
          0074783351



          REGIONS
          20181115MMQFMP9H000970
          20181115F2QCZ00C002862
          11151245FT03
11/15     Wire Transfer Debit                                                                    2,320.63-
          John D Tomaszewski




          JPMCHASE TEXAS
          20181115MMQFMP9H000973
          20181115B1QGC01R045387
          11151245FT03
11/15     Wire Transfer Debit                                                                    7,004.76-
          Perdido Supply & Trading




                                                   US
          JPMCHASE TEXAS




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000401
                                                                                                                                                         660
   CaseCase 21-06006 Document 194
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                             Withdrawals and Deductions
Date      Description                                     Amount
          20181115MMQFMP9H000965
          20181115B1QGC01R045322
          11151245FT03
11/15     IPFSPMTTXH IPFS877-615-4242                   4,587.34-
          CCD   GULF COAST ASPHALT COM
11/15     P-CARD PMT IBERIA                             6,017.56-
          CCD   GULF COAST ASPHALT CB
11/20     Account Analysis Charge                       1,027.05-
11/30     Wire Transfer Debit                             512.51-
          John D Tomaszewski




          JPMCHASE TEXAS
          20181130MMQFMP9H000121
          20181130B1QGC01R014716
          11300833FT03

                                           Checks in Number Order
Date Check No              Amount           Date Check No         Amount Date Check No                                                        Amount
11/01   25488           20,363.57           11/13   25508         236.57 11/19  25522                                                         246.07
11/01   25497*          50,000.00           11/06   25509      1,200.00 11/20   25523                                                     130,000.00
11/13   25498           25,722.86           11/05   25511*    30,000.00 11/26   25524                                                         135.31
11/02   25499              388.52           11/06   25512     30,000.00 11/28   25525                                                          26.54
11/05   25500            1,900.00           11/09   25513      2,079.51 11/26   25526                                                         334.00
11/09   25501              159.89           11/20   25514      1,250.00 11/26   25527                                                         152.45
11/05   25502            2,112.38           11/28   25515      3,161.38 11/26   25528                                                         142.56
11/08   25503            1,374.75           11/19   25516         978.16 11/27  25529                                                         377.00
11/13   25504            4,811.46           11/16   25517         500.00 11/23  25530                                                         458.09
11/15   25505              779.40           11/15   25518      1,155.21 11/27   25531                                                         617.47
11/08   25506           20,350.51           11/16   25519      1,290.46 11/28   25532                                                      27,500.00
11/08   25507            1,422.00           11/21   25521*        165.42
(*) Check Numbers       Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000402
                                                                                                                                                         661
   CaseCase 21-06006 Document 194
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8681
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8681               (Continued)

                              Daily Balance Information
Date                    Balance Date                Balance                                          Date                                    Balance
11/01               104,475.76- 11/09            80,445.34                                           11/21                                21,749.20
11/02               171,627.47 11/13             49,674.45                                           11/23                                21,291.11
11/05               137,615.09 11/15             25,580.41                                           11/26                                20,526.79
11/06               106,415.09 11/16             23,789.95                                           11/27                                22,170.97
11/07               105,832.00 11/19            154,191.67                                           11/28                                18,983.05
11/08                82,684.74 11/20             21,914.62                                           11/30                                18,470.54




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000403
                                                                                                                                                         662
CaseCase 21-06006 Document 194
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                            16-1 Filed
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                                     ůŰŰűŲųŴŵűťŶŷŸŴŹťźŻťżŽźžſťťƀƁŴƂťƂŲƁűƃƄŹűťƅŰťŰűűƂťƆŴŹŹťƇŷŷŹƈŻťŰűűťŲƁƇƉƊűƂťƇŸűťƋƅŹƃűƃƌť
ƍŴƂŲűŹŹƇƉűƅƄƂťƎűűƂťƏťƐƄƂŴƉűƂƂťƇƉƃťƑƅƂųŴƉƊťƒŸƃűŸť
  ƓƔƕƖƗƘŨŤƙţƚŤţƛťŧŤƜƝƞƚƞƛŢƘţť                                                                                    ƟŪƠūƠƠťƖťŢƛŤƚť
  ƓơƢťŦƘƙŤŢƣţťƤšƞƣŤťŦŤŤťƥƦƘţ ƨşƩŧƨƓşƓƦƪťƓơƢťƘƙťŢƛšťţƘţ ƞƫƫŢƝŢƞƛŤũťţŤƛƬƘƙƭšƮť                                     ƟŬūƠƠťƖťƛƙƞţšƞƜƛŢƘţťť
  ƓơƢƖƯŤưŢƛťƔƞƙũťŧŤƱƝƞƜŤƚŤţƛť                                                                                    ƟƲūƠƠťƖťƜƞƙũť
  ƓơƢƖƯŤưŢƛťƔƞƙũťƩƳƱŤũŢƛŤũťŧŤƱƝƞƜŤƚŤţƛť                                                                          ƟŬƲūƠƠťŤƞƜƴť
  ƐŴŹŹťƑƇƈť ťƵƶŹŴűƉųƂťűƷŲűűƃŴƉƊťżƸťŴųűƹƂťƆŴŹŹťƋűťŲƅƉŵűŸųűƃťųƅťƇťŲƅƹƹűŸŲŴƇŹťŷŸƅƃƄŲųƺť                             ƎŸűűť ťŹŴƹŴųűƃťųƅťżƸťƋŴŹŹƂťŷűŸťƹƅƉųƁť
  ƔƘƝƝŤƜƛŢƘţťƨƛŤƚšť                                                                                              ť
        ƔƘƝƝŤƜƛŢƘţťŦŤŤť ťƯƘƚŤšƛŢƜťƼƽƟŪƠƠť                                                                        ƟƾūƲƠťť
        ƔƘƝƝŤƜƛŢƘţťŦŤŤť ťƯƘƚŤšƛŢƜťƿƟŪƠƠť                                                                         ƟŪƲūƠƠť
        ƔƘƝƝŤƜƛŢƘţťŦŤŤť ťƨţƛŤƙţƞƛŢƘţƞƝťť                                                                         ƟǀƲūƠƠť
  ƔƘŢţťǁťƔŠƙƙŤţƜǂťťť                                                                                             ť
       ƔƘŢţťǁťƔŠƙƙŤţƜǂťƯŤƱƘšŢƛŤũť ťƓƫƛŤƙťƛƴŤťƫŢƙšƛťƟŪƠǃƠƠƠťƱŤƙťšƛƞƛŤƚŤţƛťƜǂƜƝŤťť
       ƥƔƴƘŢƜŤťşŠšŢţŤššťƔƪǃťşŠšŢţŤššťƨţƛŤƙŤšƛťƔƪǃťşŠšŢţŤššťƔƴŤƜƭŢţƣťǄƝŠšǃťƓũŨƞţƜŤũťşŠšŢţŤššťƔƴŤƜƭŢţƣƮť           ƟŬūƠƠťƱŤƙťƟŪǃƠƠƠťť
            ƔƘŢţťǁťƔŠƙƙŤţƜǂťƯŤƱƘšŢƛŤũťť
            ƥƔƘƚƚŤƙƜŢƞƝťƓţƞƝǂšŢšƮ ť                                                                              ƟŪūƲƠťƱŤƙťƟŪǃƠƠƠť
            şŠƝƭťƔƘŢţťƯŤƱƘšŢƛŤũť                                                                                 ƟǀūƠƠťƖťưƞƣť
            ƔŠƙƙŤţƜǂťŦŠƙţŢšƴŤũť                                                                                  ƟƠūƲƠťƖťšƛƙƞƱť
            ƔƘŢţšťŦŠƙţŢšƴŤũť                                                                                     ƟƠūŪƲťƖťƙƘƝƝť
  ƔƘƱŢŤšťƥŢţƜƝŠũŤšťƜƴŤƜƭťƜƘƱŢŤšƮťƞţũťŦƞƳŤšť                                                                      ƟŬūƠƠťƖťƱƞƣŤť
  ƔƘŠţƛŤƙťƔƴŤƜƭšť                                                                                                ƟŪūƠƠťƫƘƙťƲťƜƴŤƜƭšť
  ƯŤƱƘšŢƛťƓššŤššƚŤţƛťŦŤŤťƥƔƘƚƚŤƙƜŢƞƝťƓţƞƝǂšŢšťƓƜƜƘŠţƛšťǅţƝǂƮť                                                    ūƠŪƠǆťƘţťũƞŢƝǂťƞŨŤƙƞƣŤťƝŤũƣŤƙťưƞƝƞţƜŤť
  ƯŤƱƘšŢƛťƔƘƙƙŤƜƛŢƘţť                                                                                            ƟǀūƠƠťŤƞƜƴť
  ƯŤƱƘšŢƛťƛƘťƯŤƱƘšŢƛťǅŨŤƙũƙƞƫƛťǄƙƘƛŤƜƛŢƘţťơƙƞţšƫŤƙšť                                                             ƟŪƠūƠƠťƖťũƞǂťť
  ƯƘƙƚƞţƛťƓƜƜƘŠţƛťƥƞƱƱƝŢŤšťƛƘťũƘƙƚƞţƛťƞƜƜƘŠţƛťưƞƝƞţƜŤšťƝŤššťƛƴƞţťƟŪƠƠťƱŤƙťƚƘţƛƴƮťť                               ƟƲūƠƠťƖťƚƘţƛƴťƥţƘƛťƞƱƱƝŢƜƞưƝŤťŢţťơŤƳƞšƮť
  ŦƘƙŤŢƣţťƔŠƙƙŤţƜǂťƩƳƜƴƞţƣŤťƥƞũũŢƛŢƘţƞƝťƫŤŤšťƚƞǂťƞƱƱƝǂƮť                                                         ť
            ƟǀƠƠťƘƙťƚƘƙŤť                                                                                        ƟŪƠūƠƠťƖťƛƙƞţšƞƜƛŢƘţť
            ǇŤššťƛƴƞţťƟǀƠƠť                                                                                      ƟŬƠūƠƠťƖťƛƙƞţšƞƜƛŢƘţť
  ǇŤƣƞƝťǄƙƘƜŤššť                                                                                                 ƟƾƲūƠƠťƖťŤŨŤţƛť
  ƢƘţŤǂťşƞƣť                                                                                                     ǈƞƙŢŤšť
  ƢŤũƞƝƝŢƘţťǉƛƞƚƱťƗŠƞƙƞţƛŤŤťƥƬƴŤƙŤťƞŨƞŢƝƞưƝŤƮť                                                                   ƟŪƲūƠƠť
  ƢƘţŤǂťƢƞƙƭŤƛťƓƜƜƘŠţƛťƩƳƜŤššŢŨŤťơƙƞţšƞƜƛŢƘţťŦŤŤť                                                                ƟŪƲūƠƠťƖťŢƛŤƚť
  ƦŤƣƞƛŢŨŤťƔƘƝƝŤƜƛŤũťşƞƝƞţƜŤťŦŤŤť                                                                                ǄƙŢƚŤťǊťǀǆťƘţťũƞŢƝǂťƞŨŤƙƞƣŤťţŤƣƞƛŢŨŤťƜƘƝƝŤƜƛŤũťưƞƝƞţƜŤť
  ƦƘƛƞƙǂťǉŤƙŨŢƜŤšť                                                                                               ƢƞǂťŨƞƙǂťưǂťǉƛƞƛŤť
  ǅƫƫŢƜŢƞƝťƔƴŤƜƭšƖƔƞšƴŢŤƙťƔƴŤƜƭšť                                                                                ƟǋūƠƠť
  ǅŨŤƙũƙƞƫƛťƥǄƞŢũƮťƨƛŤƚťŦŤŤťƥƞƱƱƝŢŤšťƛƘťƘŨŤƙũƙƞƫƛšťƜƙŤƞƛŤũťưǂťƜƴŤƜƭšǃťŢţťƱŤƙšƘţťƬŢƛƴũƙƞƬƞƝšǃťƓơƢťťťťť
  ťťťťťťťťťťƬŢƛƴũƙƞƬƞƝšťƘƙťƘƛƴŤƙťŤƝŤƜƛƙƘţŢƜťƚŤƞţšƮť                                                              ƟǀƲūƠƠťƱŤƙťŢƛŤƚǌťƱŤƙťƱƙŤšŤţƛƚŤţƛť
  ŧŤšŤƞƙƜƴťƥƘţŤťƴƘŠƙťƚŢţŢƚŠƚƮť                                                                                   ƟŬƲūƠƠťƖťƴƘŠƙť
  ŧŤƛŠƙţťƨƛŤƚťŦŤŤťƥƞƱƱƝŢŤšťƬƴŤţťƜƴŤƜƭšťƞƙŤťƙŤƛŠƙţŤũťƞšťŠţƱƞŢũƮť                                                  ƟǀƲūƠƠťƱŤƙťŢƛŤƚǌťƱŤƙťƱƙŤšŤţƛƚŤţƛť
  ŧŤƛŠƙţťƯŤƱƘšŢƛŤũťƨƛŤƚť                                                                                         ƟƲūƠƠťŤƞƜƴť
  ǉƞƫŤťƯŤƱƘšŢƛťşƘƳť ťƯƙŢƝƝŢţƣťŦŤŤť                                                                               ƟŪƲƠūƠƠť
  ǉƞƫŤťƯŤƱƘšŢƛťşƘƳť ťŧŤƱƝƞƜŤƚŤţƛťǇƘƜƭťŦŤŤť                                                                       ƟƾƠūƠƠť
  ǉƱŤƜŢƞƝťŧŤǍŤƜƛťƨƛŤƚť                                                                                           ƟŪūƠƠťŤƞƜƴť
  ǉƛƞƛŤƚŤţƛšť                                                                                                    ť
            ǉƛƞƛŤƚŤţƛšťƔƘƱǂť                                                                                     ƟŪƠūƠƠťŤƞƜƴť
            ǉƛƞƛŤƚŤţƛťƯŠƱƝŢƜƞƛŤťƥƜƘƚƱƝŤƛŤťšƛƞƛŤƚŤţƛƮť                                                            ƟŪƠūƠƠťŤƞƜƴť
            ǎųƇųűƹűƉųťƵǏűŲűŴŷųťƅŰťƋƅųƁťŷƇŷűŸťƇƉƃťűǐǎųƇųűƹűƉųƺť                                                   ǑƸƌŽŽťŷűŸťƹƅƉųƁť
            ǉƛƞƛŤƚŤţƛťƨţšƛƞţƛť                                                                                   ƟƲūƠƠťŤƞƜƴť
            ǉƛƞƛŤƚŤţƛťŧŤƜƘţƜŢƝŢƞƛŢƘţť                                                                            ƟŬƠūƠƠťƖťƴƘŠƙť
            ǉƛƞƛŤƚŤţƛť ťǉŢƚƱƝŤƳťƨƚƞƣŤťǄƙŢţƛŢţƣť                                                                  ƟŬūƠƠťƖťŤŨŤţƛť
            ǉƛƞƛŤƚŤţƛťǉţƞƱšƴƘƛť                                                                                  ƟŪƠūƠƠťŤƞƜƴť
  ǉƛƘƱťǄƞǂƚŤţƛťŦŤŤťƥƞƱƱƝŢŤšťƫƘƙťǒťƚƘţƛƴťƱŤƙŢƘũƮť                                                                 ƟǀƲūƠƠťŤƞƜƴť
  ơŤƝŤƱƴƘţŤťơƙƞţšƫŤƙťƘƫťŦŠţũšťƥƜŠšƛƘƚŤƙťšŤƙŨŢƜŤťƞššŢšƛŤũƮť                                                       ƟƲūƠƠťŤƞƜƴť
  ǓűŸŴŰŴŲƇųŴƅƉťƅŰťǔűŷƅƂŴųť                                                                                       ǑżƸƌŽŽťűƇŲƁť
  ǕŢƙŤšťơƙƞţšƞƜƛŢƘţšť                                                                                            ť
            ǕŢƙŤťơƙƞţšƫŤƙť ťƨţƜƘƚŢţƣťƥƯƘƚŤšƛŢƜťƞţũťŦƘƙŤŢƣţƮťť                                                    ƟŪƲūƠƠťŤƞƜƴťť
            ǕŢƙŤťơƙƞţšƫŤƙť ťǅŠƛƣƘŢţƣťťƥƯƘƚŤšƛŢƜƮťť                                                               ƟŬƲūƠƠťŤƞƜƴťť
            ǕŢƙŤťơƙƞţšƫŤƙť ťǅŠƛƣƘŢţƣťƥŦƘƙŤŢƣţƮť ťŦƘƙŤŢƣţťƔŠƙƙŤţƜǂť                                               ƟǖƠūƠƠťŤƞƜƴť
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ǅţťŤƞƜƴťưƞţƭťƱƙƘƜŤššŢţƣťũƞǂǃťũŤƱƘšŢƛťƞţũťƜƙŤũŢƛťŢƛŤƚšťƱƘšƛťưŤƫƘƙŤťũŤưŢƛťŢƛŤƚšūťťƯŤưŢƛťŢƛŤƚšťƱƘšƛťŠƱƘţťƙŤƜŤŢƱƛťŢţťƛƴŤťƫƘƝƝƘƬŢţƣťƘƙũŤƙǚťƬŢƙŤťƛƙƞţšƫŤƙšǃťƓơƢťƞţũťũŤưŢƛťƜƞƙũť
ƛƙƞţšƞƜƛŢƘţšťŢţťƞŠƛƴƘƙŢǛƞƛŢƘţťƛŢƚŤťƞţũťũƞƛŤťƘƙũŤƙǃťƱƞƱŤƙťƜƴŤƜƭšťŢţťƜƴŤƜƭťţŠƚưŤƙťƘƙũŤƙǃťŢƫťƞŨƞŢƝƞưƝŤǃťƜƴŤƜƭšťƬŢƛƴƘŠƛťƞťƜƴŤƜƭťţŠƚưŤƙťƱƘšƛťŢţťƝƘƬťƛƘťƴŢƣƴťũƘƝƝƞƙťƞƚƘŠţƛť
ƘƙũŤƙǃťƛƴŤţťƞƝƝťƘƛƴŤƙťũŤưŢƛťŢƛŤƚšťŢţťƝƘƬťƛƘťƴŢƣƴťũƘƝƝƞƙťƞƚƘŠţƛťƘƙũŤƙūťťǅƛƴŤƙťũŤưŢƛťŢƛŤƚšťŢţƜƝŠũŤťưŠƛťƞƙŤťţƘƛťƝŢƚŢƛŤũťƛƘťƓŠƛƘƚƞƛŤũťƔƝŤƞƙŢţƣťƕƘŠšŤťƥƓƔƕƮťŢƛŤƚšǃťƜƴŤƜƭšť
ƜƘţŨŤƙƛŤũťƛƘťƓƔƕťưǂťƚŤƙƜƴƞţƛšťƘƙťŨŤţũƘƙšǃťƛŤƝŤƱƴƘţŤťƞţũťƘţƝŢţŤťưƞţƭŢţƣťƘţŤ ƛŢƚŤťƘƙťƙŤƜŠƙƙŢţƣťƛƙƞţšƫŤƙšǃťƱƙŤ ƞŠƛƴƘƙŢǛŤũťũŤưŢƛšťƞţũťƞƜƜƘŠţƛťƬŢƛƴũƙƞƬƞƝšūť
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ƥǄƞŢũƮťƨƛŤƚťŦŤŤšťƞţũťŧŤƛŠƙţťƨƛŤƚťŦŤŤšťƞƙŤťũŢšƜƝƘšŤũťƞưƘŨŤťƞţũťƞƙŤťšŠưǍŤƜƛťƛƘťƜƴƞţƣŤūťť
ǕŤťŤţƜƘŠƙƞƣŤťǂƘŠťƛƘťƭŤŤƱťƜƞƙŤƫŠƝťƙŤƜƘƙũšťƞţũťƱƙƞƜƛŢƜŤťƣƘƘũťƞƜƜƘŠţƛťƚƞţƞƣŤƚŤţƛūťťơƴŢšťƬŢƝƝťƴŤƝƱťǂƘŠťƛƘťƞŨƘŢũťƜƙŤƞƛŢţƣťŢƛŤƚšťƬŢƛƴƘŠƛťšŠƫƫŢƜŢŤţƛťƫŠţũšťƞţũťŢţƜŠƙƙŢţƣťƛƴŤť
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 1/31/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                                                    2
Account Number               *******8630                                   Statement Dates   1/01/17 thru                                 1/31/17
Previous Balance                     .00                                   Days this Statement Period                                          31
    6 Deposits/Credits         98,463.52                                   Average Ledger                                                  746.97
    8 Checks/Debits            98,463.52                                   Average Collected                                               746.97
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                                             Deposits and Additions
Date      Description                                                                             Amount
 1/03     Transfer Credit                                                                       6,461.54
 1/04     Transfer Credit                                                                      35,870.74
 1/09     Transfer from DDA                                                                     6,204.02
          Acct No.                                 8681-D
 1/13     Transfer from DDA                                                                          936.32
          Acct No.                                 8681-D
 1/18     Transfer Credit                                                                      48,975.53
 1/30     Transfer from DDA                                                                        15.37
          Acct No.                                 8681-D

                             Withdrawals and Deductions
Date      Description                                     Amount
 1/03     RST TRAC I MASSACHUSETTS MU                   6,461.54-
          CCD   GCAC, LLC 401(K) PLAN
 1/04     DRAFT       COASTAL HUMAN RE                35,870.74-
          CCD   GULF COAST ASPHALT COM
 1/09     RST TRAC I MASSACHUSETTS MU                   4,263.16-
          CCD   GCAC, LLC 401(K) PLAN
 1/18     DRAFT       COASTAL HUMAN RE                44,602.74-
          CCD   GULF COAST ASPHALT COM
 1/23     RST TRAC I MASSACHUSETTS MU                   4,188.16-
          CCD   GCAC, LLC 401(K) PLAN




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 1/31/17                         Page    2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                             Withdrawals and Deductions
Date      Description                                                                                Amount
 1/30     DRAFT       COASTAL HUMAN RE                                                               200.00-
          CCD   GULF COAST ASPHALT COM

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount
 1/13   11776        936.32 1/09    11777      1,940.86
(*) Check Numbers Missing

                                   Daily Balance Information
Date                        Balance Date                 Balance Date                                                                       Balance
 1/01                          .00    1/09                   .00  1/23                                                                      184.63
 1/03                          .00    1/13                   .00  1/30                                                                         .00
 1/04                          .00    1/18             4,372.79




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 2/28/17                         Page    1
                             AKE BLHMHLGLFLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                             A HMODMOJKA KGMMJK
                             ADOENOHLJGCCLGHELK   PAYROLL ACCOUNT
                             ANJGFGKJNNBEJI NJK
                             DLLLLLDLDDDLDLDLLL   1990 POST OAK BLVD SUITE 2400
                             004225               HOUSTON TX 77056



AKE BLHMHLGLFLHMHK
A HMODMOJKA KGMMJK
ADOENOHLJGCCLGHELK
ANJGFGKJNNBEJI NJK
DLLLLLDLDDDLDLDLLL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8630                                                      Statement Dates   2/01/17 thru 2/28/17
                     Previous Balance                     .00                                                      Days this Statement Period           28
                         7 Deposits/Credits        155,271.17                                                      Average Ledger                19,456.06
                         5 Checks/Debits           105,502.81                                                      Average Collected             19,456.06
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                49,768.36


                                                                                     Deposits and Additions
                     Date                         Description                                                                             Amount
                      2/01                        Transfer Credit                                                                       5,505.47
                      2/01                        Transfer Credit                                                                      50,585.68
                      2/06                        Transfer Credit                                                                         185.00
                      2/10                        Transfer Credit                                                                      52,000.00
                      2/23                        Transfer Credit                                                                      26,150.20
                      2/28                        Transfer Credit                                                                       1,025.83
                      2/28                        Transfer Credit                                                                      19,818.99

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      2/01                        RST TRAC I MASSACHUSETTS MU                   6,366.66-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      2/01                        DRAFT       COASTAL HUMAN RE                44,219.02-
                                                  CCD   GULF COAST ASPHALT COM
                      2/06                        RST TRAC I MASSACHUSETTS MU                   5,690.09-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      2/15                        DRAFT       COASTAL HUMAN RE                43,417.57-
                                                  CCD   GULF COAST ASPHALT COM
                      2/22                        RST TRAC I MASSACHUSETTS MU                   5,809.47-
                                                  CCD   GCAC, LLC 401(K) PLAN




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                                                                        STATEMENT OF ACCOUNT




                                                                                                                        Date 2/28/17                         Page    2
                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                               PAYROLL ACCOUNT
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLGLFLHMHK
A HMODMOJKAOLGKNJK   COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)
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AOKGBBCBNEBAFKNMJK
DLDLLLDLDDLLDLDLDL
                                                     Daily Balance Information
                     Date                     Balance Date                 Balance Date                                                                           Balance
                      2/01                  5,505.47    2/15             8,582.81   2/28                                                                       49,768.36
                      2/06                       .38    2/22             2,773.34
                      2/10                 52,000.38    2/23            28,923.54




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 3/31/17                         Page    1
                             AIF BLHMHLG FLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                             A HMOA MJLANLHO JK
                             ADOEJIIOFAAOG EILK   PAYROLL ACCOUNT
                             A AO FHCOABKFGF JK
                             DDDLLLDLLLDLDDDLLL   1990 POST OAK BLVD SUITE 2400
                             004413               HOUSTON TX 77056



AIF BLHMHLG FLHMHK
A HMOA MJLANLHO JK
ADOEJIIOFAAOG EILK
A AO FHCOABKFGF JK
DDDLLLDLLLDLDDDLLL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8630                                                      Statement Dates   3/01/17 thru 4/02/17
                     Previous Balance               49,768.36                                                      Days this Statement Period           33
                         3 Deposits/Credits        100,000.00                                                      Average Ledger                30,135.70
                         5 Checks/Debits           142,369.11                                                      Average Collected             30,135.70
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                 7,399.25


                                                                                     Deposits and Additions
                     Date                         Description                                                                             Amount
                      3/03                        Transfer Credit                                                                      49,000.00
                      3/09                        Transfer Credit                                                                       1,000.00
                      3/24                        Transfer Credit                                                                      50,000.00

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      3/02                        DRAFT       COASTAL HUMAN RE                43,883.89-
                                                  CCD   GULF COAST ASPHALT COM
                      3/06                        RST TRAC I MASSACHUSETTS MU                   5,884.47-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      3/15                        DRAFT       COASTAL HUMAN RE                43,395.64-
                                                  CCD   GULF COAST ASPHALT COM
                      3/20                        RST TRAC I MASSACHUSETTS MU                   5,809.47-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      3/29                        DRAFT       COASTAL HUMAN RE                43,395.64-
                                                  CCD   GULF COAST ASPHALT COM

                                                                        Daily Balance Information
                     Date                                        Balance Date                 Balance Date                                                                           Balance
                      3/01                                    49,768.36    3/06            49,000.00   3/20                                                                          794.89
                      3/02                                     5,884.47    3/09            50,000.00   3/24                                                                       50,794.89
                      3/03                                    54,884.47    3/15             6,604.36   3/29                                                                        7,399.25




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                     See the funds availability policy disclosure for information about when you can                  to the appropriateness or effect of the ownership and beneficiary designations, except
                     withdraw funds you deposit. For those accounts to which our funds availability policy            as they determine to whom we pay the account funds.
                     disclosure does not apply, you can ask us when you make a deposit when those                     Individual Account - is an account in the name of one person.
                     funds will be available for withdrawal. An item may be returned after the funds from
                                                                                                                      Joint Account - This is an account in the names of two or more persons. Any one of
                     the deposit of that item are made available for withdrawal. In that case, we will
                                                                                                                      such persons, acting alone, has complete access to the account. Upon the death of
                     reverse the credit of the item. We may determine the amount of available funds in
                                                                                                                      any party to such account, we are permitted to pay the account balance to the
                     your account for the purpose of deciding whether to return an item for insufficient
                                                                                                                      surviving parties, but this authority protects us only. The surviving joint parties may be
                     funds at any time between the time we receive the item and when we return the item
                                                                                                                      liable to the heirs, legatees, or creditors of the deceased party to the extent the funds
                     or send a notice in lieu of return. We need only make one determination, but if we
                                                                                                                      withdrawn by the survivors were owed to the deceased. If any party to a joint account
                     choose to make a subsequent determination, the account balance at the subsequent
                                                                                                                      sends notice to us to prevent withdrawals from the account by another party or
                     time will determine whether there are insufficient available funds.
                                                                                                                      parties, we may require the party to withdraw the balance and close the account or
                     A temporary debit authorization hold affects your account balance - On debit                     we may refuse to allow any further withdrawals from the account except upon the
                     card purchases, merchants may request a temporary hold on your account for a                     written consent of all parties to it. The remedy we choose is entirely at our discretion.
                     specified sum of money, which may be more than the actual amount of your
                                                                                                                      Revocable Trust or Pay-on-Death Account - If two or more of you create such an
                     purchase. When this happens, our processing system cannot determine that the
                                                                                                                      account, you own the account jointly and the respective interests of each of you shall
                     amount of the hold exceeds the actual amount of your purchase. This temporary hold,
                                                                                                                      be deemed equal, unless otherwise stated in our account records. Beneficiaries
                     and the amount charged to your account, will eventually be adjusted to the actual
                                                                                                                      acquire the right to withdraw only if: (1) all persons creating the account die, and (2)
                     amount of your purchase, but it may be up to three days before the adjustment is
                                                                                                                      the beneficiary is then living. If two or more beneficiaries are named and survive the
                     made. Until the adjustment is made, the amount of funds in your account available for
                                                                                                                      death of all persons creating the account, such beneficiaries will own this account in
                     other transactions will be reduced by the amount of the temporary hold. If another
                                                                                                                      equal shares, unless otherwise stated in our account records. The person(s) creating
                     transaction is presented for payment in an amount greater than the funds left after the
                                                                                                                      either of these account types reserves the right to: (1) change beneficiaries, (2)
                     deduction of the temporary hold amount, that transaction will be a nonsufficient funds
                                                                                                                      change account types, and (3) withdraw all or part of the account funds at any time.
                     (NSF) transaction if we do not pay it or an overdraft transaction if we do pay it. You
                     will be charged an NSF or overdraft fee according to our NSF or overdraft fee policy.            In Alabama, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
                     You will be charged the fee even if you would have had sufficient funds in your                  These rules apply to this account depending on the form of ownership and beneficiary
                     account if the amount of the hold had been equal to the amount of your purchase.                 designation, if any, specified on the account records. We make no representations as
                                                                                                                      to the appropriateness or effect of the ownership and beneficiary designations, except
                     Here is an example of how this can occur – assume for this example the following: (1)
AIFLF HMHLG FLHMHK                                                                                                    as they determine to whom we pay the account funds.
A HMOA MJLAMLDI JK   you have opted-in to our overdraft services for the payment of overdrafts on ATM and
ADOEILAJFFDKHLJGNK   everyday debit card transactions, (2) we pay the overdraft, and (3) our overdraft fee is         Single-Party Account - Such an account is owned by one party.
ANGMJHCEKHJMLJINLK
DLDLLLDLLDDLDDDLLL   $35 per overdraft, but we do not charge the overdraft fee if the transaction overdraws           Multiple-Party Account - Parties own account during the lifetime of all parties in
                     the account by less than $10.                                                                    proportion to their net contributions, unless there is clear and convincing evidence of
                     You have $120 in your account. You swipe your card at the card reader on a gasoline              a different intent.
                     pump. Since it is unclear what the final bill will be, the gas station’s processing              In Alabama, RIGHTS AT DEATH - Single-Party Account - At the death of a party,
                     system immediately requests a hold on your account in a specified amount, for                    ownership passes as part of the party’s estate.
                     example, $80. Our processing system authorizes a temporary hold on your account in               Multiple-Party Account With Right of Survivorship - At death of party, ownership
                     the amount of $80, and the gas station’s processing system authorizes you to begin               passes to surviving parties. If two or more parties survive and one is the surviving
                     pumping gas. You fill your tank and the amount of gasoline you purchased is only                 spouse of the deceased party, the amount to which the deceased party, immediately
                     $50. Our processing system shows that you have $40 in your account available for                 before death, was beneficially entitled by law belongs to the surviving spouse. If two
                     other transactions ($120 - $80 = $40) even though you would have $70 in your                     or more parties survive and none is the spouse of the decedent, the amount to which
                     account available for other transactions if the amount of the temporary hold was                 the deceased party, immediately before death, was beneficially entitled by law
                     equal to the amount of your purchase ($120 - $50 = $70). Later, another transaction              belongs to the surviving parties in equal shares, and augments the proportion to
                     you have authorized is presented for payment from your account in the amount of                  which each surviving party, immediately before the deceased party’s death, was
                     $60 (this could be a check you have written, another debit card transaction, an ACH              beneficially entitled under law, and the right of survivorship continues between the
                     debit or any other kind of payment request). This other transaction is presented                 surviving parties.
                     before the amount of the temporary hold is adjusted to the amount of your purchase
                                                                                                                      Multiple-Party Account Without Right of Survivorship - At death of party,
                     (remember, it may take up to three days for the adjustment to be made). Because the
                                                                                                                      deceased party’s ownership passes as part of deceased party’s estate.
                     amount of this other transaction is greater than the amount our processing system
                     shows is available in your account, our payment of this transaction will result in an            Single-Party Account With Pay-on-Death Designation - At death of the party,
                     overdraft transaction. Because the transaction overdraws your account by $20, your               ownership passes to the designated pay-on-death beneficiaries and is not part of the
                     account will be assessed the overdraft fee of $35 according to our overdraft fee                 party’s estate.
                     policy. You will be charged this $35 fee according to our policy even though you                 Multiple-Party Account With Right of Survivorship and Pay-on-Death
                     would have had enough money in your account to cover the $60 transaction if your                 Designation - At death of last surviving party, ownership passes to the designated
                     account had only been debited the amount of your purchase rather than the amount                 pay-on-death beneficiaries and is not part of the last surviving party’s estate.
                     of the temporary hold or if the temporary hold had already been adjusted to the actual           In Arkansas, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
                     amount of your purchase.                                                                         These rules apply to this account depending on the form of ownership and beneficiary
                     Overdrafts - You understand that we may, at our discretion, honor withdrawal                     designation, if any, specified on the account records. We make no representations as
                     requests that overdraw your account. However, the fact that we may honor                         to the appropriateness or effect of the ownership and beneficiary designations, except
                     withdrawal requests that overdraw the account balance does not obligate us to do so              as they determine to whom we pay the account funds.
                     later. So you can NOT rely on us to pay overdrafts on your account regardless of how             Individual Account - is an account in the name of one person.
                     frequently or under what circumstances we have paid overdrafts on your account in
                                                                                                                      Joint Account - With Survivorship (And Not As Tenants In Common) - is an
                     the past. We can change our practice of paying overdrafts on your account without
                                                                                                                      account in the name of two or more persons. Each of you intend that when you die
                     notice to you. You can ask us if we have other account services that might be
                                                                                                                      the balance in the account (subject to any previous pledge to which we have agreed)
                     available to you where we commit to paying overdrafts under certain circumstances,
                                                                                                                      will belong to the survivor(s). If two or more of you survive, you will own the balance
                     such as an overdraft protection line-of-credit or a plan to sweep funds from another
                                                                                                                      in the account as joint tenants with survivorship and not as tenants in common.
                     account you have with us. You agree that we may charge fees for overdrafts. For
                     consumer accounts, we will not charge fees for overdrafts caused by ATM                          Joint Account - No Survivorship (As Tenants In Common) - is owned by two or
                     withdrawals or one-time debit card transactions if you have not opted-in to that                 more persons, but none of you intend (merely by opening this account) to create any
                     service. We may use subsequent deposits, including direct deposits of social security            right of survivorship in any other person. We encourage you to agree and tell us in
                     or other government benefits, to cover such overdrafts and overdraft fees.                       writing of the percentage of the deposit contributed by each of you. This information
                                                                                                                      will not, however, affect the “number of signatures” necessary for withdrawal.
                     Multiple signatures, electronic check conversion, and similar transactions - An
                     electronic check conversion transaction is a transaction where a check or similar item           Pay-On-Death Account - If two or more of you create such an account, you own the
                     is converted into an electronic fund transfer as defined in the Electronic Fund                  account jointly with survivorship. Beneficiaries cannot withdraw unless: (1) all persons
                     Transfers regulation. In these types of transactions the check or similar item is either         creating the account die, and (2) the beneficiary is then living. If two or more
                     removed from circulation (truncated) or given back to you. As a result, we have no               beneficiaries are named and survive the death of all persons creating the account,
                     opportunity to review the check to examine the signatures on the item. You agree                 such beneficiaries will own this account in equal shares, with right of survivorship.
                     that, as to these or any items as to which we have no opportunity to examine the                 The person(s) creating this account type reserves the right to: (1) change
                     signatures, you waive any requirement of multiple signatures.                                    beneficiaries, (2) change account types, and (3) withdraw all or part of the account
                                                                                                                      funds at any time.
                     Notice of withdrawal - We reserve the right to require not less than 7 days’ notice in
                     writing before each withdrawal from an interest-bearing account other than a time                In Florida, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
                     deposit or demand deposit, or from any other savings account as defined by                       These rules apply to this account depending on the form of ownership and beneficiary
                     Regulation D. (The law requires us to reserve this right, but it is not our general policy       designation, if any, specified on the account records. We make no representations as
                     to use it.) Withdrawals from a time account prior to maturity or prior to any notice             to the appropriateness or effect of the ownership and beneficiary designations, except
                     period may be restricted and may be subject to penalty. See your notice of penalty for           as they determine to whom we pay the account funds.
                     early withdrawal.                                                                                Single-Party Account - Such an account is owned by one party.
                     In Louisiana, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -                                 Multiple-Party Account - Such an account is payable on request to one or more of
                     These rules apply to this account depending on the form of ownership and beneficiary             two or more parties, whether or not a right of survivorship is mentioned.
                     designation, if any, specified on the account records. We make no representations as



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                     Multiple-Party Account - Tenancy by the Entireties - The account is owned by two               BUSINESS, ORGANIZATION AND ASSOCIATION ACCOUNTS - Earnings in the
                     parties who are married to each other and hold the account as tenants by the entirety.         form of interest, dividends, or credits will be paid only on collected funds, unless
                     In Florida, RIGHTS AT DEATH - Single-Party Account - At the death of a party,                  otherwise provided by law or our policy. You represent that you have the authority to
                     ownership passes as part of the party’s estate.                                                open and conduct business on this account on behalf of the entity. We may require
                                                                                                                    the governing body of the entity opening the account to give us a separate
                     Multiple-Party Account With Right of Survivorship - At death of party, ownership
                                                                                                                    authorization telling us who is authorized to act on its behalf. We will honor the
                     passes to the surviving party or parties.
                                                                                                                    authorization until we actually receive written notice of a change from the governing
                     Multiple-Party Account Without Right of Survivorship - At death of party,                      body of the entity.
                     deceased party’s ownership passes as part of deceased party’s estate.
                                                                                                                    In Louisiana, Alabama, Georgia, and Tennessee, STOP PAYMENTS - Unless
                     Single-Party Account With Pay-on-Death Designation - At death of the party,                    otherwise provided, the rules in this section cover stopping payment of items such as
                     ownership passes to the designated pay-on-death beneficiaries and is not part of the           checks and drafts. Rules for stopping payment of other types of transfers of funds,
                     party’s estate.                                                                                such as consumer electronic fund transfers, may be established by law or our policy.
                     Multiple-Party Account With Right of Survivorship and Pay-on-Death                             If we have not disclosed these rules to you elsewhere, you may ask us about those
                     Designation - At death of last surviving party, ownership passes to the designated             rules.
                     pay-on-death beneficiaries and is not part of the last surviving party’s estate.               We may accept an order to stop payment on any item from any one of you. You must
                     In Georgia and Tennessee, OWNERSHIP OF ACCOUNT AND BENEFICIARY                                 make any stop-payment order in the manner required by law and we must receive it
                     DESIGNATION - These rules apply to this account depending on the form of                       in time to give us a reasonable opportunity to act on it before our stop-payment cutoff
                     ownership and beneficiary designation, if any, specified on the account records. We            time. Because stop-payment orders are handled by computers, to be effective, your
                     make no representations as to the appropriateness or effect of the ownership and               stop-payment order must precisely identify the number, date, and amount of the item,
                     beneficiary designations, except as they determine to whom we pay the account                  and the payee. You may stop payment on any item drawn on your account whether
                     funds.                                                                                         you sign the item or not. Generally, if your stop-payment order is given to us in writing
                     Individual Account - is an account in the name of one person.                                  it is effective for six months. Your order will lapse after that time if you do not renew
                                                                                                                    the order in writing before the end of the six-month period. If the original stop-
                     Joint Account - With Survivorship (And Not As Tenants In Common) - is an
                                                                                                                    payment order was oral your stop-payment order will lapse after 14 calendar days if
                     account in the name of two or more persons. Each of you intend that when you die
                                                                                                                    you do not confirm your order in writing within that time period. We are not obligated
                     the balance in the account (subject to any previous pledge to which we have agreed)
                                                                                                                    to notify you when a stop-payment order expires. A release of the stop-payment
                     will belong to the survivor(s). If two or more of you survive, you will own the balance
                                                                                                                    request may be made only by the person who initiated the stop-payment order.
AIFLFLHMHLG FLHMHK   in the account as joint tenants with survivorship and not as tenants in common.
A HMOA MJLAMLENNJK                                                                                                  If you stop payment on an item and we incur any damages or expenses because of
ADOEIKKOHCFGI OG K   Joint Account - No Survivorship (As Tenants In Common) - is owned by two or
A LMNDEEAECILLJNLK                                                                                                  the stop payment, you agree to indemnify us for those damages or expenses,
                     more persons, but none of you intend (merely by opening this account) to create any
DLLLLLDLLDDLDDDLLL                                                                                                  including attorneys’ fees. You assign to us all rights against the payee or any other
                     right of survivorship in any other person. We encourage you to agree and tell us in
                                                                                                                    holder of the item. You agree to cooperate with us in any legal actions that we may
                     writing of the percentage of the deposit contributed by each of you. This information
                                                                                                                    take against such persons. You should be aware that anyone holding the item may
                     will not, however, affect the “number of signatures” necessary for withdrawal.
                                                                                                                    be entitled to enforce payment against you despite the stop-payment order.
                     Revocable Trust or Pay-On-Death Account - If two or more of you create this type
                                                                                                                    Our stop-payment cutoff time is one hour after the opening of the next banking day
                     of account, you own the account jointly with survivorship. Beneficiaries cannot
                                                                                                                    after the banking day on which we receive the item. Additional limitations on our
                     withdraw unless: (1) all persons creating the account die, and (2) the beneficiary is
                                                                                                                    obligation to stop payment are provided by law (e.g., we paid the item in cash or we
                     then living. If two or more beneficiaries are named and survive the death of all
                                                                                                                    certified the item).
                     persons creating the account, beneficiaries will own this account in equal shares,
                     without right of survivorship. The person(s) creating either of these account types            In Florida, STOP PAYMENTS - Unless otherwise provided, the rules in this section
                     may: (1) change beneficiaries, (2) change account types, and (3) withdraw all or part          cover stopping payment of items such as checks and drafts. Rules for stopping
                     of the account funds at any time.                                                              payment of other types of transfers of funds, such as consumer electronic fund
                                                                                                                    transfers, may be established by law or our policy. If we have not disclosed these
                     In Texas, UNIFORM SINGLE-PARTY OR MULTIPLE-PARTY ACCOUNT
                                                                                                                    rules to you elsewhere, you may ask us about those rules.
                     SELECTION FORM NOTICE - The type of account you select may determine how
                     property passes on your death. Your will may not control the disposition of funds held         We may accept an order to stop payment on any item from any one of you. You must
                     in some of the following accounts. You may choose to designate one or more                     make any stop-payment order in the manner required by law, it must be made in a
                     convenience signers on an account, even if the account is not a convenience                    signed and dated writing, and we must receive it in time to give us a reasonable
                     account. A designated convenience signer may make transactions on your behalf                  opportunity to act on it before our stop-payment cutoff time. Because stop-payment
                     during your lifetime, but does not own the account during your lifetime. The                   orders are handled by computers, to be effective, your stop-payment order must
                     designated convenience signer owns the account on your death only if the                       precisely identify the number, date, and amount of the item, and the payee.
                     convenience signer is also designated as a P.O.D. payee or trust account beneficiary.          You may stop payment on any item drawn on your account whether you sign the item
                     Single-Party Account Without “P.O.D.” (Payable on Death) Designation - The                     or not. Your stop-payment order is effective for six months. Your order will lapse after
                     party to the account owns the account. On the death of the party, ownership of the             that time if you do not renew the order in writing before the end of the six-month
                     account passes as a part of the party’s estate under the party’s will or by intestacy.         period. We are not obligated to notify you when a stop-payment order expires. A
                                                                                                                    release of the stop-payment request may be made only by the person who initiated
                     Single-Party Account With “P.O.D.” (Payable on Death) Designation - The party
                                                                                                                    the stop-payment order.
                     to the account owns the account. On the death of the party, ownership of the account
                     passes to the P.O.D. beneficiaries of the account. The account is not a part of the            If you stop payment on an item and we incur any damages or expenses because of
                     party’s estate.                                                                                the stop payment, you agree to indemnify us for those damages or expenses,
                                                                                                                    including attorneys’ fees. You assign to us all rights against the payee or any other
                     Multiple-Party Account Without Right of Survivorship - The parties to the account
                                                                                                                    holder of the item. You agree to cooperate with us in any legal actions that we may
                     own the account in proportion to the parties’ net contributions to the account. The
                                                                                                                    take against such persons. You should be aware that anyone holding the item may
                     financial institution may pay any sum in the account to a party at any time. On the
                                                                                                                    be entitled to enforce payment against you despite the stop-payment order.
                     death of a party, the party’s ownership of the account passes as a part of the party’s
                     estate under the party’s will or by intestacy.                                                 Our stop-payment cutoff time is one hour after the opening of the next banking day
                                                                                                                    after the banking day on which we receive the item. Additional limitations on our
                     Multiple-Party Account With Right of Survivorship - The parties to the account
                                                                                                                    obligation to stop payment are provided by law (e.g., we paid the item in cash or we
                     own the account in proportion to the parties’ net contributions to the account. The
                                                                                                                    certified the item).
                     financial institution may pay any sum in the account to a party at any time. On the
                     death of a party, the party’s ownership of the account passes to the surviving parties.        In Arkansas, STOP PAYMENTS - Unless otherwise provided, the rules in this
                                                                                                                    section cover stopping payment of items such as checks and drafts. Rules for
                     Multiple-Party Account With Right of Survivorship and “P.O.D.” (Payable on
                                                                                                                    stopping payment of other types of transfers of funds, such as consumer electronic
                     Death) Designation - The parties to the account own the account in proportion to the
                                                                                                                    fund transfers, may be established by law or our policy. If we have not disclosed
                     parties’ net contributions to the account. The financial institution may pay any sum in
                                                                                                                    these rules to you elsewhere, you may ask us about those rules.
                     the account to a party at any time. On the death of the last surviving party, the
                     ownership of the account passes to the P.O.D. beneficiaries.                                   We may accept an order to stop payment on any item from any one of you. You must
                                                                                                                    make any stop-payment order in the manner required by law and we must receive it
                     Convenience Account - The parties to the account own the account. One or more
                                                                                                                    in time to give us a reasonable opportunity to act on it before our stop-payment cutoff
                     convenience signers to the account may make account transactions for a party. A
                                                                                                                    time. Because stop-payment orders are handled by computers, to be effective, your
                     convenience signer does not own the account. On the death of the last surviving
                                                                                                                    stop-payment order must precisely identify the number, date, and amount of the item,
                     party, ownership of the account passes as a part of the last surviving party's estate
                                                                                                                    and the payee. You may stop payment on any item drawn on your account whether
                     under the last surviving party's will or by intestacy. The financial institution may pay
                                                                                                                    you sign the item or not. Your stop payment order is effective for six months if it is
                     funds in the account to a convenience signer before the financial institution receives
                                                                                                                    given to us in writing or by another type of record (Generally, a “record” is information
                     notice of the death of the last surviving party. The payment to a convenience signer
                                                                                                                    that is stored in such a way that it can be retrieved and can be heard or read and
                     does not affect the parties' ownership of the account.
                                                                                                                    understood – you can ask us what type of stop payment records you can give us).
                     Trust Account - The parties named as trustees to the account own the account in                Your order will lapse after that time if you do not renew the order in writing before the
                     proportion to the parties’ net contributions to the account. A trustee may withdraw            end of the six-month period. If the original stop-payment order was oral your stop-
                     funds from the account. A beneficiary may not withdraw funds from the account                  payment order will lapse after 14 calendar days if it is not confirmed in writing or by
                     before all trustees are deceased. On the death of the last surviving trustee, the              another type of record within that time period. We are not obligated to notify you when
                     ownership of the account passes to the beneficiary. The trust account is not a part of         a stop-payment order expires. A release of the stop-payment request may be made
                     a trustee’s estate and does not pass under the trustee’s will or by intestacy, unless          only by the person who initiated the stop-payment order.
                     the trustee survives all of the beneficiaries and all other trustees.



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                     If you stop payment on an item and we incur any damages or expenses because of                 available, you cannot assert a claim against us on any items in that statement, and as
                     the stop payment, you agree to indemnify us for those damages or expenses,                     between you and us the loss will be entirely yours. This 60-day limitation is without
                     including attorneys’ fees. You assign to us all rights against the payee or any other          regard to whether we used ordinary care. The limitation in this paragraph is in
                     holder of the item. You agree to cooperate with us in any legal actions that we may            addition to that contained in the first paragraph of this section.
                     take against such persons. You should be aware that anyone holding the item may                Your duty to report other errors - In addition to your duty to review your statements
                     be entitled to enforce payment against you despite the stop-payment order.                     for unauthorized signatures, alterations and forgeries, you agree to examine your
                     Our stop-payment cutoff time is one hour after the opening of the next banking day             statement with reasonable promptness for any other error - such as an encoding
                     after the banking day on which we receive the item. Additional limitations on our              error. In addition, if you receive or we make available either your items or images of
                     obligation to stop payment are provided by law (e.g., we paid the item in cash or we           your items, you must examine them for any unauthorized or missing indorsements or
                     certified the item).                                                                           any other problems. You agree that the time you have to examine your statement and
                     In Texas, STOP PAYMENTS - Unless otherwise provided, the rules in this section                 items and report to us will depend on the circumstances. However, this time period
                     cover stopping payment of items such as checks and drafts. Rules for stopping                  shall not exceed 60 days. Failure to examine your statement and items and report
                     payment of other types of transfers of funds, such as consumer electronic fund                 any errors to us within 60 days of when we first send or make the statement available
                     transfers, may be established by law or our policy. If we have not disclosed these             precludes you from asserting a claim against us for any errors on items identified in
                     rules to you elsewhere, you may ask us about those rules.                                      that statement and as between you and us the loss will be entirely yours.
                     We may accept an order to stop payment on any item from any one of you. You must               Errors relating to electronic fund transfers or substitute checks (For consumer
                     make any stop-payment order in the manner required by law; it must be made in a                accounts only) - For information on errors relating to electronic fund transfers (e.g.,
                     dated, authenticated record that describes the item with certainty. (Generally, a              computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
                     “record” is information that is stored in such a way that it can be retrieved and can be       disclosure and the sections on consumer liability and error resolution. For information
                     heard or read and understood – you can ask us what type of stop payment records                on errors relating to a substitute check you received, refer to your disclosure entitled
                     you can give us). We must receive it in time to give us a reasonable opportunity to act        Substitute Checks and Your Rights.
                     on it before our stop-payment cutoff time. Because stop-payment orders are handled             In Tennessee, STATEMENTS - Your duty to report unauthorized signatures,
                     by computers, to be effective, your stop-payment order must precisely identify the             alterations, forgeries and other errors - You must examine your statement of
                     number, date, and amount of the item, and the payee.                                           account with “reasonable promptness.” In addition, if you receive or we make
                     You may stop payment on any item drawn on your account whether you sign the item               available either your items or images of your items, you must examine them for any
                     or not. Your stop-payment order is effective for six months. Your order will lapse after       unauthorized or missing indorsements or any other problems. If you discover (or
AIFLFLHMHLG FLHMHK   that time if you do not renew the order in writing before the end of the six-month             reasonably should have discovered) any unauthorized signatures, alterations,
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                     period. We are not obligated to notify you when a stop-payment order expires. A                incorrect payment amounts, or missing or incorrectly credited deposits, you must
ADOEIKKOHCFGI OG K
A LMNDEEAECILLJNLK   release of the stop-payment request may be made only by the person who initiated               promptly notify us of the relevant facts. As between you and us, if you fail to do either
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                     the stop-payment order.                                                                        of these duties, you will have to bear the loss yourself unless you prove that we did
                                                                                                                    not pay the item in good faith. The loss could be not only with respect to items on the
                     If you stop payment on an item and we incur any damages or expenses because of
                                                                                                                    statement but other items with unauthorized signatures or alterations by the same
                     the stop payment, you agree to indemnify us for those damages or expenses,
                                                                                                                    wrongdoer.
                     including attorneys’ fees. You assign to us all rights against the payee or any other
                     holder of the item. You agree to cooperate with us in any legal actions that we may            You agree that the time you have to examine your statement and items and report to
                     take against such persons. You should be aware that anyone holding the item may                us will depend on the circumstances, but will not, in any circumstance, exceed a total
                     be entitled to enforce payment against you despite the stop-payment order.                     of 30 days from when the statement is first sent or made available to you.
                     Our stop-payment cutoff time is one hour after the opening of the next banking day             You further agree that if you fail to report any unauthorized signatures, alterations,
                     after the banking day on which we receive the item. Additional limitations on our              forgeries, incorrect payment amounts, missing or incorrectly credited deposits, or any
                     obligation to stop payment are provided by law (e.g., we paid the item in cash or we           other errors in your account within 60 days of when we first send or make the
                     certified the item).                                                                           statement available, you cannot assert a claim against us on any items in that
                                                                                                                    statement, and as between you and us the loss will be entirely yours. This 60-day
                     TELEPHONE TRANSFERS - A telephone transfer of funds from this account to
                                                                                                                    limitation is without regard to whether we used good faith. The limitation in this
                     another account with us, if otherwise arranged for or permitted, may be made by the
                                                                                                                    paragraph is in addition to that contained in the first paragraph of this section.
                     same persons and under the same conditions generally applicable to withdrawals
                     made in writing. Unless a different limitation is disclosed in writing, we restrict the        Errors relating to electronic fund transfers or substitute checks (For consumer
                     number of transfers from a savings account to another account or to third parties, to a        accounts only) - For information on errors relating to electronic fund transfers (e.g.,
                     maximum of six per month (less the number of “preauthorized transfers” during the              computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
                     month). Other account transfer restrictions may be described elsewhere.                        disclosure and the sections on consumer liability and error resolution. For information
                                                                                                                    on errors relating to a substitute check you received, refer to your disclosure entitled
                     AMENDMENTS AND TERMINATION - We may change any term of this agreement.
                                                                                                                    Substitute Checks and Your Rights.
                     Rules governing changes in interest rates are provided separately in the Truth-in-
                     Savings disclosure or in another document. For other changes, we will give you                 In Texas, STATEMENTS - Your duty to report unauthorized signatures,
                     reasonable notice in writing or by any other method permitted by law. We may also              alterations and forgeries - You must examine your statement of account with
                     close this account at any time upon reasonable notice to you and tender of the                 “reasonable promptness.” If you discover (or reasonably should have discovered) any
                     account balance personally or by mail. Items presented for payment after the account           unauthorized signatures or alterations, you must promptly notify us of the relevant
                     is closed may be dishonored. When you close your account, you are responsible for              facts. As between you and us, if you fail to do either of these duties, you will have to
                     leaving enough money in the account to cover any outstanding items to be paid from             either share the loss with us, or bear the loss entirely yourself (depending on whether
                     the account. Reasonable notice depends on the circumstances, and in some cases                 we used ordinary care and, if not, whether we contributed to the loss). The loss could
                     such as when we cannot verify your identity or we suspect fraud, it might be                   be not only with respect to items on the statement but other items with unauthorized
                     reasonable for us to give you notice after the change or account closure becomes               signatures or alterations by the same wrongdoer.
                     effective. For instance, if we suspect fraudulent activity with respect to your account,       You agree that the time you have to examine your statement and report to us will
                     we might immediately freeze or close your account and then give you notice. If we              depend on the circumstances, but will not, in any circumstance, exceed a total of 30
                     have notified you of a change in any term of your account and you continue to have             days from when the statement is first sent or made available to you.
                     your account after the effective date of the change, you have agreed to the new                You further agree that if you fail to report any unauthorized signatures, alterations or
                     term(s).                                                                                       forgeries in your account within 60 days of when we first send or make the statement
                     NOTICES - Any written notice you give us is effective when we actually receive it,             available, you cannot assert a claim against us on any items in that statement, and as
                     and it must be given to us according to the specific delivery instructions provided            between you and us the loss will be entirely yours. This 60-day limitation is without
                     elsewhere, if any. We must receive it in time to have a reasonable opportunity to act          regard to whether we used ordinary care. The limitation in this paragraph is in
                     on it. If the notice is regarding a check or other item, you must give us sufficient           addition to that contained in the first paragraph of this section.
                     information to be able to identify the check or item, including the precise check or           Your duty to report other errors - In addition to your duty to review your statements
                     item number, amount, date and payee. Written notice we give you is effective when it           for unauthorized signatures, alterations and forgeries, you agree to examine your
                     is deposited in the United States Mail with proper postage and addressed to your               statement with reasonable promptness for any other error - such as an encoding
                     mailing address we have on file. Notice to any of you is notice to all of you.                 error. In addition, if you receive or we make available either your items or images of
                     In Louisiana, Alabama, Arkansas, Florida, and Georgia, STATEMENTS - Your                       your items, you must examine them for any unauthorized or missing indorsements or
                     duty to report unauthorized signatures, alterations and forgeries - You must                   any other problems. You agree that the time you have to examine your statement and
                     examine your statement of account with “reasonable promptness.” If you discover (or            items and report to us will depend on the circumstances. However, this time period
                     reasonably should have discovered) any unauthorized signatures or alterations, you             shall not exceed 60 days. Failure to examine your statement and items and report
                     must promptly notify us of the relevant facts. As between you and us, if you fail to do        any errors to us within 60 days of when we first send or make the statement available
                     either of these duties, you will have to either share the loss with us, or bear the loss       precludes you from asserting a claim against us for any errors on items identified in
                     entirely yourself (depending on whether we used ordinary care and, if not, whether             that statement and as between you and us the loss will be entirely yours.
                     we substantially contributed to the loss). The loss could be not only with respect to          Errors relating to electronic fund transfers or substitute checks (For consumer
                     items on the statement but other items with unauthorized signatures or alterations by          accounts only) - For information on errors relating to electronic fund transfers (e.g.,
                     the same wrongdoer.                                                                            computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
                     You agree that the time you have to examine your statement and report to us will               disclosure and the sections on consumer liability and error resolution. For information
                     depend on the circumstances, but will not, in any circumstance, exceed a total of 30           on errors relating to a substitute check you received, refer to your disclosure entitled
                     days from when the statement is first sent or made available to you.                           Substitute Checks and Your Rights.
                     You further agree that if you fail to report any unauthorized signatures, alterations or       ACCOUNT TRANSFER - This account may not be transferred or assigned without
                     forgeries in your account within 60 days of when we first send or make the statement           our prior written consent.


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                     DIRECT DEPOSITS - If we are required for any reason to reimburse the federal                      The owner may terminate the agency at any time, and the agency is automatically
                     government for all or any portion of a benefit payment that was directly deposited into           terminated by the death of the owner. However, we may continue to honor the
                     your account, you authorize us to deduct the amount of our liability to the federal               transactions of the agent until: (a) we have received written notice or have actual
                     government from the account or from any other account you have with us, without                   knowledge of the termination of the agency, and (b) we have a reasonable
                     prior notice and at any time, except as prohibited by law. We may also use any other              opportunity to act on that notice or knowledge. We may refuse to accept the
                     legal remedy to recover the amount of our liability.                                              designation of an agent.
                     TEMPORARY ACCOUNT AGREEMENT - If the account documentation indicates                              In Alabama, AGENCY (Power of Attorney) DESIGNATION (Single-Party
                     that this is a temporary account agreement, each person who signs to open the                     Accounts only) - A single individual is the owner. The agent is merely designated to
                     account or has authority to make withdrawals (except as indicated to the contrary)                conduct transactions on the owner’s behalf. The owner does not give up any rights to
                     may transact business on this account. However, we may at some time in the future                 act on the account, and the agent may not in any manner affect the rights of the
                     restrict or prohibit further use of this account if you fail to comply with the                   owner or beneficiaries, if any, other than by withdrawing funds from the account. The
                     requirements we have imposed within a reasonable time.                                            owner is responsible for any transactions of the agent. We undertake no obligation to
                     In Louisiana, Alabama, Arkansas, Georgia, and Tennessee, SETOFF - We may                          monitor transactions to determine that they are on the owner’s behalf.
                     (without prior notice and when permitted by law) set off the funds in this account                The owner may terminate the agency at any time, and the agency is automatically
                     against any due and payable debt any of you owe us now or in the future. If this                  terminated by the death of the owner. However, we may continue to honor the
                     account is owned by one or more of you as individuals, we may set off any funds in                transactions of the agent until: (a) we have received written notice or have actual
                     the account against a due and payable debt a partnership owes us now or in the                    knowledge of the termination of the agency, and (b) we have a reasonable
                     future, to the extent of your liability as a partner for the partnership debt. If your debt       opportunity to act on that notice or knowledge. We may refuse to accept the
                     arises from a promissory note, then the amount of the due and payable debt will be                designation of an agent.
                     the full amount we have demanded, as entitled under the terms of the note, and this               In Arkansas, AGENCY (POWER OF ATTORNEY) DESIGNATION - Agents may
                     amount may include any portion of the balance for which we have properly                          make account transactions on behalf of the parties, but have no ownership or rights
                     accelerated the due date.                                                                         at death unless named as Pay-on-Death beneficiaries. The owner does not give up
                     This right of setoff does not apply to this account if prohibited by law. For example,            any rights to act on the account, and the agent may not in any manner affect the
                     the right of setoff does not apply to this account if: (a) it is an Individual Retirement         rights of the owner or beneficiaries, if any, other than by withdrawing funds from the
                     Account or similar tax-deferred account, or (b) the debt is created by a consumer                 account. The owner is responsible for any transactions of the agent. We undertake no
                     credit transaction under a credit card plan (but this does not affect our rights under            obligation to monitor transactions to determine that they are on the owner’s behalf.
AIFLB HMHLG FLHMHK   any consensual security interest), or (c) the debtor’s right of withdrawal only arises in         The owner may terminate the agency at any time, and the agency is automatically
A HMOA MJLAMKFOOJK   a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its         terminated by the death of the owner. However, we may continue to honor the
ADOEJLALHAHHCAIMJK
AMAA CCDIKKMBIENJK   implementing regulations. We will not be liable for the dishonor of any check when                transactions of the agent until: (a) we have received written notice or have actual
DDDLLLDLDDLLDDDLLL   the dishonor occurs because we set off a debt against this account. You agree to                  knowledge of the termination of the agency, and (b) we have a reasonable
                     hold us harmless from any claim arising as a result of our exercise of our right of               opportunity to act on that notice or knowledge. We may refuse to accept the
                     setoff.                                                                                           designation of an agent.
                     In Florida, SETOFF - We may (without prior notice and when permitted by law) set                  In Florida, CONVENIENCE ACCOUNT AGENT (Single-Party Accounts only) - A
                     off the funds in this account against any due and payable debt any of you owe us now              convenience account, as defined by Florida law, means a deposit account other than
                     or in the future. If this account is owned by one or more of you as individuals, we may           a certificate of deposit, in the name of one individual, in which one or more individuals
                     set off any funds in the account against a due and payable debt a partnership owes                have been designated as agent with the right to make deposits to and withdraw funds
                     us now or in the future, to the extent of your liability as a partner for the partnership         from or draw checks on such account on the owner’s behalf. A single individual is the
                     debt. If your debt arises from a promissory note, then the amount of the due and                  owner, and the agent is merely designated to conduct transactions on the owner’s
                     payable debt will be the full amount we have demanded, as entitled under the terms                behalf. The owner does not give up any rights to act on the account, and the agent
                     of the note, and this amount may include any portion of the balance for which we                  may not in any manner affect the rights of the owner or beneficiaries, if any, other
                     have properly accelerated the due date.                                                           than by withdrawing funds from the account. The owner is responsible for any
                     The funds in joint accounts, including accounts owned as tenants by the entireties,               transactions of the agent. We undertake no obligation to monitor transactions to
                     may be set off by us for any individual or joint debt of any person having withdrawal             determine that they are on the owner’s behalf.
                     rights. To the extent that setoff of funds in an account owned by husband and wife as             The owner may terminate the agency at any time, and the agency is automatically
                     tenants by the entireties would ordinarily not be permitted by law for a debt of only             terminated by the death of the owner. However, we may continue to honor the
                     one of the spouses, both spouses and all persons having rights of withdrawal hereby               transactions of the agent until: (a) we have received written notice or have actual
                     waive that right and consent to setoff for either an individual or joint debt owed by one         knowledge of the termination of agency, and (b) we have a reasonable opportunity to
                     or both of them to this bank. This waiver and consent applies to debts on which any               act on that notice or knowledge. We may refuse to accept the designation of a
                     one of you is liable, whether jointly with another, individually, or those on which you           convenience account agent.
                     are secondarily liable.
                                                                                                                       In Georgia, AUTHORIZED SIGNER (Individual Accounts only) - A single individual
                     This right of setoff does not apply to this account if prohibited by law. For example,            is the owner. The authorized signer is merely designated to conduct transactions on
                     the right of setoff does not apply to this account if: (a) it is an Individual Retirement         the owner’s behalf. The owner does not give up any rights to act on the account, and
                     Account or similar tax-deferred account, or (b) the debt is created by a consumer                 the authorized signer may not in any manner affect the rights of the owner or
                     credit transaction under a credit card plan (but this does not affect our rights under            beneficiaries, if any, other than by withdrawing funds from the account. The owner is
                     any consensual security interest), or (c) the debtor’s right of withdrawal only arises in         responsible for any transactions of the authorized signer. We undertake no obligation
                     a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its         to monitor transactions to determine that they are on the owner’s behalf.
                     implementing regulations. We will not be liable for the dishonor of any check when
                                                                                                                       The owner may terminate the authorization at any time, and the authorization is
                     the dishonor occurs because we set off a debt against this account. You agree to
                                                                                                                       automatically terminated by the death of the owner. However, we may continue to
                     hold us harmless from any claim arising as a result of our exercise of our right of
                                                                                                                       honor the transactions of the authorized signer until: (a) we have received written
                     setoff.
                                                                                                                       notice or have actual knowledge of the termination of authority, and (b) we have a
                     In Texas, SETOFF - We may (without prior notice and when permitted by law) set off                reasonable opportunity to act on that notice or knowledge. We may refuse to accept
                     the funds in this account against any due and payable debt any of you owe us now or               the designation of an authorized signer.
                     in the future. If this account is owned by one or more of you as individuals, we may
                                                                                                                       In Tennessee, ADDITIONAL AUTHORIZED SIGNATORY (Individual Accounts
                     set off any funds in the account against a due and payable debt a partnership owes
                                                                                                                       only) - A single individual is the owner. The additional authorized signatory is merely
                     us now or in the future, to the extent of your liability as a partner for the partnership
                                                                                                                       designated to conduct transactions on the owner’s behalf. The owner does not give
                     debt. If your debt arises from a promissory note, then the amount of the due and
                                                                                                                       up any rights to act on the account, and the additional authorized signatory may not in
                     payable debt will be the full amount we have demanded, as entitled under the terms
                                                                                                                       any manner affect the rights of the owner or beneficiaries, if any, other than by
                     of the note, and this amount may include any portion of the balance for which we
                                                                                                                       withdrawing funds from the account. The owner is responsible for any transactions of
                     have properly accelerated the due date.
                                                                                                                       the additional authorized signatory. We undertake no obligation to monitor
                     This right of setoff does not apply to this account if prohibited by law. For example,            transactions to determine that they are on the owner’s behalf.
                     the right of setoff does not apply to this account if: (a) it is an Individual Retirement
                                                                                                                       The owner may terminate the authorization at any time, and the authorization is
                     Account or similar tax-deferred account, or (b) the debt is created by a consumer
                                                                                                                       automatically terminated by the death of the owner. However, we may continue to
                     credit transaction under a credit card plan (but this does not affect our rights under
                                                                                                                       honor the transactions of the additional authorized signatory until: (a) we have
                     any consensual security interest), or (c) the debtor’s right of withdrawal only arises in
                                                                                                                       received written notice or have actual knowledge of the termination of authority, and
                     a representative capacity, or (d) the debt is created by a home equity loan, or (e)
                                                                                                                       (b) we have a reasonable opportunity to act on that notice or knowledge. We may
                     setoff is prohibited by the Military Lending Act or its implementing regulations. We will
                                                                                                                       refuse to accept the designation of an additional authorized signatory.
                     not be liable for the dishonor of any check when the dishonor occurs because we set
                     off a debt against this account. You agree to hold us harmless from any claim arising             RESTRICTIVE LEGENDS OR INDORSEMENTS - The automated processing of the
                     as a result of our exercise of our right of setoff.                                               large volume of checks we receive prevents us from inspecting or looking for
                                                                                                                       restrictive legends, restrictive indorsements or other special instructions on every
                     In Louisiana, AUTHORIZED SIGNER (Agent) (Individual Accounts only) - A
                                                                                                                       check. Examples of restrictive legends placed on checks are “must be presented
                     single individual is the owner. The authorized signer (hereinafter “agent”) is merely
                                                                                                                       within 90 days” or “not valid for more than $1,000.00.” The payee’s signature
                     designated to conduct transactions on the owner’s behalf. The owner does not give
                                                                                                                       accompanied by the words “for deposit only” is an example of a restrictive
                     up any rights to act on the account, and the agent may not in any manner affect the
                                                                                                                       indorsement. For this reason, we are not required to honor any restrictive legend or
                     rights of the owner or beneficiaries, if any, other than by withdrawing funds from the
                                                                                                                       indorsement or other special instruction placed on checks you write unless we have
                     account. The owner is responsible for any transactions of the agent. We undertake no
                                                                                                                       agreed in writing to the restriction or instruction. Unless we have agreed in writing, we
                     obligation to monitor transactions to determine that they are on the owner’s behalf.
                                                                                                                       are not responsible for any losses, claims, damages, or expenses that result from
                                                                                                                       your placement of these restrictions or instructions on your checks.


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                     CHECK PROCESSING - We process items mechanically by relying solely on the                      LEGAL ACTIONS AFFECTING YOUR ACCOUNT - If we are served with a
                     information encoded in magnetic ink along the bottom of the items. This means that             subpoena, restraining order, writ of attachment or execution, levy, garnishment,
                     we do not individually examine all of your items to determine if the item is properly          search warrant, or similar order relating to your account (termed “legal action” in this
                     completed, signed and indorsed or to determine if it contains any information other            section), we will comply with that legal action. Or, in our discretion, we may freeze the
                     than what is encoded in magnetic ink. You agree that we have exercised ordinary                assets in the account and not allow any payments out of the account until a final court
                     care if our automated processing is consistent with general banking practice, even             determination regarding the legal action. We may do these things even if the legal
                     though we do not inspect each item. Because we do not inspect each item, if you                action involves less than all of you. In these cases, we will not have any liability to you
                     write a check to multiple payees, we can properly pay the check regardless of the              if there are insufficient funds to pay your items because we have withdrawn funds
                     number of indorsements unless you notify us in writing that the check requires                 from your account or in any way restricted access to your funds in accordance with
                     multiple indorsements. We must receive the notice in time for us to have a                     the legal action. Any fees or expenses we incur in responding to any legal action
                     reasonable opportunity to act on it, and you must tell us the precise date of the check,       (including, without limitation, attorneys’ fees and our internal expenses) may be
                     amount, check number and payee. We are not responsible for any unauthorized                    charged against your account. The list of fees applicable to your account(s) provided
                     signature or alteration that would not be identified by a reasonable inspection of the         elsewhere may specify additional fees that we may charge for certain legal actions.
                     item. Using an automated process helps us keep costs down for you and all account              SECURITY - It is your responsibility to protect the account numbers and electronic
                     holders.                                                                                       access devices (e.g., an ATM card) we provide you for your account(s). Do not
                     CHECK CASHING - We may charge a fee for anyone that does not have an account                   discuss, compare, or share information about your account number(s) with anyone
                     with us who is cashing a check, draft or other instrument written on your account. We          unless you are willing to give them full use of your money. An account number can be
                     may also require reasonable identification to cash such a check, draft or other                used by thieves to issue an electronic debit or to encode your number on a false
                     instrument. We can decide what identification is reasonable under the circumstances            demand draft which looks like and functions like an authorized check. If you furnish
                     and such identification may be documentary or physical and may include collecting a            your access device and grant actual authority to make transfers to another person (a
                     thumbprint or fingerprint.                                                                     family member or coworker, for example) who then exceeds that authority, you are
                     INDORSEMENTS - We may accept for deposit any item payable to you or your order,                liable for the transfers unless we have been notified that transfers by that person are
                     even if they are not indorsed by you. We may give cash back to any one of you. We              no longer authorized.
                     may supply any missing indorsement(s) for any item we accept for deposit or                    Your account number can also be used to electronically remove money from your
                     collection, and you warrant that all indorsements are genuine.                                 account, and payment can be made from your account even though you did not
                     To ensure that your check or share draft is processed without delay, you must                  contact us directly and order the payment.
AIFLB HMHLG FLHMHK   indorse it (sign it on the back) in a specific area. Your entire indorsement (whether a        You must also take precaution in safeguarding your blank checks. Notify us at once if
A HMOA MJLAMKFOOJK   signature or a stamp) along with any other indorsement information (e.g. additional            you believe your checks have been lost or stolen. As between you and us, if you are
ADOEJLALHAHHCAIMJK
AMAA CCDIKKMBIENJK   indorsements, ID information, driver’s license number, etc.) must fall within 11/2” of         negligent in safeguarding your checks, you must bear the loss entirely yourself or
DDDLLLDLDDLLDDDLLL   the “trailing edge” of a check. Indorsements must be made in blue or black ink, so             share the loss with us (we may have to share some of the loss if we failed to use
                     that they are readable by automated check processing equipment.                                ordinary care and if we substantially contributed to the loss).
                     As you look at the front of a check, the “trailing edge” is the left edge. When you flip       Except for consumer electronic funds transfers subject to Regulation E, you agree
                     the check over, be sure to keep all indorsement information within 11/2” of that edge.         that if we offer you services appropriate for your account to help identify and limit
                                                                                                                    fraud or other unauthorized transactions against your account, such as positive pay
                                                                                                       7654         or commercially reasonable security procedures, and you reject those services, you
                                                       Name
                                                       Address, City, State                      20                 will be responsible for any fraudulent or unauthorized transactions which could have
                                                       Pay to the
                                                                                                                    been prevented by the services we offered, unless we acted in bad faith or to the
                                                       order of                              $                      extent our negligence contributed to the loss. If we offered you a commercially
                                                                                                      dollars       reasonable security procedure which you reject, you agree that you are responsible
                                                                                                                    for any payment order, whether authorized or not, that we accept in compliance with
                                                       Bank Name                                                    an alternative security procedure that you have selected.
                                                       and Location
                                                                                                                    TELEPHONIC INSTRUCTIONS - Unless required by law or we have agreed
                                                       Memo
                                                                                                                    otherwise in writing, we are not required to act upon instructions you give us via
                                                         123456789             7654                               facsimile transmission or leave by voice mail or on a telephone answering machine.
                              TRAILING EDGE                            FRONT OF CHECK                               MONITORING AND RECORDING TELEPHONE CALLS AND CONSENT TO
                                                                                                                    RECEIVE COMMUNICATIONS - We may monitor or record phone calls for security
                                                                                                                    reasons, to maintain a record and to ensure that you receive courteous and efficient
                                                                                                                    service. You consent in advance to any such recording. We need not remind you of
                                                                                                                    our recording before each phone conversation.
                                                                                                                    To provide you with the best possible service in our ongoing business relationship for
                                                           1 1/2"             Keep your indorsement                 your account we may need to contact you about your account from time to time by
                                                                                 out of this area.                  telephone, text messaging or email. However, we must first obtain your consent to
                      YOUR INDORSEMENT MUST                                                                         contact you about your account because we must comply with the consumer
                      BE WITHIN THIS AREA                                                                           protection provisions in the federal Telephone Consumer Protection Act of 1991
                                                                                                                    (TCPA), CAN-SPAM Act and their related federal regulations and orders issued by
                                                                                                                    the Federal Communications Commission (FCC).
                                                                        BACK OF CHECK                                    • Your consent is limited to this account, and as authorized by applicable law and
                                                                                                                           regulations.
                     It is important that you confine the indorsement information to this area since the
                     remaining blank space will be used by others in the processing of the check to place                • Your consent does not authorize us to contact you for telemarketing purposes
                     additional needed indorsements and information. You agree that you will indemnify,                    (unless you otherwise agreed elsewhere).
                     defend, and hold us harmless for any loss, liability, damage or expense that occurs            With the above understandings, you authorize us to contact you regarding this
                     because your indorsement, another indorsement or information you have printed on               account throughout its existence using any telephone numbers or email addresses
                     the back of the check obscures our indorsement.                                                that you have previously provided to us or that you may subsequently provide to us.
                     These indorsement guidelines apply to both personal and business checks.                       This consent is regardless of whether the number we use to contact you is assigned
                     DEATH OR INCOMPETENCE - You agree to notify us promptly if any person with a                   to a landline, a paging service, a cellular wireless service, a specialized mobile radio
                     right to withdraw funds from your account(s) dies or is adjudicated (determined by the         service, other radio common carrier service or any other service for which you may
                     appropriate official) incompetent. We may continue to honor your checks, items, and            be charged for the call. You further authorize us to contact you through the use of
                     instructions until: (a) we know of your death or adjudication of incompetence, and (b)         voice, voice mail and text messaging, including the use of pre-recorded or artificial
                     we have had a reasonable opportunity to act on that knowledge. You agree that we               voice messages and an automated dialing device.
                     may pay or certify checks drawn on or before the date of death or adjudication of              If necessary, you may change or remove any of the telephone numbers or email
                     incompetence for up to ten (10) days after your death or adjudication of                       addresses at any time using any reasonable means to notify us.
                     incompetence unless ordered to stop payment by someone claiming an interest in the             CLAIM OF LOSS - If you claim a credit or refund because of a forgery, alteration, or
                     account.                                                                                       any other unauthorized withdrawal, you agree to cooperate with us in the
                     FIDUCIARY ACCOUNTS - Accounts may be opened by a person acting in a fiduciary                  investigation of the loss, including giving us an affidavit containing whatever
                     capacity. A fiduciary is someone who is appointed to act on behalf of and for the              reasonable information we require concerning your account, the transaction, and the
                     benefit of another. We are not responsible for the actions of a fiduciary, including the       circumstances surrounding the loss. You will notify law enforcement authorities of any
                     misuse of funds. This account may be opened and maintained by a person or                      criminal act related to the claim of lost, missing, or stolen checks or unauthorized
                     persons named as a trustee under a written trust agreement, or as executors,                   withdrawals. We will have a reasonable period of time to investigate the facts and
                     administrators, or conservators under court orders. You understand that by merely              circumstances surrounding any claim of loss. Unless we have acted in bad faith, we
                     opening such an account, we are not acting in the capacity of a trustee in connection          will not be liable for special or consequential damages, including loss of profits or
                     with the trust nor do we undertake any obligation to monitor or enforce the terms of           opportunity, or for attorneys’ fees incurred by you.
                     the trust or letters.                                                                          You agree that you will not waive any rights you have to recover your loss against
                     CREDIT VERIFICATION - You agree that we may verify credit and employment                       anyone who is obligated to repay, insure, or otherwise reimburse you for your loss.
                     history by any necessary means, including preparation of a credit report by a credit           You will pursue your rights or, at our option, assign them to us so that we may pursue
                     reporting agency.                                                                              them. Our liability will be reduced by the amount you recover or are entitled to recover
                                                                                                                    from these other sources.


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                     EARLY WITHDRAWAL PENALTIES (and involuntary withdrawals) - We may                                UNLAWFUL INTERNET GAMBLING NOTICE - Restricted transactions as defined in
                     impose early withdrawal penalties on a withdrawal from a time account even if you                Federal Reserve Regulation GG are prohibited from being processed through this
                     don’t initiate the withdrawal. For instance, the early withdrawal penalty may be                 account or relationship. Restricted transactions generally include, but are not limited
                     imposed if the withdrawal is caused by our setoff against funds in the account or as a           to, those in which credit, electronic fund transfers, checks, or drafts are knowingly
                     result of an attachment or other legal process. We may close your account and                    accepted by gambling businesses in connection with the participation by others in
                     impose the early withdrawal penalty on the entire account balance in the event of a              unlawful Internet gambling.
                     partial early withdrawal. See your notice of penalty for early withdrawals for additional
                     information.                                                                                                     ——————————————
                     ADDRESS OR NAME CHANGES - You are responsible for notifying us of any
                     change in your address or your name. Unless we agree otherwise, change of address
                                                                                                                                      NOTICE OF CHANGE IN VISA ZERO
                     or name must be made in writing by at least one of the account holders. Informing us                                     LIABILITY RULE
                     of your address or name change on a check reorder form is not sufficient. We will
                     attempt to communicate with you only by use of the most recent address you have                  A change in the Visa Core Rules revises the circumstances under which you have
                     provided to us. If provided elsewhere, we may impose a service fee if we attempt to              zero liability for unauthorized electronic fund transfers. The change is highlighted in
                     locate you.                                                                                      bold italics type in the next two sentences. Under the new Visa rule, you will not be
                                                                                                                      liable for any transactions using a lost or stolen Visa card unless you have been
                     RESOLVING ACCOUNT DISPUTES - We may place an administrative hold on the                          negligent or engaged in fraud. Under the previous rule, you are not liable for any
                     funds in your account (refuse payment or withdrawal of the funds) if it becomes                  transaction using a lost or stolen Visa card unless you were grossly negligent or
                     subject to a claim adverse to (1) your own interest; (2) others claiming an interest as          engaged in fraud. This change becomes effective 21 days after you receive this
                     survivors or beneficiaries of your account; or (3) a claim arising by operation of law.          notice.
                     The hold may be placed for such period of time as we believe reasonably necessary
                     to allow a legal proceeding to determine the merits of the claim or until we receive             Whether conduct is negligent depends on the circumstances and is subject to
                     evidence satisfactory to us that the dispute has been resolved. We will not be liable            interpretation. However, negligence is generally considered to be the failure to use
                     for any items that are dishonored as a consequence of placing a hold on funds in                 such care as a reasonably prudent person would have exercised in a similar situation.
                     your account for these reasons.                                                                  Negligence is more careful conduct than gross negligence.
                     WAIVER OF NOTICES - To the extent permitted by law, you waive any notice of non-                 As a result of the Visa rule change, you have to use a higher degree of care to have
                     payment, dishonor or protest regarding any items credited to or charged against your             zero liability for unauthorized transactions than you had to exercise under the
                     account. For example, if you deposit a check and it is returned unpaid or we receive a           previous Visa rule.
AIFLBLFODLG FLHMHK
A HMOA MJLAMLGLNJK   notice of nonpayment, we do not have to notify you unless required by federal                    Here is the disclosure of your liability for unauthorized electronic fund transfers,
ADOEIKIDGAF MKI K
AOICJDJNGHJKDHKOLK   Regulation CC or other law.                                                                      effective 21 days after you receive this notice —
DLDLLLDLDLDLDDDLDL
                     ACH AND WIRE TRANSFERS - This agreement is subject to Article 4A of the                                                       UNAUTHORIZED TRANSFERS
                     Uniform Commercial Code - Fund Transfers as adopted in the state in which you                         (a) Consumer liability.
                     have your account with us. If you originate a fund transfer and you identify by name                   • Generally. Tell us AT ONCE if you believe your card and/or code has been lost
                     and number a beneficiary financial institution, an intermediary financial institution or a       or stolen, or if you believe that an electronic fund transfer has been made without
                     beneficiary, we and every receiving or beneficiary financial institution may rely on the         your permission using information from your check. Telephoning is the best way of
                     identifying number to make payment. We may rely on the number even if it identifies              keeping your possible losses down. You could lose all the money in your account
                     a financial institution, person or account other than the one named. You agree to be             (plus your maximum overdraft line of credit). If you tell us within 2 business days after
                     bound by automated clearing house association rules. These rules provide, among                  you learn of the loss or theft of your card and/or code, you can lose no more than $50
                     other things, that payments made to you, or originated by you, are provisional until             if someone used your card and/or code without your permission.
                     final settlement is made through a Federal Reserve Bank or payment is otherwise
                     made as provided in Article 4A-403(a) of the Uniform Commercial Code. If we do not                    If you do NOT tell us within 2 business days after you learn of the loss or theft of
                     receive such payment, we are entitled to a refund from you in the amount credited to             your card and/or code, and we can prove we could have stopped someone from
                     your account and the party originating such payment will not be considered to have               using your card and/or code without your permission if you had told us, you could
                     paid the amount so credited. Credit entries may be made by ACH. If we receive a                  lose as much as $500.
                     payment order to credit an account you have with us by wire or ACH, we are not                        Also, if your statement shows transfers that you did not make, including those
                     required to give you any notice of the payment order or credit.                                  made by card, code or other means, tell us at once. If you do not tell us within 60
                     FACSIMILE SIGNATURES - Unless you make advance arrangements with us, we                          days after the statement was mailed to you, you may not get back any money you
                     have no obligation to honor facsimile signatures on your checks or other orders. If we           lost after the 60 days if we can prove that we could have stopped someone from
                     do agree to honor items containing facsimile signatures, you authorize us, at any                taking the money if you had told us in time.
                     time, to charge you for all checks, drafts, or other orders, for the payment of money,                If a good reason (such as a long trip or a hospital stay) kept you from telling us,
                     that are drawn on us. You give us this authority regardless of by whom or by what                we will extend the time periods.
                     means the facsimile signature(s) may have been affixed so long as they resemble the                   • Additional Limit on Liability for Debit VISA® Card. Unless you have been
                     facsimile signature specimen filed with us, and contain the required number of                   negligent or have engaged in fraud, you will not be liable for any unauthorized
                     signatures for this purpose. You must notify us at once if you suspect that your                 transactions using your lost or stolen Debit VISA® Card. This additional limit on
                     facsimile signature is being or has been misused.                                                liability does not apply to ATM transactions outside of the U.S., to ATM transactions
                     TRUNCATION, SUBSTITUTE CHECKS, AND OTHER CHECK IMAGES - If you                                   not sent over Visa or Plus networks, or to transactions using your Personal
                     truncate an original check and create a substitute check, or other paper or electronic           Identification Number which are not processed by VISA®. Visa is a registered
                     image of the original check, you warrant that no one will be asked to make payment               trademark of Visa International Service Association.
                     on the original check, a substitute check or any other electronic or paper image, if the              (b) Contact in event of unauthorized transfer. If you believe your card and/or
                     payment obligation relating to the original check has already been paid. You also                code has been lost or stolen, call or write us at the telephone number or address
                     warrant that any substitute check you create conforms to the legal requirements and              listed below. You should also call the number or write to the address listed below if
                     generally accepted specifications for substitute checks. You agree to retain the                 you believe a transfer has been made using the information from your check without
                     original check in conformance with our internal policy for retaining original checks.            your permission.
                     You agree to indemnify us for any loss we may incur as a result of any truncated                                                        IBERIABANK
                     check transaction you initiate. We can refuse to accept substitute checks that have
                     not previously been warranted by a bank or other financial institution in conformance                                      12719 CANTRELL ROAD, SUITE 103
                     with the Check 21 Act. Unless specifically stated in a separate agreement between                                                LITTLE ROCK, AR 72223
                     you and us, we do not have to accept any other electronic or paper image of an                                                      Phone: 800-682-3231
                     original check.
                     REMOTELY CREATED CHECKS - Like any standard check or draft, a remotely
                     created check (sometimes called a telecheck, preauthorized draft or demand draft) is
                     a check or draft that can be used to withdraw money from an account. Unlike a typical
                     check or draft, however, a remotely created check is not issued by the paying bank
                     and does not contain the signature of the account owner (or a signature purported to
                     be the signature of the account owner). In place of a signature, the check usually has
                     a statement that the owner authorized the check or has the owner’s name typed or
                     printed on the signature line.
                     You warrant and agree to the following for every remotely created check we receive
                     from you for deposit or collection: (1) you have received express and verifiable
                     authorization to create the check in the amount and to the payee that appears on the
                     check; (2) you will maintain proof of the authorization for at least 2 years from the
                     date of the authorization, and supply us the proof if we ask; and (3) if a check is
                     returned you owe us the amount of the check, regardless of when the check is
                     returned. We may take funds from your account to pay the amount you owe us, and if
                     there are insufficient funds in your account, you still owe us the remaining balance.

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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 4/28/17                         Page    1
                             AKHNBLFODLGLB HMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                             A HM CKNILFLIFL JK
                             AC NL FDEOIMAGOJK    PAYROLL ACCOUNT
                             ANAGDEEKJKIODJM KK
                             DLLLLLDLLDLLDLDLLL   1990 POST OAK BLVD SUITE 2400
                             002736               HOUSTON TX 77056



AKHNBLFODLGLB HMHK
A HM CKNILFLIFL JK
AC NL FDEOIMAGOJK
ANAGDEEKJKIODJM KK
DLLLLLDLLDLLDLDLLL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8630                                                      Statement Dates   4/03/17 thru 4/30/17
                     Previous Balance                7,399.25                                                      Days this Statement Period           28
                         4 Deposits/Credits        188,950.53                                                      Average Ledger                 2,589.52
                         5 Checks/Debits           189,155.69                                                      Average Collected              2,589.52
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                 7,194.09


                                                                                     Deposits and Additions
                     Date                         Description                                                                             Amount
                      4/12                        Transfer Credit                                                                      61,659.21
                      4/13                        Transfer Credit                                                                       5,884.47
                      4/26                        Transfer from DDA                                                                    57,106.38
                                                  Acct No.                                 8681-D
                      4/27                        Transfer Credit                                                                      64,300.47

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      4/03                        RST TRAC I MASSACHUSETTS MU                   5,809.47-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      4/12                        DRAFT       COASTAL HUMAN RE                63,248.99-
                                                  CCD   GULF COAST ASPHALT COM
                      4/18                        RST TRAC I MASSACHUSETTS MU                   5,884.47-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      4/26                        DRAFT       COASTAL HUMAN RE                57,106.38-
                                                  CCD   GULF COAST ASPHALT COM
                      4/27                        From DDA *8630,To DDA *8681,co              57,106.38-
                                                  ver sweep from Oper

                                                                         Daily Balance Information
                     Date                                         Balance Date                 Balance Date                                                                         Balance
                      4/03                                      1,589.78    4/13             5,884.47   4/26                                                                           .00
                      4/12                                           .00    4/18                   .00  4/27                                                                      7,194.09




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                                                                                                   Date 5/31/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   5/01/17 thru 5/31/17
Previous Balance                7,194.09                                   Days this Statement Period           31
    3 Deposits/Credits        147,911.83                                   Average Ledger                 4,382.82
    5 Checks/Debits           155,105.92                                   Average Collected              4,382.82
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                                             Deposits and Additions
Date      Description                                                                             Amount
 5/10     Transfer Credit                                                                      66,222.13
 5/15     Transfer Credit                                                                       8,047.95
 5/23     Transfer Credit                                                                      73,641.75

                             Withdrawals and Deductions
Date      Description                                     Amount
 5/03     RST TRAC I MASSACHUSETTS MU                   7,194.09-
          CCD   GCAC, LLC 401(K) PLAN
 5/10     DRAFT       COASTAL HUMAN RE                66,222.13-
          CCD   GULF COAST ASPHALT COM
 5/15     RST TRAC I MASSACHUSETTS MU                   8,047.95-
          CCD   GCAC, LLC 401(K) PLAN
 5/24     DRAFT       COASTAL HUMAN RE                65,668.80-
          CCD   GULF COAST ASPHALT COM
 5/30     RST TRAC I MASSACHUSETTS MU                   7,972.95-
          CCD   GCAC, LLC 401(K) PLAN

                                 Daily Balance Information
Date                      Balance Date                 Balance Date                                                                       Balance
 5/01                   7,194.09    5/15                   .00  5/30                                                                         .00
 5/03                        .00    5/23            73,641.75
 5/10                        .00    5/24             7,972.95




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   6/01/17 thru 7/02/17
Previous Balance                     .00                                   Days this Statement Period           32
    5 Deposits/Credits        147,788.25                                   Average Ledger                 3,497.54
    3 Checks/Debits           139,815.30                                   Average Collected              3,497.54
Service Charge                       .00
Interest Paid                        .00
Current Balance                 7,972.95


                                             Deposits and Additions
Date      Description                                                                             Amount
 6/07     Transfer from DDA                                                                    66,137.31
          Acct No.                                 8681-D
 6/08     Transfer Credit                                                                       8,047.95
 6/21     Transfer Credit                                                                      19,630.04
 6/21     Transfer Credit                                                                      46,000.00
 6/23     Transfer Credit                                                                       7,972.95

                             Withdrawals and Deductions
Date      Description                                     Amount
 6/07     DRAFT       COASTAL HUMAN RE                66,137.31-
          CCD   GULF COAST ASPHALT COM
 6/12     RST TRAC I MASSACHUSETTS MU                   8,047.95-
          CCD   GCAC, LLC 401(K) PLAN
 6/21     DRAFT       COASTAL HUMAN RE                65,630.04-
          CCD   GULF COAST ASPHALT COM

                                   Daily Balance Information
Date                        Balance Date                 Balance Date                                                                       Balance
 6/01                          .00    6/08             8,047.95   6/21                                                                         .00
 6/07                          .00    6/12                   .00  6/23                                                                    7,972.95




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




Change in terms: Effective September 1, 2017, deposit accounts with no transaction
activity and a zero balance for 30 consecutive days may be closed.

----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     2
Account Number               *******8630                                   Statement Dates   7/03/17 thru 7/31/17
Previous Balance                7,972.95                                   Days this Statement Period           29
    5 Deposits/Credits        164,287.77                                   Average Ledger                14,847.30
    6 Checks/Debits           164,287.77                                   Average Collected             14,847.30
Service Charge                       .00
Interest Paid                        .00
Current Balance                 7,972.95


                             Deposits and Additions
Date      Description                                                                             Amount
 7/05     Transfer Credit                                                                      84,191.12
 7/19     Transfer Credit                                                                      68,292.73
 7/20     DRAFT       COASTAL HUMAN RE                                                          1,912.93
          CCD   GULF COAST ASPHALT COM
 7/25     Transfer from DDA                                                                      1,918.04
          Acct No.              8681-D
 7/27     Transfer Credit                                                                        7,972.95

                             Withdrawals and Deductions
Date      Description                                     Amount
 7/07     DRAFT       COASTAL HUMAN RE                69,256.66-
          CCD   GULF COAST ASPHALT COM
 7/17     RST TRAC I MASSACHUSETTS MU                   7,972.95-
          CCD   GCAC, LLC 401(K) PLAN
 7/17     RST TRAC I MASSACHUSETTS MU                   8,047.95-
          CCD   GCAC, LLC 401(K) PLAN
 7/19     DRAFT       COASTAL HUMAN RE                68,292.73-
          CCD   GULF COAST ASPHALT COM

                           Checks in Number Order
Date Check No        Amount Date Check No         Amount
 7/10   11779      6,886.51 7/25    11781*     3,830.97
(*) Check Numbers Missing




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                          Balance
 7/03                  7,972.95    7/10            16,020.90   7/20                                                                       1,912.93
 7/05                 92,164.07    7/17                   .00  7/25                                                                            .00
 7/07                 22,907.41    7/19                   .00  7/27                                                                       7,972.95




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000501
                                                                                                                                                         752
CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/17                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     1
Account Number               *******8630                                   Statement Dates   8/01/17 thru 8/31/17
Previous Balance                7,972.95                                   Days this Statement Period           31
    6 Deposits/Credits        232,288.02                                   Average Ledger                15,768.86
    8 Checks/Debits           232,213.02                                   Average Collected             15,768.86
Service Charge                       .00
Interest Paid                        .00
Current Balance                 8,047.95


                                             Deposits and Additions
Date      Description                                                                             Amount
 8/02     Transfer from DDA                                                                    64,157.95
          Acct No.                                 8681-D
 8/07     Transfer from DDA                                                                      8,047.95
          Acct No.                                 8681-D
 8/16     Transfer Credit                                                                      79,025.00
 8/21     Transfer Credit                                                                          94.83
 8/21     Transfer Credit                                                                       6,787.69
 8/24     Transfer Credit                                                                      74,174.60

                             Withdrawals and Deductions
Date      Description                                     Amount
 8/02     RST TRAC I MASSACHUSETTS MU                   7,972.95-
          CCD   GCAC, LLC 401(K) PLAN
 8/02     DRAFT       COASTAL HUMAN RE                64,157.95-
          CCD   GULF COAST ASPHALT COM
 8/07     RST TRAC I MASSACHUSETTS MU                   8,047.95-
          CCD   GCAC, LLC 401(K) PLAN
 8/16     DRAFT       COASTAL HUMAN RE                70,554.83-
          CCD   GULF COAST ASPHALT COM
 8/17     DRAFT       COASTAL HUMAN RE                    493.23-
          CCD   GULF COAST ASPHALT COM
 8/21     RST TRAC I MASSACHUSETTS MU                   7,972.95-
          CCD   GCAC, LLC 401(K) PLAN




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/17                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                             Withdrawals and Deductions
Date      Description                                    Amount
 8/30     DRAFT       COASTAL HUMAN RE                66,126.65-
          CCD   GULF COAST ASPHALT COM

                                           Checks in Number Order
Date Check No        Amount
 8/18   11782      6,886.51
(*) Check Numbers Missing

                                 Daily Balance Information
Date                      Balance Date                 Balance Date                                                                          Balance
 8/01                   7,972.95    8/16             8,470.17   8/21                                                                            .00
 8/02                        .00    8/17             7,976.94   8/24                                                                      74,174.60
 8/07                        .00    8/18             1,090.43   8/30                                                                       8,047.95




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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CaseCase 21-06006 Document
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                                                                                                   Date 9/29/17                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          PAYROLL ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   9/01/17 thru 10/01/17
Previous Balance                8,047.95                                   Days this Statement Period           31
    4 Deposits/Credits        164,884.37                                   Average Ledger                 8,803.99
    4 Checks/Debits           164,070.85                                   Average Collected              8,803.99
Service Charge                       .00
Interest Paid                        .00
Current Balance                 8,861.47


                                             Deposits and Additions
Date      Description                                                                             Amount
 9/12     Transfer Credit                                                                      74,175.00
 9/15     Transfer Credit                                                                       6,823.83
 9/21     Transfer Credit                                                                       1,018.82
 9/27     Transfer Credit                                                                      82,866.72

                             Withdrawals and Deductions
Date      Description                                     Amount
 9/05     RST TRAC I MASSACHUSETTS MU                   8,047.95-
          CCD   GCAC, LLC 401(K) PLAN
 9/14     DRAFT       COASTAL HUMAN RE                73,156.18-
          CCD   GULF COAST ASPHALT COM
 9/21     RST TRAC I MASSACHUSETTS MU                   8,861.47-
          CCD   GCAC, LLC 401(K) PLAN
 9/27     DRAFT       COASTAL HUMAN RE                74,005.25-
          CCD   GULF COAST ASPHALT COM

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                          Balance
 9/01                  8,047.95    9/14             1,018.82   9/27                                                                       8,861.47
 9/05                       .00    9/15             7,842.65
 9/12                 74,175.00    9/21                   .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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                                                  T0 PL0 R                                                                                 Date 10/31/17                       Page     1
                             AKHNBLFODLGLBLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                             A HM DO JJCIKFKNJK
                             AC JF DFBCBKALNILK   1990 POST OAK BLVD SUITE 2400
                             A BIB LFN CE KDMIK
                             DDDLLLDLLDDLDLDLDL   HOUSTON TX 77056
                             005677




AKHNBLFODLGLBLHMHK
A HM DO JJCIKFKNJK
AC JF DFBCBKALNILK
A BIB LFN CE KDMIK
DDDLLLDLLDDLDLDLDL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                       0
                     Account Number               *******8630                                                      Statement Dates 10/02/17 thru 10/31/17
                     Previous Balance                8,861.47                                                      Days this Statement Period          30
                         2 Deposits/Credits        215,912.66                                                      Average Ledger               75,149.04
                         5 Checks/Debits           151,300.73                                                      Average Collected            75,149.04
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                73,473.40


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                     10/04                        Transfer Credit                                                                     79,092.41
                     10/18                        Transfer Credit                                                                    136,820.25

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                     10/05                        RST TRAC I MASSACHUSETTS MU                   6,472.92-
                                                  CCD   GCAC, LLC 401(K) PLAN
                     10/11                        DRAFT       COASTAL HUMAN RE                67,247.59-
                                                  CCD   GULF COAST ASPHALT COM
                     10/18                        RST TRAC I MASSACHUSETTS MU                   5,519.48-
                                                  CCD   GCAC, LLC 401(K) PLAN
                     10/25                        DRAFT       COASTAL HUMAN RE                66,616.26-
                                                  CCD   GULF COAST ASPHALT COM
                     10/30                        RST TRAC I MASSACHUSETTS MU                   5,444.48-
                                                  CCD   GCAC, LLC 401(K) PLAN

                                                                       Daily Balance Information
                     Date                                        Balance Date                Balance Date                                                                            Balance
                     10/02                                     8,861.47 10/11             14,233.37 10/30                                                                         73,473.40
                     10/04                                    87,953.88 10/18            145,534.14
                     10/05                                    81,480.96 10/25             78,917.88




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    1
Account Number               *******8630                                   Statement Dates 11/01/17 thru 11/30/17
Previous Balance               73,473.40                                   Days this Statement Period          30
    2 Deposits/Credits         94,597.98                                   Average Ledger               22,806.60
    5 Checks/Debits           167,713.58                                   Average Collected            22,806.60
Service Charge                       .00
Interest Paid                        .00
Current Balance                   357.80


                                             Deposits and Additions
Date      Description                                                                             Amount
11/10     Transfer Credit                                                                         914.34
11/21     Transfer Credit                                                                      93,683.64

                             Withdrawals and Deductions
Date      Description                                     Amount
11/08     DRAFT       COASTAL HUMAN RE                67,947.12-
          CCD   GULF COAST ASPHALT COM
11/13     RST TRAC I MASSACHUSETTS MU                   6,240.62-
          CCD   GCAC, LLC 401(K) PLAN
11/22     DRAFT       COASTAL HUMAN RE                85,900.17-
          CCD   GULF COAST ASPHALT COM
11/27     RST TRAC I MASSACHUSETTS MU                   6,286.77-
          CCD   GCAC, LLC 401(K) PLAN

                                           Checks in Number Order
Date Check No        Amount
11/29   11783      1,338.90
(*) Check Numbers Missing

                               Daily Balance Information
Date                     Balance Date                Balance Date                                                                            Balance
11/01                 73,473.40 11/10              6,440.62 11/21                                                                         93,883.64
11/08                  5,526.28 11/13                200.00 11/22                                                                          7,983.47




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                                Daily Balance Information
Date                      Balance Date                Balance
11/27                   1,696.70 11/29                357.80




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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CaseCase 21-06006 Document
     6:23-cv-00002 Document196
                            16-1 Filed
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number               *******8630                                   Statement Dates 12/01/17 thru 12/31/17
Previous Balance                  357.80                                   Days this Statement Period          31
    4 Deposits/Credits        187,172.73                                   Average Ledger                1,071.70
    4 Checks/Debits           187,530.53                                   Average Collected             1,071.70
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                                             Deposits and Additions
Date      Description                                                                             Amount
12/06     Transfer Credit                                                                      87,327.32
12/11     Transfer Credit                                                                       6,361.77
12/20     Transfer from DDA                                                                    87,196.87
          Acct No.                                 8681-D
12/21     Transfer Credit                                                                        6,286.77

                             Withdrawals and Deductions
Date      Description                                     Amount
12/06     DRAFT       COASTAL HUMAN RE                87,685.12-
          CCD   GULF COAST ASPHALT COM
12/11     RST TRAC I MASSACHUSETTS MU                   6,361.77-
          CCD   GCAC, LLC 401(K) PLAN
12/20     DRAFT       COASTAL HUMAN RE                87,196.87-
          CCD   GULF COAST ASPHALT COM
12/26     RST TRAC I MASSACHUSETTS MU                   6,286.77-
          CCD   GCAC, LLC 401(K) PLAN

                                  Daily Balance Information
Date                        Balance Date                Balance Date                                                                        Balance
12/01                       357.80 12/11                    .00 12/21                                                                     6,286.77
12/06                          .00 12/20                    .00 12/26                                                                          .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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                                                                                   767
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                                                    0
Account Number               *******8630                                   Statement Dates   1/01/18 thru                                 1/31/18
Previous Balance                     .00                                   Days this Statement Period                                          31
    5 Deposits/Credits        281,866.25                                   Average Ledger                                                  883.64
    5 Checks/Debits           281,866.25                                   Average Collected                                               883.64
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                                             Deposits and Additions
Date      Description                                                                             Amount
 1/04     Transfer from DDA                                                                    88,758.14
          Acct No.                                 8681-D
 1/05     Transfer Credit                                                                       9,131.00
 1/17     Transfer Credit                                                                      87,675.06
 1/22     Transfer from DDA                                                                     9,056.00
          Acct No.                                 8681-D
 1/31     Transfer Credit                                                                      87,246.05

                             Withdrawals and Deductions
Date      Description                                     Amount
 1/04     DRAFT       COASTAL HUMAN RE                88,758.14-
          CCD   GULF COAST ASPHALT COM
 1/08     RST TRAC I MASSACHUSETTS MU                   9,131.00-
          CCD   GCAC, LLC 401(K) PLAN
 1/17     DRAFT       COASTAL HUMAN RE                87,675.06-
          CCD   GULF COAST ASPHALT COM
 1/22     RST TRAC I MASSACHUSETTS MU                   9,056.00-
          CCD   GCAC, LLC 401(K) PLAN
 1/31     DRAFT       COASTAL HUMAN RE                87,246.05-
          CCD   GULF COAST ASPHALT COM




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                                 Daily Balance Information
Date                      Balance Date                 Balance Date                                                                         Balance
 1/01                        .00    1/08                   .00  1/31                                                                           .00
 1/04                        .00    1/17                   .00
 1/05                   9,131.00    1/22                   .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000519
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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   2/01/18 thru 2/28/18
Previous Balance                     .00                                   Days this Statement Period           28
    2 Deposits/Credits        578,033.41                                   Average Ledger                 3,267.20
    2 Checks/Debits           486,551.70                                   Average Collected              3,267.20
Service Charge                       .00
Interest Paid                        .00
Current Balance                91,481.71


                                             Deposits and Additions
Date      Description                                                                            Amount
 2/15     Transfer Credit                                                                     86,551.70
 2/28     Transfer Credit                                                                    491,481.71

                             Withdrawals and Deductions
Date      Description                                    Amount
 2/15     DRAFT       COASTAL HUMAN RE                86,551.70-
          CCD   GULF COAST ASPHALT COM
 2/28     From DDA *8630,To DDA *8665                400,000.00-

                                   Daily Balance Information
Date                        Balance Date                 Balance Date                                                                        Balance
 2/01                          .00    2/15                   .00  2/28                                                                    91,481.71




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                                                    0
Account Number               *******8630                                   Statement Dates   3/01/18 thru                                 4/01/18
Previous Balance               91,481.71                                   Days this Statement Period                                          32
    7 Deposits/Credits        632,091.84                                   Average Ledger                                                     .00
    7 Checks/Debits           723,573.55                                   Average Collected                                                  .00
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                                             Deposits and Additions
Date      Description                                                                            Amount
 3/01     Transfer Credit                                                                    400,000.00
 3/05     Transfer Credit                                                                      9,056.00
 3/05     Transfer Credit                                                                      9,131.00
 3/05     Transfer Credit                                                                     39,673.28
 3/14     Transfer Credit                                                                     82,728.57
 3/19     Transfer Credit                                                                      7,336.76
 3/29     Transfer Credit                                                                     84,166.23

                             Withdrawals and Deductions
Date      Description                                     Amount
 3/01     DRAFT       COASTAL HUMAN RE               491,481.71-
          CCD   GULF COAST ASPHALT COM
 3/05     RST TRAC I MASSACHUSETTS MU                   9,056.00-
          CCD   GCAC, LLC 401(K) PLAN
 3/05     RST TRAC I MASSACHUSETTS MU                   9,131.00-
          CCD   GCAC, LLC 401(K) PLAN
 3/05     RST TRAC I MASSACHUSETTS MU                 39,673.28-
          CCD   GCAC, LLC 401(K) PLAN
 3/14     DRAFT       COASTAL HUMAN RE                82,728.57-
          CCD   GULF COAST ASPHALT COM
 3/19     RST TRAC I MASSACHUSETTS MU                   7,336.76-
          CCD   GCAC, LLC 401(K) PLAN




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000523
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CaseCase 21-06006 Document
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                                                                    Debtor000524
                                                                                   774
   CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 3/30/18                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                             Withdrawals and Deductions
Date      Description                                    Amount
 3/29     DRAFT       COASTAL HUMAN RE                84,166.23-
          CCD   GULF COAST ASPHALT COM

                                   Daily Balance Information
Date                        Balance Date                 Balance Date                                                                       Balance
 3/01                          .00    3/14                   .00  3/29                                                                         .00
 3/05                          .00    3/19                   .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000525
                                                                                                                                                         775
CaseCase 21-06006 Document
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                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 4/30/18                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                                                    0
Account Number               *******8630                                   Statement Dates   4/02/18 thru                                 4/30/18
Previous Balance                     .00                                   Days this Statement Period                                          29
    4 Deposits/Credits        186,846.36                                   Average Ledger                                                     .00
    4 Checks/Debits           186,846.36                                   Average Collected                                                  .00
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                                             Deposits and Additions
Date      Description                                                                             Amount
 4/03     Transfer Credit                                                                       7,336.76
 4/11     Transfer Credit                                                                      83,542.41
 4/16     Transfer Credit                                                                      12,875.24
 4/25     Transfer from DDA                                                                    83,091.95
          Acct No.                                 8681-D

                             Withdrawals and Deductions
Date      Description                                     Amount
 4/03     RST TRAC I MASSACHUSETTS MU                   7,336.76-
          CCD   GCAC, LLC 401(K) PLAN
 4/11     DRAFT       COASTAL HUMAN RE                83,542.41-
          CCD   GULF COAST ASPHALT COM
 4/16     RST TRAC I MASSACHUSETTS MU                 12,875.24-
          CCD   GCAC, LLC 401(K) PLAN
 4/25     DRAFT       COASTAL HUMAN RE                83,091.95-
          CCD   GULF COAST ASPHALT COM

                                   Daily Balance Information
Date                        Balance Date                 Balance Date                                                                     Balance
 4/02                          .00    4/11                   .00  4/25                                                                       .00
 4/03                          .00    4/16                   .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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                                                                    Debtor000528
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                     CaseCase 21-06006 Document
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 5/31/18                        Page     1
                             AKE BLHMHLFNB FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                             A HMODOLNGCNMGHNJK
                             AC JLFMCFBMOMCHOLK   1990 POST OAK BLVD SUITE 2400
                             ALACFJCBHKCO JCMJK
                             DDDLLLDLLDLLLLDLDL   HOUSTON TX 77056
                             013328




AKE BLHMHLFNB FODK
A HMODOLNGCNMGHNJK
AC JLFMCFBMOMCHOLK
ALACFJCBHKCO JCMJK
DDDLLLDLLDLLLLDLDL
013328


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8630                                                      Statement Dates   5/01/18 thru 5/31/18
                     Previous Balance                     .00                                                      Days this Statement Period           31
                         5 Deposits/Credits        265,795.53                                                      Average Ledger                23,780.80
                         5 Checks/Debits           190,963.42                                                      Average Collected             23,780.80
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                74,832.11


                                                                                     Deposits and Additions
                     Date                         Description                                                                             Amount
                      5/01                        Transfer Credit                                                                       8,259.84
                      5/08                        Transfer Credit                                                                      84,861.55
                      5/16                        Transfer Credit                                                                       6,490.24
                      5/23                        Transfer from DDA                                                                    83,091.95
                                                  Acct No.                                 8681-D
                      5/24                        Transfer Credit                                                                      83,091.95

                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      5/01                        RST TRAC I MASSACHUSETTS MU                   8,259.84-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      5/09                        DRAFT       COASTAL HUMAN RE                83,091.95-
                                                  CCD   GULF COAST ASPHALT COM
                      5/16                        RST TRAC I MASSACHUSETTS MU                   8,259.84-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      5/23                        DRAFT       COASTAL HUMAN RE                83,091.95-
                                                  CCD   GULF COAST ASPHALT COM
                      5/29                        RST TRAC I MASSACHUSETTS MU                   8,259.84-
                                                  CCD   GCAC, LLC 401(K) PLAN

                                                                           Daily Balance Information
                     Date                                           Balance Date                 Balance Date                                                                       Balance
                      5/01                                             .00    5/08            84,861.55   5/09                                                                    1,769.60




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
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                                                                                   779
                       CaseCase 21-06006 Document
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                                                                        STATEMENT OF ACCOUNT




                                                                                                                        Date 5/31/18                        Page     2
                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLFNB FODK
A HMODOLNGCMNGBMJK   COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)
AC JLGGKGDLO O EJK
AIDCBOKJHDCKDLANJK
DDLLLLDLLDDLLLDLLL
013328                                                  Daily Balance Information
                     Date                        Balance Date                 Balance
                      5/16                          .00    5/24            83,091.95
                      5/23                          .00    5/29            74,832.11




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   6/01/18 thru 7/01/18
Previous Balance               74,832.11                                   Days this Statement Period           31
    5 Deposits/Credits        290,575.05                                   Average Ledger                40,472.22
    4 Checks/Debits           182,703.58                                   Average Collected             40,472.22
Service Charge                       .00
Interest Paid                        .00
Current Balance               182,703.58


                                             Deposits and Additions
Date      Description                                                                            Amount
 6/08     Transfer Credit                                                                      8,259.84
 6/12     Transfer Credit                                                                      8,259.84
 6/22     Transfer Credit                                                                     83,091.95
 6/25     Transfer Credit                                                                      8,259.84
 6/28     Transfer Credit                                                                    182,703.58

                             Withdrawals and Deductions
Date      Description                                     Amount
 6/08     DRAFT       COASTAL HUMAN RE                83,091.95-
          CCD   GULF COAST ASPHALT COM
 6/12     RST TRAC I MASSACHUSETTS MU                   8,259.84-
          CCD   GCAC, LLC 401(K) PLAN
 6/22     DRAFT       COASTAL HUMAN RE                83,091.95-
          CCD   GULF COAST ASPHALT COM
 6/25     RST TRAC I MASSACHUSETTS MU                   8,259.84-
          CCD   GCAC, LLC 401(K) PLAN

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                        Balance
 6/01                 74,832.11    6/12                   .00  6/25                                                                          .00
 6/08                       .00    6/22                   .00  6/28                                                                   182,703.58




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                                                                                                                    781
CaseCase 21-06006 Document
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                                                                                   782
                     CaseCase 21-06006 Document
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                                                  T0 PL0 R                                                                                 Date 7/31/18                        Page     1
                             AKHNBLFODKE B FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
                             A HM DLJMGFGLBLNJK
                             AC EJ AGDFKE LDCNK   1990 POST OAK BLVD SUITE 2400
                             AKAID KOMJMGLN OIK
                             DDLLLLDLLDDLLLDLDL   HOUSTON TX 77056
                             007452




AKHNBLFODKE B FODK
A HM DLJMGFGLBLNJK
AC EJ AGDFKE LDCNK
AKAID KOMJMGLN OIK
DDLLLLDLLDDLLLDLDL
007452


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8630                                                      Statement Dates   7/02/18 thru 7/31/18
                     Previous Balance              182,703.58                                                      Days this Statement Period           30
                           Deposits/Credits               .00                                                      Average Ledger                60,647.52
                         4 Checks/Debits           182,079.76                                                      Average Collected             60,647.52
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                   623.82


                                                                     Withdrawals and Deductions
                     Date                         Description                                     Amount
                      7/05                        DRAFT       COASTAL HUMAN RE                83,040.44-
                                                  CCD   GULF COAST ASPHALT COM
                      7/09                        RST TRAC I MASSACHUSETTS MU                   8,259.84-
                                                  CCD   GCAC, LLC 401(K) PLAN
                      7/18                        DRAFT       COASTAL HUMAN RE                82,519.64-
                                                  CCD   GULF COAST ASPHALT COM
                      7/23                        RST TRAC I MASSACHUSETTS MU                   8,259.84-
                                                  CCD   GCAC, LLC 401(K) PLAN

                                                                       Daily Balance Information
                     Date                                       Balance Date                 Balance Date                                                                         Balance
                      7/02                                  182,703.58    7/09            91,403.30   7/23                                                                        623.82
                      7/05                                   99,663.14    7/18             8,883.66




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
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                                                                                   784
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   8/01/18 thru 9/03/18
Previous Balance                  623.82                                   Days this Statement Period           34
    6 Deposits/Credits        274,995.16                                   Average Ledger                 6,921.43
    5 Checks/Debits           267,168.17                                   Average Collected              6,921.43
Service Charge                       .00
Interest Paid                        .00
Current Balance                 8,450.81


                                             Deposits and Additions
Date      Description                                                                             Amount
 8/02     Transfer from DDA                                                                    82,926.29
          Acct No.                                 8681-D
 8/07     Transfer from DDA                                                                                .20
          Acct No.                                 8681-D
 8/07     Transfer Credit                                                                       8,259.64
 8/15     Transfer Credit                                                                      83,549.19
 8/21     Transfer Credit                                                                       8,259.84
 8/27     Transfer Credit                                                                      92,000.00

                             Withdrawals and Deductions
Date      Description                                     Amount
 8/02     DRAFT       COASTAL HUMAN RE                83,550.11-
          CCD   GULF COAST ASPHALT COM
 8/07     RST TRAC I MASSACHUSETTS MU                   8,259.84-
          CCD   GCAC, LLC 401(K) PLAN
 8/15     DRAFT       COASTAL HUMAN RE                83,549.19-
          CCD   GULF COAST ASPHALT COM
 8/21     RST TRAC I MASSACHUSETTS MU                   8,259.84-
          CCD   GCAC, LLC 401(K) PLAN
 8/29     DRAFT       COASTAL HUMAN RE                83,549.19-
          CCD   GULF COAST ASPHALT COM




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000537
                                                                                                                                                    785
CaseCase 21-06006 Document
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                                                                                   786
   CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                                   Daily Balance Information
Date                        Balance Date                 Balance Date                                                                       Balance
 8/01                       623.82    8/15                   .00  8/29                                                                    8,450.81
 8/02                          .00    8/21                   .00
 8/07                          .00    8/27            92,000.00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000539
                                                                                                                                                         787
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8630                                   Statement Dates   9/04/18 thru 9/30/18
Previous Balance                8,450.81                                   Days this Statement Period           27
    3 Deposits/Credits        234,000.00                                   Average Ledger                23,696.40
    5 Checks/Debits           233,085.55                                   Average Collected             23,696.40
Service Charge                       .00
Interest Paid                        .00
Current Balance                 9,365.26


                                             Deposits and Additions
Date      Description                                                                             Amount
 9/10     Transfer Credit                                                                      92,000.00
 9/12     Transfer Credit                                                                      50,000.00
 9/26     Transfer Credit                                                                      92,000.00

                             Withdrawals and Deductions
Date      Description                                     Amount
 9/07     RST TRAC I MASSACHUSETTS MU                   8,259.84-
          CCD   GCAC, LLC 401(K) PLAN
 9/12     From DDA *8630,To DDA *6089                 50,000.00-
 9/14     DRAFT       COASTAL HUMAN RE                83,342.68-
          CCD   GULF COAST ASPHALT COM
 9/17     RST TRAC I MASSACHUSETTS MU                   8,259.84-
          CCD   GCAC, LLC 401(K) PLAN
 9/28     DRAFT       COASTAL HUMAN RE                83,223.19-
          CCD   GULF COAST ASPHALT COM

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                           Balance
 9/04                  8,450.81    9/12            92,190.97   9/26                                                                       92,588.45
 9/07                    190.97    9/14             8,848.29   9/28                                                                        9,365.26
 9/10                 92,190.97    9/17               588.45




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                                                                                                                       788
CaseCase 21-06006 Document
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                                                                                   789
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

  Effective Oct 2018, Earnings Credit Rate will be tiered based on balances.
  Eligible account balances above $250,000 and $1,000,000 may qualify for a
  premium Earnings Credit Rate.
  Tier 1 - $0.00 - $249,999.99
  Tier 2 - $250,000.00 - $999,999.99
  Tier 3 - $1,000,000.00 and greater

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number               *******8630                                   Statement Dates 10/01/18 thru 10/31/18
Previous Balance                9,365.26                                   Days this Statement Period          31
    8 Deposits/Credits        465,597.17                                   Average Ledger               22,667.08
    7 Checks/Debits           382,962.43                                   Average Collected            19,602.57
Service Charge                       .00
Interest Paid                        .00
Current Balance                92,000.00


                                             Deposits and Additions
Date      Description                                                                             Amount
10/09     Transfer Credit                                                                      60,000.00
10/10     Transfer Credit                                                                      22,547.76
10/17     Transfer Credit                                                                       6,029.01
10/24     Deposit                                                                              95,000.00
10/26     Transfer from DDA                                                                    84,039.18
          Acct No.                                 8681-D
10/29     Transfer from DDA                                                                  100,490.61
          Acct No.                                 8681-D
10/30     Transfer from DDA                                                                      5,490.61
          Acct No.                                 8681-D
10/31     Transfer Credit                                                                      92,000.00

                            Withdrawals and Deductions
Date      Description                                    Amount
10/02     RST TRAC I MASSACHUSETTS MU                  7,721.44-
          CCD   GCAC, LLC 401(K) PLAN




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000543
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CaseCase 21-06006 Document
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   CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                             Withdrawals and Deductions
Date      Description                                     Amount
10/10     DRAFT       COASTAL HUMAN RE                84,191.58-
          CCD   GULF COAST ASPHALT COM
10/24     RST TRAC I MASSACHUSETTS MU                   6,029.01-
          CCD   GCAC, LLC 401(K) PLAN
10/25     DRAFT       COASTAL HUMAN RE                84,039.18-
          CCD   GULF COAST ASPHALT COM
10/29     Chargeback                                  95,000.00-
10/29     RST TRAC I MASSACHUSETTS MU                   5,490.61-
          CCD   GCAC, LLC 401(K) PLAN
10/30     NSF XFER 2000248681                        100,490.61-

                               Daily Balance Information
Date                     Balance Date                Balance                                         Date                                    Balance
10/01                  9,365.26 10/17              6,029.01                                          10/29                                95,000.00
10/02                  1,643.82 10/24             95,000.00                                          10/30                                      .00
10/09                 61,643.82 10/25             10,960.82                                          10/31                                92,000.00
10/10                       .00 10/26             95,000.00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

  Effective Oct 2018, Earnings Credit Rate will be tiered based on balances.
  Eligible account balances above $250,000 and $1,000,000 may qualify for a
  premium Earnings Credit Rate.
  Tier 1 - $0.00 - $249,999.99
  Tier 2 - $250,000.00 - $999,999.99
  Tier 3 - $1,000,000.00 and greater

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number               *******8630                                   Statement Dates 11/01/18 thru 12/02/18
Previous Balance               92,000.00                                   Days this Statement Period          32
    1 Deposits/Credits         90,000.00                                   Average Ledger               41,001.29
    4 Checks/Debits           178,435.77                                   Average Collected            41,001.29
Service Charge                       .00
Interest Paid                        .00
Current Balance                 3,564.23


                                             Deposits and Additions
Date      Description                                                                             Amount
11/16     Transfer Credit                                                                      90,000.00

                             Withdrawals and Deductions
Date      Description                                     Amount
11/09     DRAFT       COASTAL HUMAN RE                84,657.74-
          CCD   GULF COAST ASPHALT COM
11/14     RST TRAC I MASSACHUSETTS MU                   4,605.93-
          CCD   GCAC, LLC 401(K) PLAN
11/21     DRAFT       COASTAL HUMAN RE                84,604.57-
          CCD   GULF COAST ASPHALT COM
11/27     RST TRAC I MASSACHUSETTS MU                   4,567.53-
          CCD   GCAC, LLC 401(K) PLAN

                               Daily Balance Information
Date                     Balance Date                Balance Date                                                                           Balance
11/01                 92,000.00 11/09              7,342.26 11/14                                                                         2,736.33




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 11/30/18                       Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8630
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8630               (Continued)

                               Daily Balance Information
Date                     Balance Date                Balance Date                                                                           Balance
11/16                 92,736.33 11/21              8,131.76 11/27                                                                         3,564.23




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
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CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 1/31/17                         Page    1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   1/01/17 thru 1/31/17
Previous Balance                  277.91                                   Days this Statement Period           31
    2 Deposits/Credits        344,286.15                                   Average Ledger                11,794.36
    2 Checks/Debits           344,286.15                                   Average Collected                688.35
Service Charge                       .00
Interest Paid                        .00
Current Balance                   277.91


                                             Deposits and Additions
Date      Description                                                                            Amount
 1/10     Lockbox Deposit                                                                    341,105.20
 1/25     Lockbox Deposit                                                                      3,180.95

                             Withdrawals and Deductions
Date      Description                                     Amount
 1/11     PAYMENTS    RIO ENERGY INT'L               341,105.20-
          CCD   Gulf Coast Asphalt Com
 1/30     PAYMENTS    RIO ENERGY INT'L                  3,180.95-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 1/01                   277.91    1/11               277.91   1/30                                                                        277.91
 1/10               341,383.11    1/25             3,458.86




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000593
                                                                                                                                                    828
CaseCase 21-06006 Document
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                                                                    Debtor000594
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 2/28/17                         Page    1
                             AKE BLHMHLGLFLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HMODMOILCMLFKOJK
                             ADOENNC HCBFE OGJK   LOCKBOX ACCOUNT
                             A BONLHLKELILLNOKK
                             DLDLLLDLLDLLDLDLDL   1990 POST OAK BLVD SUITE 2400
                             004045               HOUSTON TX 77056



AKE BLHMHLGLFLHMHK
A HMODMOILCMLFKOJK
ADOENNC HCBFE OGJK
A BONLHLKELILLNOKK
DLDLLLDLLDLLDLDLDL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number                *******8673                                                     Statement Dates   2/01/17 thru 2/28/17
                     Previous Balance                   277.91                                                     Days this Statement Period           28
                         6 Deposits/Credits       2,141,304.77                                                     Average Ledger               279,129.80
                         4 Checks/Debits          1,942,007.57                                                     Average Collected            254,813.85
                     Service Charge                        .00
                     Interest Paid                         .00
                     Current Balance                199,575.11


                                                                     Deposits and Additions
                     Date                         Description                                     Amount
                      2/06                        Lockbox Deposit                              73,645.00
                      2/13                        Lockbox Deposit                             196,422.80
                      2/14                        Lockbox Deposit                              93,002.80
                      2/17                        Wire Transfer Credit                      1,460,458.22
                                                  COLAS SA
                                                  7 PL RENE CLAIR
                                                  92100 BOULOGNE BILLANCOURT
                                                  CREDIT LYONNAIS
                                                  19 BOULEVARD DES ITALIENS
                                                  PARIS FRANCE 92583
                                                  PAYMENT INVOICE 14116 14117
                                                  BITUMENFREIGHT POUR COLAS
                                                  MARTINIQUE ET SOGETRA
                                                  20170217B1QGC01C000771
                                                  20170217MMQFMP9H000065
                                                  02170800FT03
                      2/21                        Lockbox Deposit                             118,478.75
                      2/27                        Lockbox Deposit                             199,297.20

                                                                     Withdrawals and Deductions
                     Date                         Description                                    Amount
                      2/08                        PAYMENTS    RIO ENERGY INT'L                73,645.00-
                                                  CCD   Gulf Coast Asphalt Com




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            002377

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                                                                        STATEMENT OF ACCOUNT




                                                                                                                        Date 2/28/17                         Page    2
                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                               LOCKBOX ACCOUNT
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLGLFLHMHK
A HMODMOILCNKFM JK   COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)
ADOENOIHEAGFHDGMLK
AMCOJM DKNLMHJ KK
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                                                  Withdrawals and Deductions
                     Date      Description                                    Amount
                      2/17     PAYMENTS    RIO ENERGY INT'L               289,425.60-
                               CCD   Gulf Coast Asphalt Com
                      2/21     PAYMENTS    RIO ENERGY INT'L             1,460,458.22-
                               CCD   Gulf Coast Asphalt Com
                      2/24     PAYMENTS    RIO ENERGY INT'L               118,478.75-
                               CCD   Gulf Coast Asphalt Com

                                                     Daily Balance Information
                     Date                     Balance Date                 Balance Date                                                                        Balance
                      2/01                    277.91    2/13           196,700.71   2/21                                                                   118,756.66
                      2/06                 73,922.91    2/14           289,703.51   2/24                                                                       277.91
                      2/08                    277.91    2/17         1,460,736.13   2/27                                                                   199,575.11




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 3/31/17                         Page    1
                             AIF BLHMHLG FLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HMOA MJJHLJDI JK
                             ADOEKJHGKLAILNGOJK   LOCKBOX ACCOUNT
                             AMLODFGLMEHG EJMKK
                             DLLLLLDLLDLLDDDLLL   1990 POST OAK BLVD SUITE 2400
                             002363               HOUSTON TX 77056



AIF BLHMHLG FLHMHK
A HMOA MJJHLJDI JK
ADOEKJHGKLAILNGOJK
AMLODFGLMEHG EJMKK
DLLLLLDLLDLLDDDLLL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8673                                                      Statement Dates   3/01/17 thru 4/02/17
                     Previous Balance              199,575.11                                                      Days this Statement Period           33
                         5 Deposits/Credits        481,553.62                                                      Average Ledger                50,866.34
                         6 Checks/Debits           528,682.82                                                      Average Collected             41,172.58
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance               152,445.91


                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      3/06                        Lockbox Deposit                                                                     69,598.50
                      3/13                        Lockbox Deposit                                                                     52,177.65
                      3/21                        Lockbox Deposit                                                                     45,950.15
                      3/24                        Wire Transfer Credit                                                               161,659.32
                                                  RIO ENERGY INTERNATIONAL, INC.
                                                  5718 WESTHEIMER
                                                  SUITE 1806
                                                  HOUSTON TX 77057-5780 //US
                                                  BNP PARIBAS U.S.A - NEW YORK B
                                                  NEW YORK,NY
                                                  UNITED STATES OF AMERICA
                                                  INV. 14171 - IC
                                                  20170324B1Q8201C002516
                                                  20170324MMQFMP9H000626
                                                  03241442FT03
                      3/29                        Remote DDA Deposit                                                                 152,168.00

                                                                     Withdrawals and Deductions
                     Date                         Description                                    Amount
                      3/02                        PAYMENTS    RIO ENERGY INT'L               199,297.20-
                                                  CCD   Gulf Coast Asphalt Com
                      3/08                        PAYMENTS    RIO ENERGY INT'L                69,598.50-
                                                  CCD   Gulf Coast Asphalt Com




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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                                                                        STATEMENT OF ACCOUNT




                                                                                                                        Date 3/31/17                         Page    2
                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                               LOCKBOX ACCOUNT
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AIFLF HMHLG FLHMHK
A HMOA MJJHKJHO JK   COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)
ADOELK BKODMKJLA K
A NMFHDNID ABLEOIK
DDLLLLDLLLLLDDDLLL
                                                  Withdrawals and Deductions
                     Date      Description                                    Amount
                      3/16     PAYMENTS    RIO ENERGY INT'L                52,177.65-
                               CCD   Gulf Coast Asphalt Com
                      3/24     From DDA *8673,To DDA *8665,In              16,659.32-
                               v 14171
                      3/24     From DDA *8673,To DDA *8665,In             145,000.00-
                               v 14171
                      3/30     PAYMENTS    RIO ENERGY INT'L                45,950.15-
                               CCD   Gulf Coast Asphalt Com

                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                         Balance
                      3/01               199,575.11    3/13            52,455.56   3/29                                                                    198,396.06
                      3/02                   277.91    3/16               277.91   3/30                                                                    152,445.91
                      3/06                69,876.41    3/21            46,228.06
                      3/08                   277.91    3/24            46,228.06




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              008163

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                     See the funds availability policy disclosure for information about when you can                  to the appropriateness or effect of the ownership and beneficiary designations, except
                     withdraw funds you deposit. For those accounts to which our funds availability policy            as they determine to whom we pay the account funds.
                     disclosure does not apply, you can ask us when you make a deposit when those                     Individual Account - is an account in the name of one person.
                     funds will be available for withdrawal. An item may be returned after the funds from
                                                                                                                      Joint Account - This is an account in the names of two or more persons. Any one of
                     the deposit of that item are made available for withdrawal. In that case, we will
                                                                                                                      such persons, acting alone, has complete access to the account. Upon the death of
                     reverse the credit of the item. We may determine the amount of available funds in
                                                                                                                      any party to such account, we are permitted to pay the account balance to the
                     your account for the purpose of deciding whether to return an item for insufficient
                                                                                                                      surviving parties, but this authority protects us only. The surviving joint parties may be
                     funds at any time between the time we receive the item and when we return the item
                                                                                                                      liable to the heirs, legatees, or creditors of the deceased party to the extent the funds
                     or send a notice in lieu of return. We need only make one determination, but if we
                                                                                                                      withdrawn by the survivors were owed to the deceased. If any party to a joint account
                     choose to make a subsequent determination, the account balance at the subsequent
                                                                                                                      sends notice to us to prevent withdrawals from the account by another party or
                     time will determine whether there are insufficient available funds.
                                                                                                                      parties, we may require the party to withdraw the balance and close the account or
                     A temporary debit authorization hold affects your account balance - On debit                     we may refuse to allow any further withdrawals from the account except upon the
                     card purchases, merchants may request a temporary hold on your account for a                     written consent of all parties to it. The remedy we choose is entirely at our discretion.
                     specified sum of money, which may be more than the actual amount of your
                                                                                                                      Revocable Trust or Pay-on-Death Account - If two or more of you create such an
                     purchase. When this happens, our processing system cannot determine that the
                                                                                                                      account, you own the account jointly and the respective interests of each of you shall
                     amount of the hold exceeds the actual amount of your purchase. This temporary hold,
                                                                                                                      be deemed equal, unless otherwise stated in our account records. Beneficiaries
                     and the amount charged to your account, will eventually be adjusted to the actual
                                                                                                                      acquire the right to withdraw only if: (1) all persons creating the account die, and (2)
                     amount of your purchase, but it may be up to three days before the adjustment is
                                                                                                                      the beneficiary is then living. If two or more beneficiaries are named and survive the
                     made. Until the adjustment is made, the amount of funds in your account available for
                                                                                                                      death of all persons creating the account, such beneficiaries will own this account in
                     other transactions will be reduced by the amount of the temporary hold. If another
                                                                                                                      equal shares, unless otherwise stated in our account records. The person(s) creating
                     transaction is presented for payment in an amount greater than the funds left after the
                                                                                                                      either of these account types reserves the right to: (1) change beneficiaries, (2)
                     deduction of the temporary hold amount, that transaction will be a nonsufficient funds
                                                                                                                      change account types, and (3) withdraw all or part of the account funds at any time.
                     (NSF) transaction if we do not pay it or an overdraft transaction if we do pay it. You
                     will be charged an NSF or overdraft fee according to our NSF or overdraft fee policy.            In Alabama, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
                     You will be charged the fee even if you would have had sufficient funds in your                  These rules apply to this account depending on the form of ownership and beneficiary
                     account if the amount of the hold had been equal to the amount of your purchase.                 designation, if any, specified on the account records. We make no representations as
                                                                                                                      to the appropriateness or effect of the ownership and beneficiary designations, except
                     Here is an example of how this can occur – assume for this example the following: (1)
AIFLFLHMHLG FLHMHK                                                                                                    as they determine to whom we pay the account funds.
A HMOA MJJHKJALNJK   you have opted-in to our overdraft services for the payment of overdrafts on ATM and
ADOELLFGIJFAFNMANK   everyday debit card transactions, (2) we pay the overdraft, and (3) our overdraft fee is         Single-Party Account - Such an account is owned by one party.
ANAMBDFNCAEEBJFOIK
DDDLLLDLLLLLDDDLLL   $35 per overdraft, but we do not charge the overdraft fee if the transaction overdraws           Multiple-Party Account - Parties own account during the lifetime of all parties in
                     the account by less than $10.                                                                    proportion to their net contributions, unless there is clear and convincing evidence of
                     You have $120 in your account. You swipe your card at the card reader on a gasoline              a different intent.
                     pump. Since it is unclear what the final bill will be, the gas station’s processing              In Alabama, RIGHTS AT DEATH - Single-Party Account - At the death of a party,
                     system immediately requests a hold on your account in a specified amount, for                    ownership passes as part of the party’s estate.
                     example, $80. Our processing system authorizes a temporary hold on your account in               Multiple-Party Account With Right of Survivorship - At death of party, ownership
                     the amount of $80, and the gas station’s processing system authorizes you to begin               passes to surviving parties. If two or more parties survive and one is the surviving
                     pumping gas. You fill your tank and the amount of gasoline you purchased is only                 spouse of the deceased party, the amount to which the deceased party, immediately
                     $50. Our processing system shows that you have $40 in your account available for                 before death, was beneficially entitled by law belongs to the surviving spouse. If two
                     other transactions ($120 - $80 = $40) even though you would have $70 in your                     or more parties survive and none is the spouse of the decedent, the amount to which
                     account available for other transactions if the amount of the temporary hold was                 the deceased party, immediately before death, was beneficially entitled by law
                     equal to the amount of your purchase ($120 - $50 = $70). Later, another transaction              belongs to the surviving parties in equal shares, and augments the proportion to
                     you have authorized is presented for payment from your account in the amount of                  which each surviving party, immediately before the deceased party’s death, was
                     $60 (this could be a check you have written, another debit card transaction, an ACH              beneficially entitled under law, and the right of survivorship continues between the
                     debit or any other kind of payment request). This other transaction is presented                 surviving parties.
                     before the amount of the temporary hold is adjusted to the amount of your purchase
                                                                                                                      Multiple-Party Account Without Right of Survivorship - At death of party,
                     (remember, it may take up to three days for the adjustment to be made). Because the
                                                                                                                      deceased party’s ownership passes as part of deceased party’s estate.
                     amount of this other transaction is greater than the amount our processing system
                     shows is available in your account, our payment of this transaction will result in an            Single-Party Account With Pay-on-Death Designation - At death of the party,
                     overdraft transaction. Because the transaction overdraws your account by $20, your               ownership passes to the designated pay-on-death beneficiaries and is not part of the
                     account will be assessed the overdraft fee of $35 according to our overdraft fee                 party’s estate.
                     policy. You will be charged this $35 fee according to our policy even though you                 Multiple-Party Account With Right of Survivorship and Pay-on-Death
                     would have had enough money in your account to cover the $60 transaction if your                 Designation - At death of last surviving party, ownership passes to the designated
                     account had only been debited the amount of your purchase rather than the amount                 pay-on-death beneficiaries and is not part of the last surviving party’s estate.
                     of the temporary hold or if the temporary hold had already been adjusted to the actual           In Arkansas, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
                     amount of your purchase.                                                                         These rules apply to this account depending on the form of ownership and beneficiary
                     Overdrafts - You understand that we may, at our discretion, honor withdrawal                     designation, if any, specified on the account records. We make no representations as
                     requests that overdraw your account. However, the fact that we may honor                         to the appropriateness or effect of the ownership and beneficiary designations, except
                     withdrawal requests that overdraw the account balance does not obligate us to do so              as they determine to whom we pay the account funds.
                     later. So you can NOT rely on us to pay overdrafts on your account regardless of how             Individual Account - is an account in the name of one person.
                     frequently or under what circumstances we have paid overdrafts on your account in
                                                                                                                      Joint Account - With Survivorship (And Not As Tenants In Common) - is an
                     the past. We can change our practice of paying overdrafts on your account without
                                                                                                                      account in the name of two or more persons. Each of you intend that when you die
                     notice to you. You can ask us if we have other account services that might be
                                                                                                                      the balance in the account (subject to any previous pledge to which we have agreed)
                     available to you where we commit to paying overdrafts under certain circumstances,
                                                                                                                      will belong to the survivor(s). If two or more of you survive, you will own the balance
                     such as an overdraft protection line-of-credit or a plan to sweep funds from another
                                                                                                                      in the account as joint tenants with survivorship and not as tenants in common.
                     account you have with us. You agree that we may charge fees for overdrafts. For
                     consumer accounts, we will not charge fees for overdrafts caused by ATM                          Joint Account - No Survivorship (As Tenants In Common) - is owned by two or
                     withdrawals or one-time debit card transactions if you have not opted-in to that                 more persons, but none of you intend (merely by opening this account) to create any
                     service. We may use subsequent deposits, including direct deposits of social security            right of survivorship in any other person. We encourage you to agree and tell us in
                     or other government benefits, to cover such overdrafts and overdraft fees.                       writing of the percentage of the deposit contributed by each of you. This information
                                                                                                                      will not, however, affect the “number of signatures” necessary for withdrawal.
                     Multiple signatures, electronic check conversion, and similar transactions - An
                     electronic check conversion transaction is a transaction where a check or similar item           Pay-On-Death Account - If two or more of you create such an account, you own the
                     is converted into an electronic fund transfer as defined in the Electronic Fund                  account jointly with survivorship. Beneficiaries cannot withdraw unless: (1) all persons
                     Transfers regulation. In these types of transactions the check or similar item is either         creating the account die, and (2) the beneficiary is then living. If two or more
                     removed from circulation (truncated) or given back to you. As a result, we have no               beneficiaries are named and survive the death of all persons creating the account,
                     opportunity to review the check to examine the signatures on the item. You agree                 such beneficiaries will own this account in equal shares, with right of survivorship.
                     that, as to these or any items as to which we have no opportunity to examine the                 The person(s) creating this account type reserves the right to: (1) change
                     signatures, you waive any requirement of multiple signatures.                                    beneficiaries, (2) change account types, and (3) withdraw all or part of the account
                                                                                                                      funds at any time.
                     Notice of withdrawal - We reserve the right to require not less than 7 days’ notice in
                     writing before each withdrawal from an interest-bearing account other than a time                In Florida, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -
                     deposit or demand deposit, or from any other savings account as defined by                       These rules apply to this account depending on the form of ownership and beneficiary
                     Regulation D. (The law requires us to reserve this right, but it is not our general policy       designation, if any, specified on the account records. We make no representations as
                     to use it.) Withdrawals from a time account prior to maturity or prior to any notice             to the appropriateness or effect of the ownership and beneficiary designations, except
                     period may be restricted and may be subject to penalty. See your notice of penalty for           as they determine to whom we pay the account funds.
                     early withdrawal.                                                                                Single-Party Account - Such an account is owned by one party.
                     In Louisiana, OWNERSHIP OF ACCOUNT AND BENEFICIARY DESIGNATION -                                 Multiple-Party Account - Such an account is payable on request to one or more of
                     These rules apply to this account depending on the form of ownership and beneficiary             two or more parties, whether or not a right of survivorship is mentioned.
                     designation, if any, specified on the account records. We make no representations as



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                     Multiple-Party Account - Tenancy by the Entireties - The account is owned by two               BUSINESS, ORGANIZATION AND ASSOCIATION ACCOUNTS - Earnings in the
                     parties who are married to each other and hold the account as tenants by the entirety.         form of interest, dividends, or credits will be paid only on collected funds, unless
                     In Florida, RIGHTS AT DEATH - Single-Party Account - At the death of a party,                  otherwise provided by law or our policy. You represent that you have the authority to
                     ownership passes as part of the party’s estate.                                                open and conduct business on this account on behalf of the entity. We may require
                                                                                                                    the governing body of the entity opening the account to give us a separate
                     Multiple-Party Account With Right of Survivorship - At death of party, ownership
                                                                                                                    authorization telling us who is authorized to act on its behalf. We will honor the
                     passes to the surviving party or parties.
                                                                                                                    authorization until we actually receive written notice of a change from the governing
                     Multiple-Party Account Without Right of Survivorship - At death of party,                      body of the entity.
                     deceased party’s ownership passes as part of deceased party’s estate.
                                                                                                                    In Louisiana, Alabama, Georgia, and Tennessee, STOP PAYMENTS - Unless
                     Single-Party Account With Pay-on-Death Designation - At death of the party,                    otherwise provided, the rules in this section cover stopping payment of items such as
                     ownership passes to the designated pay-on-death beneficiaries and is not part of the           checks and drafts. Rules for stopping payment of other types of transfers of funds,
                     party’s estate.                                                                                such as consumer electronic fund transfers, may be established by law or our policy.
                     Multiple-Party Account With Right of Survivorship and Pay-on-Death                             If we have not disclosed these rules to you elsewhere, you may ask us about those
                     Designation - At death of last surviving party, ownership passes to the designated             rules.
                     pay-on-death beneficiaries and is not part of the last surviving party’s estate.               We may accept an order to stop payment on any item from any one of you. You must
                     In Georgia and Tennessee, OWNERSHIP OF ACCOUNT AND BENEFICIARY                                 make any stop-payment order in the manner required by law and we must receive it
                     DESIGNATION - These rules apply to this account depending on the form of                       in time to give us a reasonable opportunity to act on it before our stop-payment cutoff
                     ownership and beneficiary designation, if any, specified on the account records. We            time. Because stop-payment orders are handled by computers, to be effective, your
                     make no representations as to the appropriateness or effect of the ownership and               stop-payment order must precisely identify the number, date, and amount of the item,
                     beneficiary designations, except as they determine to whom we pay the account                  and the payee. You may stop payment on any item drawn on your account whether
                     funds.                                                                                         you sign the item or not. Generally, if your stop-payment order is given to us in writing
                     Individual Account - is an account in the name of one person.                                  it is effective for six months. Your order will lapse after that time if you do not renew
                                                                                                                    the order in writing before the end of the six-month period. If the original stop-
                     Joint Account - With Survivorship (And Not As Tenants In Common) - is an
                                                                                                                    payment order was oral your stop-payment order will lapse after 14 calendar days if
                     account in the name of two or more persons. Each of you intend that when you die
                                                                                                                    you do not confirm your order in writing within that time period. We are not obligated
                     the balance in the account (subject to any previous pledge to which we have agreed)
                                                                                                                    to notify you when a stop-payment order expires. A release of the stop-payment
                     will belong to the survivor(s). If two or more of you survive, you will own the balance
                                                                                                                    request may be made only by the person who initiated the stop-payment order.
AIFLFLHMHLG FLHMHK   in the account as joint tenants with survivorship and not as tenants in common.
A HMOA MJJHKJALNJK                                                                                                  If you stop payment on an item and we incur any damages or expenses because of
ADOELLFGIJFAFNMANK   Joint Account - No Survivorship (As Tenants In Common) - is owned by two or
ANAMBDFNCAEEBJFOIK                                                                                                  the stop payment, you agree to indemnify us for those damages or expenses,
                     more persons, but none of you intend (merely by opening this account) to create any
DDDLLLDLLLLLDDDLLL                                                                                                  including attorneys’ fees. You assign to us all rights against the payee or any other
                     right of survivorship in any other person. We encourage you to agree and tell us in
                                                                                                                    holder of the item. You agree to cooperate with us in any legal actions that we may
                     writing of the percentage of the deposit contributed by each of you. This information
                                                                                                                    take against such persons. You should be aware that anyone holding the item may
                     will not, however, affect the “number of signatures” necessary for withdrawal.
                                                                                                                    be entitled to enforce payment against you despite the stop-payment order.
                     Revocable Trust or Pay-On-Death Account - If two or more of you create this type
                                                                                                                    Our stop-payment cutoff time is one hour after the opening of the next banking day
                     of account, you own the account jointly with survivorship. Beneficiaries cannot
                                                                                                                    after the banking day on which we receive the item. Additional limitations on our
                     withdraw unless: (1) all persons creating the account die, and (2) the beneficiary is
                                                                                                                    obligation to stop payment are provided by law (e.g., we paid the item in cash or we
                     then living. If two or more beneficiaries are named and survive the death of all
                                                                                                                    certified the item).
                     persons creating the account, beneficiaries will own this account in equal shares,
                     without right of survivorship. The person(s) creating either of these account types            In Florida, STOP PAYMENTS - Unless otherwise provided, the rules in this section
                     may: (1) change beneficiaries, (2) change account types, and (3) withdraw all or part          cover stopping payment of items such as checks and drafts. Rules for stopping
                     of the account funds at any time.                                                              payment of other types of transfers of funds, such as consumer electronic fund
                                                                                                                    transfers, may be established by law or our policy. If we have not disclosed these
                     In Texas, UNIFORM SINGLE-PARTY OR MULTIPLE-PARTY ACCOUNT
                                                                                                                    rules to you elsewhere, you may ask us about those rules.
                     SELECTION FORM NOTICE - The type of account you select may determine how
                     property passes on your death. Your will may not control the disposition of funds held         We may accept an order to stop payment on any item from any one of you. You must
                     in some of the following accounts. You may choose to designate one or more                     make any stop-payment order in the manner required by law, it must be made in a
                     convenience signers on an account, even if the account is not a convenience                    signed and dated writing, and we must receive it in time to give us a reasonable
                     account. A designated convenience signer may make transactions on your behalf                  opportunity to act on it before our stop-payment cutoff time. Because stop-payment
                     during your lifetime, but does not own the account during your lifetime. The                   orders are handled by computers, to be effective, your stop-payment order must
                     designated convenience signer owns the account on your death only if the                       precisely identify the number, date, and amount of the item, and the payee.
                     convenience signer is also designated as a P.O.D. payee or trust account beneficiary.          You may stop payment on any item drawn on your account whether you sign the item
                     Single-Party Account Without “P.O.D.” (Payable on Death) Designation - The                     or not. Your stop-payment order is effective for six months. Your order will lapse after
                     party to the account owns the account. On the death of the party, ownership of the             that time if you do not renew the order in writing before the end of the six-month
                     account passes as a part of the party’s estate under the party’s will or by intestacy.         period. We are not obligated to notify you when a stop-payment order expires. A
                                                                                                                    release of the stop-payment request may be made only by the person who initiated
                     Single-Party Account With “P.O.D.” (Payable on Death) Designation - The party
                                                                                                                    the stop-payment order.
                     to the account owns the account. On the death of the party, ownership of the account
                     passes to the P.O.D. beneficiaries of the account. The account is not a part of the            If you stop payment on an item and we incur any damages or expenses because of
                     party’s estate.                                                                                the stop payment, you agree to indemnify us for those damages or expenses,
                                                                                                                    including attorneys’ fees. You assign to us all rights against the payee or any other
                     Multiple-Party Account Without Right of Survivorship - The parties to the account
                                                                                                                    holder of the item. You agree to cooperate with us in any legal actions that we may
                     own the account in proportion to the parties’ net contributions to the account. The
                                                                                                                    take against such persons. You should be aware that anyone holding the item may
                     financial institution may pay any sum in the account to a party at any time. On the
                                                                                                                    be entitled to enforce payment against you despite the stop-payment order.
                     death of a party, the party’s ownership of the account passes as a part of the party’s
                     estate under the party’s will or by intestacy.                                                 Our stop-payment cutoff time is one hour after the opening of the next banking day
                                                                                                                    after the banking day on which we receive the item. Additional limitations on our
                     Multiple-Party Account With Right of Survivorship - The parties to the account
                                                                                                                    obligation to stop payment are provided by law (e.g., we paid the item in cash or we
                     own the account in proportion to the parties’ net contributions to the account. The
                                                                                                                    certified the item).
                     financial institution may pay any sum in the account to a party at any time. On the
                     death of a party, the party’s ownership of the account passes to the surviving parties.        In Arkansas, STOP PAYMENTS - Unless otherwise provided, the rules in this
                                                                                                                    section cover stopping payment of items such as checks and drafts. Rules for
                     Multiple-Party Account With Right of Survivorship and “P.O.D.” (Payable on
                                                                                                                    stopping payment of other types of transfers of funds, such as consumer electronic
                     Death) Designation - The parties to the account own the account in proportion to the
                                                                                                                    fund transfers, may be established by law or our policy. If we have not disclosed
                     parties’ net contributions to the account. The financial institution may pay any sum in
                                                                                                                    these rules to you elsewhere, you may ask us about those rules.
                     the account to a party at any time. On the death of the last surviving party, the
                     ownership of the account passes to the P.O.D. beneficiaries.                                   We may accept an order to stop payment on any item from any one of you. You must
                                                                                                                    make any stop-payment order in the manner required by law and we must receive it
                     Convenience Account - The parties to the account own the account. One or more
                                                                                                                    in time to give us a reasonable opportunity to act on it before our stop-payment cutoff
                     convenience signers to the account may make account transactions for a party. A
                                                                                                                    time. Because stop-payment orders are handled by computers, to be effective, your
                     convenience signer does not own the account. On the death of the last surviving
                                                                                                                    stop-payment order must precisely identify the number, date, and amount of the item,
                     party, ownership of the account passes as a part of the last surviving party's estate
                                                                                                                    and the payee. You may stop payment on any item drawn on your account whether
                     under the last surviving party's will or by intestacy. The financial institution may pay
                                                                                                                    you sign the item or not. Your stop payment order is effective for six months if it is
                     funds in the account to a convenience signer before the financial institution receives
                                                                                                                    given to us in writing or by another type of record (Generally, a “record” is information
                     notice of the death of the last surviving party. The payment to a convenience signer
                                                                                                                    that is stored in such a way that it can be retrieved and can be heard or read and
                     does not affect the parties' ownership of the account.
                                                                                                                    understood – you can ask us what type of stop payment records you can give us).
                     Trust Account - The parties named as trustees to the account own the account in                Your order will lapse after that time if you do not renew the order in writing before the
                     proportion to the parties’ net contributions to the account. A trustee may withdraw            end of the six-month period. If the original stop-payment order was oral your stop-
                     funds from the account. A beneficiary may not withdraw funds from the account                  payment order will lapse after 14 calendar days if it is not confirmed in writing or by
                     before all trustees are deceased. On the death of the last surviving trustee, the              another type of record within that time period. We are not obligated to notify you when
                     ownership of the account passes to the beneficiary. The trust account is not a part of         a stop-payment order expires. A release of the stop-payment request may be made
                     a trustee’s estate and does not pass under the trustee’s will or by intestacy, unless          only by the person who initiated the stop-payment order.
                     the trustee survives all of the beneficiaries and all other trustees.



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                     If you stop payment on an item and we incur any damages or expenses because of                 available, you cannot assert a claim against us on any items in that statement, and as
                     the stop payment, you agree to indemnify us for those damages or expenses,                     between you and us the loss will be entirely yours. This 60-day limitation is without
                     including attorneys’ fees. You assign to us all rights against the payee or any other          regard to whether we used ordinary care. The limitation in this paragraph is in
                     holder of the item. You agree to cooperate with us in any legal actions that we may            addition to that contained in the first paragraph of this section.
                     take against such persons. You should be aware that anyone holding the item may                Your duty to report other errors - In addition to your duty to review your statements
                     be entitled to enforce payment against you despite the stop-payment order.                     for unauthorized signatures, alterations and forgeries, you agree to examine your
                     Our stop-payment cutoff time is one hour after the opening of the next banking day             statement with reasonable promptness for any other error - such as an encoding
                     after the banking day on which we receive the item. Additional limitations on our              error. In addition, if you receive or we make available either your items or images of
                     obligation to stop payment are provided by law (e.g., we paid the item in cash or we           your items, you must examine them for any unauthorized or missing indorsements or
                     certified the item).                                                                           any other problems. You agree that the time you have to examine your statement and
                     In Texas, STOP PAYMENTS - Unless otherwise provided, the rules in this section                 items and report to us will depend on the circumstances. However, this time period
                     cover stopping payment of items such as checks and drafts. Rules for stopping                  shall not exceed 60 days. Failure to examine your statement and items and report
                     payment of other types of transfers of funds, such as consumer electronic fund                 any errors to us within 60 days of when we first send or make the statement available
                     transfers, may be established by law or our policy. If we have not disclosed these             precludes you from asserting a claim against us for any errors on items identified in
                     rules to you elsewhere, you may ask us about those rules.                                      that statement and as between you and us the loss will be entirely yours.
                     We may accept an order to stop payment on any item from any one of you. You must               Errors relating to electronic fund transfers or substitute checks (For consumer
                     make any stop-payment order in the manner required by law; it must be made in a                accounts only) - For information on errors relating to electronic fund transfers (e.g.,
                     dated, authenticated record that describes the item with certainty. (Generally, a              computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
                     “record” is information that is stored in such a way that it can be retrieved and can be       disclosure and the sections on consumer liability and error resolution. For information
                     heard or read and understood – you can ask us what type of stop payment records                on errors relating to a substitute check you received, refer to your disclosure entitled
                     you can give us). We must receive it in time to give us a reasonable opportunity to act        Substitute Checks and Your Rights.
                     on it before our stop-payment cutoff time. Because stop-payment orders are handled             In Tennessee, STATEMENTS - Your duty to report unauthorized signatures,
                     by computers, to be effective, your stop-payment order must precisely identify the             alterations, forgeries and other errors - You must examine your statement of
                     number, date, and amount of the item, and the payee.                                           account with “reasonable promptness.” In addition, if you receive or we make
                     You may stop payment on any item drawn on your account whether you sign the item               available either your items or images of your items, you must examine them for any
                     or not. Your stop-payment order is effective for six months. Your order will lapse after       unauthorized or missing indorsements or any other problems. If you discover (or
AIFLB HMHLG FLHMHK   that time if you do not renew the order in writing before the end of the six-month             reasonably should have discovered) any unauthorized signatures, alterations,
A HMOA MJJHKIBIOJK
                     period. We are not obligated to notify you when a stop-payment order expires. A                incorrect payment amounts, or missing or incorrectly credited deposits, you must
ADOEKK DILHB CKKLK
AOLADCDKKOMALKIOKK   release of the stop-payment request may be made only by the person who initiated               promptly notify us of the relevant facts. As between you and us, if you fail to do either
DLLLLLDLDLDLDDDLLL
                     the stop-payment order.                                                                        of these duties, you will have to bear the loss yourself unless you prove that we did
                                                                                                                    not pay the item in good faith. The loss could be not only with respect to items on the
                     If you stop payment on an item and we incur any damages or expenses because of
                                                                                                                    statement but other items with unauthorized signatures or alterations by the same
                     the stop payment, you agree to indemnify us for those damages or expenses,
                                                                                                                    wrongdoer.
                     including attorneys’ fees. You assign to us all rights against the payee or any other
                     holder of the item. You agree to cooperate with us in any legal actions that we may            You agree that the time you have to examine your statement and items and report to
                     take against such persons. You should be aware that anyone holding the item may                us will depend on the circumstances, but will not, in any circumstance, exceed a total
                     be entitled to enforce payment against you despite the stop-payment order.                     of 30 days from when the statement is first sent or made available to you.
                     Our stop-payment cutoff time is one hour after the opening of the next banking day             You further agree that if you fail to report any unauthorized signatures, alterations,
                     after the banking day on which we receive the item. Additional limitations on our              forgeries, incorrect payment amounts, missing or incorrectly credited deposits, or any
                     obligation to stop payment are provided by law (e.g., we paid the item in cash or we           other errors in your account within 60 days of when we first send or make the
                     certified the item).                                                                           statement available, you cannot assert a claim against us on any items in that
                                                                                                                    statement, and as between you and us the loss will be entirely yours. This 60-day
                     TELEPHONE TRANSFERS - A telephone transfer of funds from this account to
                                                                                                                    limitation is without regard to whether we used good faith. The limitation in this
                     another account with us, if otherwise arranged for or permitted, may be made by the
                                                                                                                    paragraph is in addition to that contained in the first paragraph of this section.
                     same persons and under the same conditions generally applicable to withdrawals
                     made in writing. Unless a different limitation is disclosed in writing, we restrict the        Errors relating to electronic fund transfers or substitute checks (For consumer
                     number of transfers from a savings account to another account or to third parties, to a        accounts only) - For information on errors relating to electronic fund transfers (e.g.,
                     maximum of six per month (less the number of “preauthorized transfers” during the              computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
                     month). Other account transfer restrictions may be described elsewhere.                        disclosure and the sections on consumer liability and error resolution. For information
                                                                                                                    on errors relating to a substitute check you received, refer to your disclosure entitled
                     AMENDMENTS AND TERMINATION - We may change any term of this agreement.
                                                                                                                    Substitute Checks and Your Rights.
                     Rules governing changes in interest rates are provided separately in the Truth-in-
                     Savings disclosure or in another document. For other changes, we will give you                 In Texas, STATEMENTS - Your duty to report unauthorized signatures,
                     reasonable notice in writing or by any other method permitted by law. We may also              alterations and forgeries - You must examine your statement of account with
                     close this account at any time upon reasonable notice to you and tender of the                 “reasonable promptness.” If you discover (or reasonably should have discovered) any
                     account balance personally or by mail. Items presented for payment after the account           unauthorized signatures or alterations, you must promptly notify us of the relevant
                     is closed may be dishonored. When you close your account, you are responsible for              facts. As between you and us, if you fail to do either of these duties, you will have to
                     leaving enough money in the account to cover any outstanding items to be paid from             either share the loss with us, or bear the loss entirely yourself (depending on whether
                     the account. Reasonable notice depends on the circumstances, and in some cases                 we used ordinary care and, if not, whether we contributed to the loss). The loss could
                     such as when we cannot verify your identity or we suspect fraud, it might be                   be not only with respect to items on the statement but other items with unauthorized
                     reasonable for us to give you notice after the change or account closure becomes               signatures or alterations by the same wrongdoer.
                     effective. For instance, if we suspect fraudulent activity with respect to your account,       You agree that the time you have to examine your statement and report to us will
                     we might immediately freeze or close your account and then give you notice. If we              depend on the circumstances, but will not, in any circumstance, exceed a total of 30
                     have notified you of a change in any term of your account and you continue to have             days from when the statement is first sent or made available to you.
                     your account after the effective date of the change, you have agreed to the new                You further agree that if you fail to report any unauthorized signatures, alterations or
                     term(s).                                                                                       forgeries in your account within 60 days of when we first send or make the statement
                     NOTICES - Any written notice you give us is effective when we actually receive it,             available, you cannot assert a claim against us on any items in that statement, and as
                     and it must be given to us according to the specific delivery instructions provided            between you and us the loss will be entirely yours. This 60-day limitation is without
                     elsewhere, if any. We must receive it in time to have a reasonable opportunity to act          regard to whether we used ordinary care. The limitation in this paragraph is in
                     on it. If the notice is regarding a check or other item, you must give us sufficient           addition to that contained in the first paragraph of this section.
                     information to be able to identify the check or item, including the precise check or           Your duty to report other errors - In addition to your duty to review your statements
                     item number, amount, date and payee. Written notice we give you is effective when it           for unauthorized signatures, alterations and forgeries, you agree to examine your
                     is deposited in the United States Mail with proper postage and addressed to your               statement with reasonable promptness for any other error - such as an encoding
                     mailing address we have on file. Notice to any of you is notice to all of you.                 error. In addition, if you receive or we make available either your items or images of
                     In Louisiana, Alabama, Arkansas, Florida, and Georgia, STATEMENTS - Your                       your items, you must examine them for any unauthorized or missing indorsements or
                     duty to report unauthorized signatures, alterations and forgeries - You must                   any other problems. You agree that the time you have to examine your statement and
                     examine your statement of account with “reasonable promptness.” If you discover (or            items and report to us will depend on the circumstances. However, this time period
                     reasonably should have discovered) any unauthorized signatures or alterations, you             shall not exceed 60 days. Failure to examine your statement and items and report
                     must promptly notify us of the relevant facts. As between you and us, if you fail to do        any errors to us within 60 days of when we first send or make the statement available
                     either of these duties, you will have to either share the loss with us, or bear the loss       precludes you from asserting a claim against us for any errors on items identified in
                     entirely yourself (depending on whether we used ordinary care and, if not, whether             that statement and as between you and us the loss will be entirely yours.
                     we substantially contributed to the loss). The loss could be not only with respect to          Errors relating to electronic fund transfers or substitute checks (For consumer
                     items on the statement but other items with unauthorized signatures or alterations by          accounts only) - For information on errors relating to electronic fund transfers (e.g.,
                     the same wrongdoer.                                                                            computer, debit card or ATM transactions) refer to your Electronic Fund Transfers
                     You agree that the time you have to examine your statement and report to us will               disclosure and the sections on consumer liability and error resolution. For information
                     depend on the circumstances, but will not, in any circumstance, exceed a total of 30           on errors relating to a substitute check you received, refer to your disclosure entitled
                     days from when the statement is first sent or made available to you.                           Substitute Checks and Your Rights.
                     You further agree that if you fail to report any unauthorized signatures, alterations or       ACCOUNT TRANSFER - This account may not be transferred or assigned without
                     forgeries in your account within 60 days of when we first send or make the statement           our prior written consent.


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                     DIRECT DEPOSITS - If we are required for any reason to reimburse the federal                      The owner may terminate the agency at any time, and the agency is automatically
                     government for all or any portion of a benefit payment that was directly deposited into           terminated by the death of the owner. However, we may continue to honor the
                     your account, you authorize us to deduct the amount of our liability to the federal               transactions of the agent until: (a) we have received written notice or have actual
                     government from the account or from any other account you have with us, without                   knowledge of the termination of the agency, and (b) we have a reasonable
                     prior notice and at any time, except as prohibited by law. We may also use any other              opportunity to act on that notice or knowledge. We may refuse to accept the
                     legal remedy to recover the amount of our liability.                                              designation of an agent.
                     TEMPORARY ACCOUNT AGREEMENT - If the account documentation indicates                              In Alabama, AGENCY (Power of Attorney) DESIGNATION (Single-Party
                     that this is a temporary account agreement, each person who signs to open the                     Accounts only) - A single individual is the owner. The agent is merely designated to
                     account or has authority to make withdrawals (except as indicated to the contrary)                conduct transactions on the owner’s behalf. The owner does not give up any rights to
                     may transact business on this account. However, we may at some time in the future                 act on the account, and the agent may not in any manner affect the rights of the
                     restrict or prohibit further use of this account if you fail to comply with the                   owner or beneficiaries, if any, other than by withdrawing funds from the account. The
                     requirements we have imposed within a reasonable time.                                            owner is responsible for any transactions of the agent. We undertake no obligation to
                     In Louisiana, Alabama, Arkansas, Georgia, and Tennessee, SETOFF - We may                          monitor transactions to determine that they are on the owner’s behalf.
                     (without prior notice and when permitted by law) set off the funds in this account                The owner may terminate the agency at any time, and the agency is automatically
                     against any due and payable debt any of you owe us now or in the future. If this                  terminated by the death of the owner. However, we may continue to honor the
                     account is owned by one or more of you as individuals, we may set off any funds in                transactions of the agent until: (a) we have received written notice or have actual
                     the account against a due and payable debt a partnership owes us now or in the                    knowledge of the termination of the agency, and (b) we have a reasonable
                     future, to the extent of your liability as a partner for the partnership debt. If your debt       opportunity to act on that notice or knowledge. We may refuse to accept the
                     arises from a promissory note, then the amount of the due and payable debt will be                designation of an agent.
                     the full amount we have demanded, as entitled under the terms of the note, and this               In Arkansas, AGENCY (POWER OF ATTORNEY) DESIGNATION - Agents may
                     amount may include any portion of the balance for which we have properly                          make account transactions on behalf of the parties, but have no ownership or rights
                     accelerated the due date.                                                                         at death unless named as Pay-on-Death beneficiaries. The owner does not give up
                     This right of setoff does not apply to this account if prohibited by law. For example,            any rights to act on the account, and the agent may not in any manner affect the
                     the right of setoff does not apply to this account if: (a) it is an Individual Retirement         rights of the owner or beneficiaries, if any, other than by withdrawing funds from the
                     Account or similar tax-deferred account, or (b) the debt is created by a consumer                 account. The owner is responsible for any transactions of the agent. We undertake no
                     credit transaction under a credit card plan (but this does not affect our rights under            obligation to monitor transactions to determine that they are on the owner’s behalf.
AIFLB HMHLG FLHMHK   any consensual security interest), or (c) the debtor’s right of withdrawal only arises in         The owner may terminate the agency at any time, and the agency is automatically
A HMOA MJJHKIBIOJK   a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its         terminated by the death of the owner. However, we may continue to honor the
ADOEKK DILHB CKKLK
AOLADCDKKOMALKIOKK   implementing regulations. We will not be liable for the dishonor of any check when                transactions of the agent until: (a) we have received written notice or have actual
DLLLLLDLDLDLDDDLLL   the dishonor occurs because we set off a debt against this account. You agree to                  knowledge of the termination of the agency, and (b) we have a reasonable
                     hold us harmless from any claim arising as a result of our exercise of our right of               opportunity to act on that notice or knowledge. We may refuse to accept the
                     setoff.                                                                                           designation of an agent.
                     In Florida, SETOFF - We may (without prior notice and when permitted by law) set                  In Florida, CONVENIENCE ACCOUNT AGENT (Single-Party Accounts only) - A
                     off the funds in this account against any due and payable debt any of you owe us now              convenience account, as defined by Florida law, means a deposit account other than
                     or in the future. If this account is owned by one or more of you as individuals, we may           a certificate of deposit, in the name of one individual, in which one or more individuals
                     set off any funds in the account against a due and payable debt a partnership owes                have been designated as agent with the right to make deposits to and withdraw funds
                     us now or in the future, to the extent of your liability as a partner for the partnership         from or draw checks on such account on the owner’s behalf. A single individual is the
                     debt. If your debt arises from a promissory note, then the amount of the due and                  owner, and the agent is merely designated to conduct transactions on the owner’s
                     payable debt will be the full amount we have demanded, as entitled under the terms                behalf. The owner does not give up any rights to act on the account, and the agent
                     of the note, and this amount may include any portion of the balance for which we                  may not in any manner affect the rights of the owner or beneficiaries, if any, other
                     have properly accelerated the due date.                                                           than by withdrawing funds from the account. The owner is responsible for any
                     The funds in joint accounts, including accounts owned as tenants by the entireties,               transactions of the agent. We undertake no obligation to monitor transactions to
                     may be set off by us for any individual or joint debt of any person having withdrawal             determine that they are on the owner’s behalf.
                     rights. To the extent that setoff of funds in an account owned by husband and wife as             The owner may terminate the agency at any time, and the agency is automatically
                     tenants by the entireties would ordinarily not be permitted by law for a debt of only             terminated by the death of the owner. However, we may continue to honor the
                     one of the spouses, both spouses and all persons having rights of withdrawal hereby               transactions of the agent until: (a) we have received written notice or have actual
                     waive that right and consent to setoff for either an individual or joint debt owed by one         knowledge of the termination of agency, and (b) we have a reasonable opportunity to
                     or both of them to this bank. This waiver and consent applies to debts on which any               act on that notice or knowledge. We may refuse to accept the designation of a
                     one of you is liable, whether jointly with another, individually, or those on which you           convenience account agent.
                     are secondarily liable.
                                                                                                                       In Georgia, AUTHORIZED SIGNER (Individual Accounts only) - A single individual
                     This right of setoff does not apply to this account if prohibited by law. For example,            is the owner. The authorized signer is merely designated to conduct transactions on
                     the right of setoff does not apply to this account if: (a) it is an Individual Retirement         the owner’s behalf. The owner does not give up any rights to act on the account, and
                     Account or similar tax-deferred account, or (b) the debt is created by a consumer                 the authorized signer may not in any manner affect the rights of the owner or
                     credit transaction under a credit card plan (but this does not affect our rights under            beneficiaries, if any, other than by withdrawing funds from the account. The owner is
                     any consensual security interest), or (c) the debtor’s right of withdrawal only arises in         responsible for any transactions of the authorized signer. We undertake no obligation
                     a representative capacity, or (d) setoff is prohibited by the Military Lending Act or its         to monitor transactions to determine that they are on the owner’s behalf.
                     implementing regulations. We will not be liable for the dishonor of any check when
                                                                                                                       The owner may terminate the authorization at any time, and the authorization is
                     the dishonor occurs because we set off a debt against this account. You agree to
                                                                                                                       automatically terminated by the death of the owner. However, we may continue to
                     hold us harmless from any claim arising as a result of our exercise of our right of
                                                                                                                       honor the transactions of the authorized signer until: (a) we have received written
                     setoff.
                                                                                                                       notice or have actual knowledge of the termination of authority, and (b) we have a
                     In Texas, SETOFF - We may (without prior notice and when permitted by law) set off                reasonable opportunity to act on that notice or knowledge. We may refuse to accept
                     the funds in this account against any due and payable debt any of you owe us now or               the designation of an authorized signer.
                     in the future. If this account is owned by one or more of you as individuals, we may
                                                                                                                       In Tennessee, ADDITIONAL AUTHORIZED SIGNATORY (Individual Accounts
                     set off any funds in the account against a due and payable debt a partnership owes
                                                                                                                       only) - A single individual is the owner. The additional authorized signatory is merely
                     us now or in the future, to the extent of your liability as a partner for the partnership
                                                                                                                       designated to conduct transactions on the owner’s behalf. The owner does not give
                     debt. If your debt arises from a promissory note, then the amount of the due and
                                                                                                                       up any rights to act on the account, and the additional authorized signatory may not in
                     payable debt will be the full amount we have demanded, as entitled under the terms
                                                                                                                       any manner affect the rights of the owner or beneficiaries, if any, other than by
                     of the note, and this amount may include any portion of the balance for which we
                                                                                                                       withdrawing funds from the account. The owner is responsible for any transactions of
                     have properly accelerated the due date.
                                                                                                                       the additional authorized signatory. We undertake no obligation to monitor
                     This right of setoff does not apply to this account if prohibited by law. For example,            transactions to determine that they are on the owner’s behalf.
                     the right of setoff does not apply to this account if: (a) it is an Individual Retirement
                                                                                                                       The owner may terminate the authorization at any time, and the authorization is
                     Account or similar tax-deferred account, or (b) the debt is created by a consumer
                                                                                                                       automatically terminated by the death of the owner. However, we may continue to
                     credit transaction under a credit card plan (but this does not affect our rights under
                                                                                                                       honor the transactions of the additional authorized signatory until: (a) we have
                     any consensual security interest), or (c) the debtor’s right of withdrawal only arises in
                                                                                                                       received written notice or have actual knowledge of the termination of authority, and
                     a representative capacity, or (d) the debt is created by a home equity loan, or (e)
                                                                                                                       (b) we have a reasonable opportunity to act on that notice or knowledge. We may
                     setoff is prohibited by the Military Lending Act or its implementing regulations. We will
                                                                                                                       refuse to accept the designation of an additional authorized signatory.
                     not be liable for the dishonor of any check when the dishonor occurs because we set
                     off a debt against this account. You agree to hold us harmless from any claim arising             RESTRICTIVE LEGENDS OR INDORSEMENTS - The automated processing of the
                     as a result of our exercise of our right of setoff.                                               large volume of checks we receive prevents us from inspecting or looking for
                                                                                                                       restrictive legends, restrictive indorsements or other special instructions on every
                     In Louisiana, AUTHORIZED SIGNER (Agent) (Individual Accounts only) - A
                                                                                                                       check. Examples of restrictive legends placed on checks are “must be presented
                     single individual is the owner. The authorized signer (hereinafter “agent”) is merely
                                                                                                                       within 90 days” or “not valid for more than $1,000.00.” The payee’s signature
                     designated to conduct transactions on the owner’s behalf. The owner does not give
                                                                                                                       accompanied by the words “for deposit only” is an example of a restrictive
                     up any rights to act on the account, and the agent may not in any manner affect the
                                                                                                                       indorsement. For this reason, we are not required to honor any restrictive legend or
                     rights of the owner or beneficiaries, if any, other than by withdrawing funds from the
                                                                                                                       indorsement or other special instruction placed on checks you write unless we have
                     account. The owner is responsible for any transactions of the agent. We undertake no
                                                                                                                       agreed in writing to the restriction or instruction. Unless we have agreed in writing, we
                     obligation to monitor transactions to determine that they are on the owner’s behalf.
                                                                                                                       are not responsible for any losses, claims, damages, or expenses that result from
                                                                                                                       your placement of these restrictions or instructions on your checks.


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                     CHECK PROCESSING - We process items mechanically by relying solely on the                      LEGAL ACTIONS AFFECTING YOUR ACCOUNT - If we are served with a
                     information encoded in magnetic ink along the bottom of the items. This means that             subpoena, restraining order, writ of attachment or execution, levy, garnishment,
                     we do not individually examine all of your items to determine if the item is properly          search warrant, or similar order relating to your account (termed “legal action” in this
                     completed, signed and indorsed or to determine if it contains any information other            section), we will comply with that legal action. Or, in our discretion, we may freeze the
                     than what is encoded in magnetic ink. You agree that we have exercised ordinary                assets in the account and not allow any payments out of the account until a final court
                     care if our automated processing is consistent with general banking practice, even             determination regarding the legal action. We may do these things even if the legal
                     though we do not inspect each item. Because we do not inspect each item, if you                action involves less than all of you. In these cases, we will not have any liability to you
                     write a check to multiple payees, we can properly pay the check regardless of the              if there are insufficient funds to pay your items because we have withdrawn funds
                     number of indorsements unless you notify us in writing that the check requires                 from your account or in any way restricted access to your funds in accordance with
                     multiple indorsements. We must receive the notice in time for us to have a                     the legal action. Any fees or expenses we incur in responding to any legal action
                     reasonable opportunity to act on it, and you must tell us the precise date of the check,       (including, without limitation, attorneys’ fees and our internal expenses) may be
                     amount, check number and payee. We are not responsible for any unauthorized                    charged against your account. The list of fees applicable to your account(s) provided
                     signature or alteration that would not be identified by a reasonable inspection of the         elsewhere may specify additional fees that we may charge for certain legal actions.
                     item. Using an automated process helps us keep costs down for you and all account              SECURITY - It is your responsibility to protect the account numbers and electronic
                     holders.                                                                                       access devices (e.g., an ATM card) we provide you for your account(s). Do not
                     CHECK CASHING - We may charge a fee for anyone that does not have an account                   discuss, compare, or share information about your account number(s) with anyone
                     with us who is cashing a check, draft or other instrument written on your account. We          unless you are willing to give them full use of your money. An account number can be
                     may also require reasonable identification to cash such a check, draft or other                used by thieves to issue an electronic debit or to encode your number on a false
                     instrument. We can decide what identification is reasonable under the circumstances            demand draft which looks like and functions like an authorized check. If you furnish
                     and such identification may be documentary or physical and may include collecting a            your access device and grant actual authority to make transfers to another person (a
                     thumbprint or fingerprint.                                                                     family member or coworker, for example) who then exceeds that authority, you are
                     INDORSEMENTS - We may accept for deposit any item payable to you or your order,                liable for the transfers unless we have been notified that transfers by that person are
                     even if they are not indorsed by you. We may give cash back to any one of you. We              no longer authorized.
                     may supply any missing indorsement(s) for any item we accept for deposit or                    Your account number can also be used to electronically remove money from your
                     collection, and you warrant that all indorsements are genuine.                                 account, and payment can be made from your account even though you did not
                     To ensure that your check or share draft is processed without delay, you must                  contact us directly and order the payment.
AIFLBLFODLG FLHMHK   indorse it (sign it on the back) in a specific area. Your entire indorsement (whether a        You must also take precaution in safeguarding your blank checks. Notify us at once if
A HMOA MJJHKJCNNJK   signature or a stamp) along with any other indorsement information (e.g. additional            you believe your checks have been lost or stolen. As between you and us, if you are
ADOELLHLJLFJCOIONK
AMDCFDIEED GJFGNIK   indorsements, ID information, driver’s license number, etc.) must fall within 11/2” of         negligent in safeguarding your checks, you must bear the loss entirely yourself or
DDLLLLDLDDLLDDDLDL   the “trailing edge” of a check. Indorsements must be made in blue or black ink, so             share the loss with us (we may have to share some of the loss if we failed to use
                     that they are readable by automated check processing equipment.                                ordinary care and if we substantially contributed to the loss).
                     As you look at the front of a check, the “trailing edge” is the left edge. When you flip       Except for consumer electronic funds transfers subject to Regulation E, you agree
                     the check over, be sure to keep all indorsement information within 11/2” of that edge.         that if we offer you services appropriate for your account to help identify and limit
                                                                                                                    fraud or other unauthorized transactions against your account, such as positive pay
                                                                                                       7654         or commercially reasonable security procedures, and you reject those services, you
                                                       Name
                                                       Address, City, State                      20                 will be responsible for any fraudulent or unauthorized transactions which could have
                                                       Pay to the
                                                                                                                    been prevented by the services we offered, unless we acted in bad faith or to the
                                                       order of                              $                      extent our negligence contributed to the loss. If we offered you a commercially
                                                                                                      dollars       reasonable security procedure which you reject, you agree that you are responsible
                                                                                                                    for any payment order, whether authorized or not, that we accept in compliance with
                                                       Bank Name                                                    an alternative security procedure that you have selected.
                                                       and Location
                                                                                                                    TELEPHONIC INSTRUCTIONS - Unless required by law or we have agreed
                                                       Memo
                                                                                                                    otherwise in writing, we are not required to act upon instructions you give us via
                                                         123456789             7654                               facsimile transmission or leave by voice mail or on a telephone answering machine.
                              TRAILING EDGE                            FRONT OF CHECK                               MONITORING AND RECORDING TELEPHONE CALLS AND CONSENT TO
                                                                                                                    RECEIVE COMMUNICATIONS - We may monitor or record phone calls for security
                                                                                                                    reasons, to maintain a record and to ensure that you receive courteous and efficient
                                                                                                                    service. You consent in advance to any such recording. We need not remind you of
                                                                                                                    our recording before each phone conversation.
                                                                                                                    To provide you with the best possible service in our ongoing business relationship for
                                                           1 1/2"             Keep your indorsement                 your account we may need to contact you about your account from time to time by
                                                                                 out of this area.                  telephone, text messaging or email. However, we must first obtain your consent to
                      YOUR INDORSEMENT MUST                                                                         contact you about your account because we must comply with the consumer
                      BE WITHIN THIS AREA                                                                           protection provisions in the federal Telephone Consumer Protection Act of 1991
                                                                                                                    (TCPA), CAN-SPAM Act and their related federal regulations and orders issued by
                                                                                                                    the Federal Communications Commission (FCC).
                                                                        BACK OF CHECK                                    • Your consent is limited to this account, and as authorized by applicable law and
                                                                                                                           regulations.
                     It is important that you confine the indorsement information to this area since the
                     remaining blank space will be used by others in the processing of the check to place                • Your consent does not authorize us to contact you for telemarketing purposes
                     additional needed indorsements and information. You agree that you will indemnify,                    (unless you otherwise agreed elsewhere).
                     defend, and hold us harmless for any loss, liability, damage or expense that occurs            With the above understandings, you authorize us to contact you regarding this
                     because your indorsement, another indorsement or information you have printed on               account throughout its existence using any telephone numbers or email addresses
                     the back of the check obscures our indorsement.                                                that you have previously provided to us or that you may subsequently provide to us.
                     These indorsement guidelines apply to both personal and business checks.                       This consent is regardless of whether the number we use to contact you is assigned
                     DEATH OR INCOMPETENCE - You agree to notify us promptly if any person with a                   to a landline, a paging service, a cellular wireless service, a specialized mobile radio
                     right to withdraw funds from your account(s) dies or is adjudicated (determined by the         service, other radio common carrier service or any other service for which you may
                     appropriate official) incompetent. We may continue to honor your checks, items, and            be charged for the call. You further authorize us to contact you through the use of
                     instructions until: (a) we know of your death or adjudication of incompetence, and (b)         voice, voice mail and text messaging, including the use of pre-recorded or artificial
                     we have had a reasonable opportunity to act on that knowledge. You agree that we               voice messages and an automated dialing device.
                     may pay or certify checks drawn on or before the date of death or adjudication of              If necessary, you may change or remove any of the telephone numbers or email
                     incompetence for up to ten (10) days after your death or adjudication of                       addresses at any time using any reasonable means to notify us.
                     incompetence unless ordered to stop payment by someone claiming an interest in the             CLAIM OF LOSS - If you claim a credit or refund because of a forgery, alteration, or
                     account.                                                                                       any other unauthorized withdrawal, you agree to cooperate with us in the
                     FIDUCIARY ACCOUNTS - Accounts may be opened by a person acting in a fiduciary                  investigation of the loss, including giving us an affidavit containing whatever
                     capacity. A fiduciary is someone who is appointed to act on behalf of and for the              reasonable information we require concerning your account, the transaction, and the
                     benefit of another. We are not responsible for the actions of a fiduciary, including the       circumstances surrounding the loss. You will notify law enforcement authorities of any
                     misuse of funds. This account may be opened and maintained by a person or                      criminal act related to the claim of lost, missing, or stolen checks or unauthorized
                     persons named as a trustee under a written trust agreement, or as executors,                   withdrawals. We will have a reasonable period of time to investigate the facts and
                     administrators, or conservators under court orders. You understand that by merely              circumstances surrounding any claim of loss. Unless we have acted in bad faith, we
                     opening such an account, we are not acting in the capacity of a trustee in connection          will not be liable for special or consequential damages, including loss of profits or
                     with the trust nor do we undertake any obligation to monitor or enforce the terms of           opportunity, or for attorneys’ fees incurred by you.
                     the trust or letters.                                                                          You agree that you will not waive any rights you have to recover your loss against
                     CREDIT VERIFICATION - You agree that we may verify credit and employment                       anyone who is obligated to repay, insure, or otherwise reimburse you for your loss.
                     history by any necessary means, including preparation of a credit report by a credit           You will pursue your rights or, at our option, assign them to us so that we may pursue
                     reporting agency.                                                                              them. Our liability will be reduced by the amount you recover or are entitled to recover
                                                                                                                    from these other sources.


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                     EARLY WITHDRAWAL PENALTIES (and involuntary withdrawals) - We may                                UNLAWFUL INTERNET GAMBLING NOTICE - Restricted transactions as defined in
                     impose early withdrawal penalties on a withdrawal from a time account even if you                Federal Reserve Regulation GG are prohibited from being processed through this
                     don’t initiate the withdrawal. For instance, the early withdrawal penalty may be                 account or relationship. Restricted transactions generally include, but are not limited
                     imposed if the withdrawal is caused by our setoff against funds in the account or as a           to, those in which credit, electronic fund transfers, checks, or drafts are knowingly
                     result of an attachment or other legal process. We may close your account and                    accepted by gambling businesses in connection with the participation by others in
                     impose the early withdrawal penalty on the entire account balance in the event of a              unlawful Internet gambling.
                     partial early withdrawal. See your notice of penalty for early withdrawals for additional
                     information.                                                                                                     ——————————————
                     ADDRESS OR NAME CHANGES - You are responsible for notifying us of any
                     change in your address or your name. Unless we agree otherwise, change of address
                                                                                                                                      NOTICE OF CHANGE IN VISA ZERO
                     or name must be made in writing by at least one of the account holders. Informing us                                     LIABILITY RULE
                     of your address or name change on a check reorder form is not sufficient. We will
                     attempt to communicate with you only by use of the most recent address you have                  A change in the Visa Core Rules revises the circumstances under which you have
                     provided to us. If provided elsewhere, we may impose a service fee if we attempt to              zero liability for unauthorized electronic fund transfers. The change is highlighted in
                     locate you.                                                                                      bold italics type in the next two sentences. Under the new Visa rule, you will not be
                                                                                                                      liable for any transactions using a lost or stolen Visa card unless you have been
                     RESOLVING ACCOUNT DISPUTES - We may place an administrative hold on the                          negligent or engaged in fraud. Under the previous rule, you are not liable for any
                     funds in your account (refuse payment or withdrawal of the funds) if it becomes                  transaction using a lost or stolen Visa card unless you were grossly negligent or
                     subject to a claim adverse to (1) your own interest; (2) others claiming an interest as          engaged in fraud. This change becomes effective 21 days after you receive this
                     survivors or beneficiaries of your account; or (3) a claim arising by operation of law.          notice.
                     The hold may be placed for such period of time as we believe reasonably necessary
                     to allow a legal proceeding to determine the merits of the claim or until we receive             Whether conduct is negligent depends on the circumstances and is subject to
                     evidence satisfactory to us that the dispute has been resolved. We will not be liable            interpretation. However, negligence is generally considered to be the failure to use
                     for any items that are dishonored as a consequence of placing a hold on funds in                 such care as a reasonably prudent person would have exercised in a similar situation.
                     your account for these reasons.                                                                  Negligence is more careful conduct than gross negligence.
                     WAIVER OF NOTICES - To the extent permitted by law, you waive any notice of non-                 As a result of the Visa rule change, you have to use a higher degree of care to have
                     payment, dishonor or protest regarding any items credited to or charged against your             zero liability for unauthorized transactions than you had to exercise under the
                     account. For example, if you deposit a check and it is returned unpaid or we receive a           previous Visa rule.
AIFLBLFODLG FLHMHK
A HMOA MJJHKJCNNJK   notice of nonpayment, we do not have to notify you unless required by federal                    Here is the disclosure of your liability for unauthorized electronic fund transfers,
ADOELLHLJLFJCOIONK
AMDCFDIEED GJFGNIK   Regulation CC or other law.                                                                      effective 21 days after you receive this notice —
DDLLLLDLDDLLDDDLDL
                     ACH AND WIRE TRANSFERS - This agreement is subject to Article 4A of the                                                       UNAUTHORIZED TRANSFERS
                     Uniform Commercial Code - Fund Transfers as adopted in the state in which you                         (a) Consumer liability.
                     have your account with us. If you originate a fund transfer and you identify by name                   • Generally. Tell us AT ONCE if you believe your card and/or code has been lost
                     and number a beneficiary financial institution, an intermediary financial institution or a       or stolen, or if you believe that an electronic fund transfer has been made without
                     beneficiary, we and every receiving or beneficiary financial institution may rely on the         your permission using information from your check. Telephoning is the best way of
                     identifying number to make payment. We may rely on the number even if it identifies              keeping your possible losses down. You could lose all the money in your account
                     a financial institution, person or account other than the one named. You agree to be             (plus your maximum overdraft line of credit). If you tell us within 2 business days after
                     bound by automated clearing house association rules. These rules provide, among                  you learn of the loss or theft of your card and/or code, you can lose no more than $50
                     other things, that payments made to you, or originated by you, are provisional until             if someone used your card and/or code without your permission.
                     final settlement is made through a Federal Reserve Bank or payment is otherwise
                     made as provided in Article 4A-403(a) of the Uniform Commercial Code. If we do not                    If you do NOT tell us within 2 business days after you learn of the loss or theft of
                     receive such payment, we are entitled to a refund from you in the amount credited to             your card and/or code, and we can prove we could have stopped someone from
                     your account and the party originating such payment will not be considered to have               using your card and/or code without your permission if you had told us, you could
                     paid the amount so credited. Credit entries may be made by ACH. If we receive a                  lose as much as $500.
                     payment order to credit an account you have with us by wire or ACH, we are not                        Also, if your statement shows transfers that you did not make, including those
                     required to give you any notice of the payment order or credit.                                  made by card, code or other means, tell us at once. If you do not tell us within 60
                     FACSIMILE SIGNATURES - Unless you make advance arrangements with us, we                          days after the statement was mailed to you, you may not get back any money you
                     have no obligation to honor facsimile signatures on your checks or other orders. If we           lost after the 60 days if we can prove that we could have stopped someone from
                     do agree to honor items containing facsimile signatures, you authorize us, at any                taking the money if you had told us in time.
                     time, to charge you for all checks, drafts, or other orders, for the payment of money,                If a good reason (such as a long trip or a hospital stay) kept you from telling us,
                     that are drawn on us. You give us this authority regardless of by whom or by what                we will extend the time periods.
                     means the facsimile signature(s) may have been affixed so long as they resemble the                   • Additional Limit on Liability for Debit VISA® Card. Unless you have been
                     facsimile signature specimen filed with us, and contain the required number of                   negligent or have engaged in fraud, you will not be liable for any unauthorized
                     signatures for this purpose. You must notify us at once if you suspect that your                 transactions using your lost or stolen Debit VISA® Card. This additional limit on
                     facsimile signature is being or has been misused.                                                liability does not apply to ATM transactions outside of the U.S., to ATM transactions
                     TRUNCATION, SUBSTITUTE CHECKS, AND OTHER CHECK IMAGES - If you                                   not sent over Visa or Plus networks, or to transactions using your Personal
                     truncate an original check and create a substitute check, or other paper or electronic           Identification Number which are not processed by VISA®. Visa is a registered
                     image of the original check, you warrant that no one will be asked to make payment               trademark of Visa International Service Association.
                     on the original check, a substitute check or any other electronic or paper image, if the              (b) Contact in event of unauthorized transfer. If you believe your card and/or
                     payment obligation relating to the original check has already been paid. You also                code has been lost or stolen, call or write us at the telephone number or address
                     warrant that any substitute check you create conforms to the legal requirements and              listed below. You should also call the number or write to the address listed below if
                     generally accepted specifications for substitute checks. You agree to retain the                 you believe a transfer has been made using the information from your check without
                     original check in conformance with our internal policy for retaining original checks.            your permission.
                     You agree to indemnify us for any loss we may incur as a result of any truncated                                                        IBERIABANK
                     check transaction you initiate. We can refuse to accept substitute checks that have
                     not previously been warranted by a bank or other financial institution in conformance                                      12719 CANTRELL ROAD, SUITE 103
                     with the Check 21 Act. Unless specifically stated in a separate agreement between                                                LITTLE ROCK, AR 72223
                     you and us, we do not have to accept any other electronic or paper image of an                                                      Phone: 800-682-3231
                     original check.
                     REMOTELY CREATED CHECKS - Like any standard check or draft, a remotely
                     created check (sometimes called a telecheck, preauthorized draft or demand draft) is
                     a check or draft that can be used to withdraw money from an account. Unlike a typical
                     check or draft, however, a remotely created check is not issued by the paying bank
                     and does not contain the signature of the account owner (or a signature purported to
                     be the signature of the account owner). In place of a signature, the check usually has
                     a statement that the owner authorized the check or has the owner’s name typed or
                     printed on the signature line.
                     You warrant and agree to the following for every remotely created check we receive
                     from you for deposit or collection: (1) you have received express and verifiable
                     authorization to create the check in the amount and to the payee that appears on the
                     check; (2) you will maintain proof of the authorization for at least 2 years from the
                     date of the authorization, and supply us the proof if we ask; and (3) if a check is
                     returned you owe us the amount of the check, regardless of when the check is
                     returned. We may take funds from your account to pay the amount you owe us, and if
                     there are insufficient funds in your account, you still owe us the remaining balance.

                     200668917-010

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                     CaseCase 21-06006 Document
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                                                               TXSB  on 10/03/22
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 4/28/17                         Page    1
                             AKHNBLFODLGLB HMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HM CKNJIELLEONJK
                             AC NL ILOLMJJKANK    LOCKBOX ACCOUNT
                             ANHKBBLFECBMBNE KK
                             DDDLLLDLLLLLDLDLDL   1990 POST OAK BLVD SUITE 2400
                             002686               HOUSTON TX 77056



AKHNBLFODLGLB HMHK
A HM CKNJIELLEONJK
AC NL ILOLMJJKANK
ANHKBBLFECBMBNE KK
DDDLLLDLLLLLDLDLDL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8673                                                      Statement Dates   4/03/17 thru 4/30/17
                     Previous Balance              152,445.91                                                      Days this Statement Period           28
                         3 Deposits/Credits        288,741.51                                                      Average Ledger                74,617.40
                         3 Checks/Debits           407,917.35                                                      Average Collected             61,948.62
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                33,270.07


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      4/11                        Lockbox Deposit                                                                    187,382.70
                      4/17                        Lockbox Deposit                                                                     68,366.65
                      4/28                        Lockbox Deposit                                                                     32,992.16

                                                                     Withdrawals and Deductions
                     Date                         Description                                    Amount
                      4/12                        PAYMENTS    RIO ENERGY INT'L               187,382.70-
                                                  CCD   Gulf Coast Asphalt Com
                      4/13                        PAYMENTS    RIO ENERGY INT'L               152,168.00-
                                                  CCD   Gulf Coast Asphalt Com
                      4/21                        PAYMENTS    RIO ENERGY INT'L                68,366.65-
                                                  CCD   Gulf Coast Asphalt Com

                                                                       Daily Balance Information
                     Date                                       Balance Date                 Balance Date                                                                            Balance
                      4/03                                  152,445.91    4/13               277.91   4/28                                                                        33,270.07
                      4/11                                  339,828.61    4/17            68,644.56
                      4/12                                  152,445.91    4/21               277.91




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
     6:23-cv-00002 Document197
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                                                                    Debtor000610
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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   5/01/17 thru 5/31/17
Previous Balance               33,270.07                                   Days this Statement Period           31
    6 Deposits/Credits        813,336.74                                   Average Ledger               107,860.19
    5 Checks/Debits           726,912.18                                   Average Collected             86,838.33
Service Charge                       .00
Interest Paid                        .00
Current Balance               119,694.63


                            Deposits and Additions
Date      Description                                                                            Amount
 5/01     Wire Transfer Credit                                                               161,659.32
          BNP PARIBAS U.S.A - NEW YORK B
          NEW YORK,NY
          UNITED STATES OF AMERICA
          INV. 14199 - IC
          20170501B1Q8201C001004
          20170501MMQFMP9H000677
          05011511FT03
 5/01     Lockbox Deposit                                                                    271,078.95
 5/16     Lockbox Deposit                                                                    207,203.80
 5/22     Lockbox Deposit                                                                     47,533.47
 5/23     Lockbox Deposit                                                                      6,444.80
 5/31     Lockbox Deposit                                                                    119,416.40

                             Withdrawals and Deductions
Date      Description                                    Amount
 5/01     PAYMENTS    RIO ENERGY INT'L                32,992.16-
          CCD   Gulf Coast Asphalt Com
 5/01     From DDA *8673,To DDA *8665                161,659.00-
 5/09     PAYMENTS    RIO ENERGY INT'L               271,078.95-
          CCD   Gulf Coast Asphalt Com
 5/19     PAYMENTS    RIO ENERGY INT'L               207,203.80-
          CCD   Gulf Coast Asphalt Com




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000611
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CaseCase 21-06006 Document
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                                                                    Debtor000612
                                                                                   846
   CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                             Withdrawals and Deductions
Date      Description                                    Amount
 5/30     PAYMENTS    RIO ENERGY INT'L                53,978.27-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 5/01               271,357.18    5/19               278.23   5/30                                                                        278.23
 5/09                   278.23    5/22            47,811.70   5/31                                                                    119,694.63
 5/16               207,482.03    5/23            54,256.50




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000613
                                                                                                                                                         847
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   6/01/17 thru 7/02/17
Previous Balance              119,694.63                                   Days this Statement Period           32
    4 Deposits/Credits        330,044.45                                   Average Ledger                59,927.22
    3 Checks/Debits           394,954.80                                   Average Collected             49,613.33
Service Charge                       .00
Interest Paid                        .00
Current Balance                54,784.28


                                             Deposits and Additions
Date      Description                                                                            Amount
 6/01     Lockbox Deposit                                                                     71,720.80
 6/06     Lockbox Deposit                                                                    163,826.50
 6/20     Lockbox Deposit                                                                     39,991.10
 6/27     Lockbox Deposit                                                                     54,506.05

                             Withdrawals and Deductions
Date      Description                                    Amount
 6/02     PAYMENTS    RIO ENERGY INT'L               191,137.20-
          CCD   Gulf Coast Asphalt Com
 6/14     PAYMENTS    RIO ENERGY INT'L               163,826.50-
          CCD   Gulf Coast Asphalt Com
 6/22     PAYMENTS    RIO ENERGY INT'L                39,991.10-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                            Balance
 6/01               191,415.43    6/14               278.23   6/27                                                                        54,784.28
 6/02                   278.23    6/20            40,269.33
 6/06               164,104.73    6/22               278.23




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



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CaseCase 21-06006 Document
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                     CaseCase 21-06006 Document
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 7/31/17                        Page     1
                             AKE BLHMHLGLB HMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HM A MJJCKIBKOJK
                             AC NIDEKBCGDHC ONK   LOCKBOX ACCOUNT
                             A CIFKJK JLGFB NKK
                             DLLLLLDLDLDLDLDLDL   1990 POST OAK BLVD SUITE 2400
                             005577               HOUSTON TX 77056



AKE BLHMHLGLB HMHK
A HM A MJJCKIBKOJK
AC NIDEKBCGDHC ONK
A CIFKJK JLGFB NKK   Change in terms: Effective September 1, 2017, deposit accounts with no transaction
DLLLLLDLDLDLDLDLDL
                     activity and a zero balance for 30 consecutive days may be closed.

                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8673                                                      Statement Dates   7/03/17 thru 7/31/17
                     Previous Balance               54,784.28                                                      Days this Statement Period           29
                         7 Deposits/Credits        724,694.53                                                      Average Ledger               144,002.35
                         6 Checks/Debits           693,583.19                                                      Average Collected            117,841.94
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                85,895.62


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      7/03                        Lockbox Deposit                                                                     33,957.35
                      7/06                        Lockbox Deposit                                                                     20,831.41
                      7/11                        Lockbox Deposit                                                                    113,098.50
                      7/18                        Lockbox Deposit                                                                    329,005.00
                      7/24                        Lockbox Deposit                                                                     14,459.26
                      7/25                        Lockbox Deposit                                                                    127,548.95
                      7/31                        Remote DDA Deposit                                                                  85,794.06

                                                                     Withdrawals and Deductions
                     Date                         Description                                    Amount
                      7/03                        PAYMENTS    RIO ENERGY INT'L                54,506.05-
                                                  CCD   Gulf Coast Asphalt Com
                      7/07                        PAYMENTS    RIO ENERGY INT'L                33,957.35-
                                                  CCD   Gulf Coast Asphalt Com
                      7/11                        PAYMENTS    RIO ENERGY INT'L                20,831.41-
                                                  CCD   Gulf Coast Asphalt Com
                      7/12                        PAYMENTS    RIO ENERGY INT'L               113,098.50-
                                                  CCD   Gulf Coast Asphalt Com
                      7/24                        ANALYSIS CHARGE                                176.67-
                                                  Lockbox Fees - June 2017
                      7/28                        PAYMENTS    RIO ENERGY INT'L               471,013.21-
                                                  CCD   Gulf Coast Asphalt Com




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
     6:23-cv-00002 Document197
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                       CaseCase 21-06006 Document
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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                               LOCKBOX ACCOUNT
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLGLB HMHK
A HM A MJJCLJBM JK   COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)
AC NIAOCCABDEOHE K
AMBIBNBC ALCJDNMKK
DLDLLLDLDLLLDLDLLL
                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                            Balance
                      7/03                34,235.58    7/12               278.23   7/28                                                                           101.56
                      7/06                55,066.99    7/18           329,283.23   7/31                                                                        85,895.62
                      7/07                21,109.64    7/24           343,565.82
                      7/11               113,376.73    7/25           471,114.77




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

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CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number                *******8673                                  Statement Dates   8/01/17 thru 8/31/17
Previous Balance                85,895.62                                  Days this Statement Period           31
    7 Deposits/Credits       1,516,100.52                                  Average Ledger               269,985.02
    4 Checks/Debits            796,368.60                                  Average Collected            221,078.55
Service Charge                        .00
Interest Paid                         .00
Current Balance                805,627.54


                                             Deposits and Additions
Date      Description                                                                            Amount
 8/01     Lockbox Deposit                                                                    241,508.42
 8/15     Lockbox Deposit                                                                    218,341.87
 8/22     Lockbox Deposit                                                                    233,218.70
 8/24     Lockbox Deposit                                                                     84,336.35
 8/24     Remote DDA Deposit                                                                 250,724.25
 8/28     Lockbox Deposit                                                                    225,817.35
 8/29     Lockbox Deposit                                                                    262,153.58

                             Withdrawals and Deductions
Date      Description                                    Amount
 8/02     PAYMENTS    RIO ENERGY INT'L               241,508.42-
          CCD   Gulf Coast Asphalt Com
 8/14     PAYMENTS    RIO ENERGY INT'L                85,794.06-
          CCD   Gulf Coast Asphalt Com
 8/21     PAYMENTS    RIO ENERGY INT'L               218,341.87-
          CCD   Gulf Coast Asphalt Com
 8/28     PAYMENTS    RIO ENERGY INT'L               250,724.25-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 8/01               327,404.04    8/14               101.56   8/21                                                                        101.56
 8/02                85,895.62    8/15           218,443.43   8/22                                                                    233,320.26




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000621
                                                                                                                                                    853
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
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                                                                                   854
   CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056



COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 8/24               568,380.86    8/28           543,473.96   8/29                                                                    805,627.54




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000623
                                                                                                                                                         855
CaseCase 21-06006 Document
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          LOCKBOX ACCOUNT
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number                *******8673                                  Statement Dates   9/01/17 thru 10/01/17
Previous Balance               805,627.54                                  Days this Statement Period           31
    4 Deposits/Credits         507,407.65                                  Average Ledger               232,557.34
    4 Checks/Debits          1,312,433.63                                  Average Collected            216,189.35
Service Charge                        .00
Interest Paid                         .00
Current Balance                    601.56


                                             Deposits and Additions
Date      Description                                                                            Amount
 9/06     Lockbox Deposit                                                                    113,661.15
 9/12     Lockbox Deposit                                                                    159,630.05
 9/21     Lockbox Deposit                                                                    139,045.50
 9/25     Lockbox Deposit                                                                     95,070.95

                             Withdrawals and Deductions
Date      Description                                    Amount
 9/01     PAYMENTS    RIO ENERGY INT'L               571,807.28-
          CCD   Gulf Coast Asphalt Com
 9/15     PAYMENTS    RIO ENERGY INT'L               273,291.20-
          CCD   Gulf Coast Asphalt Com
 9/21     PAYMENTS    RIO ENERGY INT'L               233,218.70-
          CCD   Gulf Coast Asphalt Com
 9/27     PAYMENTS    RIO ENERGY INT'L               234,116.45-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 9/01               233,820.26    9/15           233,820.26   9/27                                                                        601.56
 9/06               347,481.41    9/21           139,647.06
 9/12               507,111.46    9/25           234,718.01




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000625
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CaseCase 21-06006 Document
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                                                                                   857
                     CaseCase 21-06006 Document
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                                                                                           STATEMENT OF ACCOUNT




                                                  T0 PL0 R                                                                                 Date 10/31/17                       Page     1
                             AKE BLHMHLGLBLHMHK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HM DO JLFNMCAMJK
                             AC JFNOHODMIEAFE K   1990 POST OAK BLVD SUITE 2400
                             A NOLNHCLCHMHIHNKK
                             DDLLLLDLLDDLDLDLDL   HOUSTON TX 77056
                             010500




AKE BLHMHLGLBLHMHK
A HM DO JLFNMCAMJK
AC JFNOHODMIEAFE K
A NOLNHCLCHMHIHNKK
DDLLLLDLLDDLDLDLDL



                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                       0
                     Account Number                *******8673                                                     Statement Dates 10/02/17 thru 10/31/17
                     Previous Balance                   601.56                                                     Days this Statement Period          30
                         7 Deposits/Credits       1,026,361.07                                                     Average Ledger              173,302.95
                         4 Checks/Debits          1,019,560.65                                                     Average Collected           150,286.44
                     Service Charge                        .00
                     Interest Paid                         .00
                     Current Balance                  7,401.98


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                     10/03                        Lockbox Deposit                                                                     75,703.15
                     10/04                        Lockbox Deposit                                                                     85,543.80
                     10/06                        Transfer Credit                                                                    335,865.75
                     10/12                        Lockbox Deposit                                                                    154,475.45
                     10/18                        Lockbox Deposit                                                                    301,720.75
                     10/19                        Deposit                                                                             66,251.75
                     10/26                        Lockbox Deposit                                                                      6,800.42

                                                                     Withdrawals and Deductions
                     Date                         Description                                    Amount
                     10/06                        PAYMENTS    RIO ENERGY INT'L               161,246.95-
                                                  CCD   Gulf Coast Asphalt Com
                     10/16                        PAYMENTS    RIO ENERGY INT'L               490,341.20-
                                                  CCD   Gulf Coast Asphalt Com
                     10/19                        PAYMENTS    RIO ENERGY INT'L               301,720.75-
                                                  CCD   Gulf Coast Asphalt Com
                     10/26                        PAYMENTS    RIO ENERGY INT'L                66,251.75-
                                                  CCD   Gulf Coast Asphalt Com

                                                                       Daily Balance Information
                     Date                                        Balance Date                Balance Date                                                                         Balance
                     10/02                                       601.56 10/04            161,848.51 10/12                                                                     490,942.76
                     10/03                                    76,304.71 10/06            336,467.31 10/16                                                                         601.56




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            002661

                                                                                                                                                                             Debtor000627
                                                                                                                                                                                              858
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
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                                                                    Debtor000628
                                                                                   859
                       CaseCase 21-06006 Document
                            6:23-cv-00002 Document197
                                                   16-1 Filed
                                                         Filedinon
                                                                 TXSB  on 10/03/22
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                                                                        STATEMENT OF ACCOUNT




                                                                                                                        Date 10/31/17                       Page     2
                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLGLBLHMHK
A HM DO JLFMNCGNJK   COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)
AC JFOE NBLIHMNONK
AM O K KLLHILKFMKK
DDDLLLDLLDLLDLDLLL
                                                   Daily Balance Information
                     Date                    Balance Date                Balance Date                                                                            Balance
                     10/18               302,322.31 10/19             66,853.31 10/26                                                                          7,401.98




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              002663

                                                                                                                                                               Debtor000629
                                                                                                                                                                                  860
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                                     of 68
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 11/30/17                       Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number               *******8673                                   Statement Dates 11/01/17 thru 11/30/17
Previous Balance                7,401.98                                   Days this Statement Period          30
    5 Deposits/Credits        856,768.48                                   Average Ledger               57,353.47
    5 Checks/Debits           863,568.90                                   Average Collected            28,794.53
Service Charge                       .00
Interest Paid                        .00
Current Balance                   601.56


                                             Deposits and Additions
Date      Description                                                                            Amount
11/01     Lockbox Deposit                                                                     83,303.34
11/07     Lockbox Deposit                                                                    130,946.20
11/15     Lockbox Deposit                                                                    330,173.89
11/21     Lockbox Deposit                                                                     65,523.55
11/27     Lockbox Deposit                                                                    246,821.50

                             Withdrawals and Deductions
Date      Description                                    Amount
11/02     PAYMENTS    RIO ENERGY INT'L                90,103.76-
          CCD   Gulf Coast Asphalt Com
11/09     PAYMENTS    RIO ENERGY INT'L               130,946.20-
          CCD   Gulf Coast Asphalt Com
11/17     PAYMENTS    RIO ENERGY INT'L               330,173.89-
          CCD   Gulf Coast Asphalt Com
11/24     PAYMENTS    RIO ENERGY INT'L                65,523.55-
          CCD   Gulf Coast Asphalt Com
11/29     PAYMENTS    RIO ENERGY INT'L               246,821.50-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                     Balance Date                Balance Date                                                                         Balance
11/01                 90,705.32 11/07            131,547.76 11/15                                                                     330,775.45
11/02                    601.56 11/09                601.56 11/17                                                                         601.56




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000631
                                                                                                                                                    861
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
                                                              Page56362
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                                                                    Debtor000632
                                                                                   862
   CaseCase 21-06006 Document
        6:23-cv-00002 Document197
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
                                               06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                               Daily Balance Information
Date                     Balance Date                Balance
11/21                 66,125.11 11/27            247,423.06
11/24                    601.56 11/29                601.56




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000633
                                                                                                                                                         863
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number               *******8673                                   Statement Dates 12/01/17 thru 12/31/17
Previous Balance                  601.56                                   Days this Statement Period          31
    3 Deposits/Credits        737,420.69                                   Average Ledger               48,177.08
    3 Checks/Debits           737,420.69                                   Average Collected            24,389.32
Service Charge                       .00
Interest Paid                        .00
Current Balance                   601.56


                                             Deposits and Additions
Date      Description                                                                            Amount
12/11     Lockbox Deposit                                                                     35,645.14
12/20     Lockbox Deposit                                                                    161,233.90
12/27     Lockbox Deposit                                                                    540,541.65

                             Withdrawals and Deductions
Date      Description                                    Amount
12/13     PAYMENTS    RIO ENERGY INT'L                35,645.14-
          CCD   Gulf Coast Asphalt Com
12/22     PAYMENTS    RIO ENERGY INT'L               161,233.90-
          CCD   Gulf Coast Asphalt Com
12/29     PAYMENTS    RIO ENERGY INT'L               540,541.65-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                     Balance Date                Balance Date                                                                         Balance
12/01                    601.56 12/20            161,835.46 12/29                                                                         601.56
12/11                 36,246.70 12/22                601.56
12/13                    601.56 12/27            541,143.21




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000635
                                                                                                                                                    864
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                                    Debtor000636
                                                                                   865
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   1/01/18 thru 1/31/18
Previous Balance                  601.56                                   Days this Statement Period           31
    6 Deposits/Credits        685,162.75                                   Average Ledger               185,095.95
    1 Checks/Debits           207,134.90                                   Average Collected            162,993.92
Service Charge                       .00
Interest Paid                        .00
Current Balance               478,629.41


                                             Deposits and Additions
Date      Description                                                                            Amount
 1/09     Lockbox Deposit                                                                    207,134.90
 1/16     Lockbox Deposit                                                                    155,208.75
 1/22     Lockbox Deposit                                                                    163,622.45
 1/23     Lockbox Deposit                                                                    107,504.60
 1/24     Lockbox Deposit                                                                     19,094.40
 1/30     Lockbox Deposit                                                                     32,597.65

                             Withdrawals and Deductions
Date      Description                                    Amount
 1/11     PAYMENTS    RIO ENERGY INT'L               207,134.90-
          CCD   Gulf Coast Asphalt Com

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 1/01                   601.56    1/16           155,810.31   1/24                                                                    446,031.76
 1/09               207,736.46    1/22           319,432.76   1/30                                                                    478,629.41
 1/11                   601.56    1/23           426,937.36




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000637
                                                                                                                                                    866
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
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                                          TXSB  on 10/03/22
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                                                                    Debtor000638
                                                                                   867
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   2/01/18 thru 2/28/18
Previous Balance              478,629.41                                   Days this Statement Period           28
    5 Deposits/Credits        544,722.19                                   Average Ledger               137,286.75
    6 Checks/Debits           739,445.98                                   Average Collected            123,266.17
Service Charge                       .00
Interest Paid                        .00
Current Balance               283,905.62


                            Deposits and Additions
Date      Description                                                                            Amount
 2/13     Lockbox Deposit                                                                    113,771.05
 2/21     Lockbox Deposit                                                                    147,377.75
 2/26     Wire Transfer Credit                                                                12,540.94
          MERCURIA ENERGY TRADING INC.
          311 SOUTH WACKER DRIVE, SUITE
          60606 CHICAGO, ILLINOIS
          USA
          BANK OF AMERICA, N.A.
          222 BROADWAY
          NEW YORK,NY,US 10038
          1291816/146261291819
          4625
          20180226B6B7HU1R010313
          20180226MMQFMP9H000878
          02261356FT01
 2/27     Lockbox Deposit                                                                    131,427.45
 2/28     Wire Transfer Credit                                                               139,605.00
          MERCURIA ENERGY TRADING INC.
          311 SOUTH WACKER DRIVE, SUITE
          60606 CHICAGO, ILLINOIS
          USA
          BANK OF AMERICA, N.A.




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000639
                                                                                                                                                    868
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
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                                                                    Debtor000640
                                                                                   869
   CaseCase 21-06006 Document
        6:23-cv-00002 Document197
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Deposits and Additions
Date      Description                                                                                Amount
          222 BROADWAY
          NEW YORK,NY,US 10038

          20180228B6B7HU1R008841
          20180228MMQFMP9H000627
          02281101FT01

                            Withdrawals and Deductions
Date      Description                                   Amount
 2/07     From DDA *8673,To DDA *8665               478,100.00-
 2/15     Wire Transfer Debit                        41,080.30-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180215MMQFMP9H001588
          20180215B6B7HU3R012029
          02151535FT01
 2/15     From DDA *8673,To DDA *8665                                                          72,690.75-
 2/20     Account Analysis Charge                                                                 197.18-
 2/23     Wire Transfer Debit                                                                  43,990.30-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180223MMQFMP9H000539
          20180223B6B7HU4R004720
          02231048FT01
 2/23     From DDA *8673,To DDA *8665                                                        103,387.45-




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000641
                                                                                                                                                         870
   CaseCase 21-06006 Document
        6:23-cv-00002 Document197
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 2/01               478,629.41    2/20               332.23   2/27                                                                    144,300.62
 2/07                   529.41    2/21           147,709.98   2/28                                                                    283,905.62
 2/13               114,300.46    2/23               332.23
 2/15                   529.41    2/26            12,873.17




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000642
                                                                                                                                                         871
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   3/01/18 thru 4/01/18
Previous Balance              283,905.62                                   Days this Statement Period           32
    5 Deposits/Credits        428,946.50                                   Average Ledger                31,482.06
    7 Checks/Debits           712,772.43                                   Average Collected             18,077.48
Service Charge                       .00
Interest Paid                        .00
Current Balance                    79.69


                                             Deposits and Additions
Date      Description                                                                            Amount
 3/07     Lockbox Deposit                                                                    103,987.75
 3/13     Lockbox Deposit                                                                    104,212.45
 3/20     Lockbox Deposit                                                                     33,318.45
 3/21     Lockbox Deposit                                                                     37,400.85
 3/27     Lockbox Deposit                                                                    150,027.00

                            Withdrawals and Deductions
Date      Description                                   Amount
 3/02     Wire Transfer Debit                       131,427.45-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180302MMQFMP9H001927
          20180302B6B7HU1R012280
          03021514FT01
 3/02     From DDA *8673,To DDA *8665                                                        152,145.94-
 3/08     Wire Transfer Debit                                                                103,987.75-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000643
                                                                                                                                                    872
CaseCase 21-06006 Document
     6:23-cv-00002 Document197
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
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                                                                    Debtor000644
                                                                                   873
   CaseCase 21-06006 Document
        6:23-cv-00002 Document197
                               16-1 Filed
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180308MMQFMP9H001471
          20180308B6B7HU3R011211
          03081607FT01
 3/15     Wire Transfer Debit                                                                104,212.45-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180315MMQFMP9H001285
          20180315B6B7HU1R010986
          03151436FT01
 3/20     Account Analysis Charge                                                                 252.54-
 3/22     Wire Transfer Debit                                                                  70,719.30-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180322MMQFMP9H000858
          20180322B6B7HU3R009420
          03221334FT01
 3/29     Wire Transfer Debit                                                                150,027.00-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000645
                                                                                                                                                         874
   CaseCase 21-06006 Document 198
        6:23-cv-00002         16-1 Filed
                                    FiledinonTXSB on 10/03/22
                                              06/22/23 in TXSD Page
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                                                                Amount
          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180329MMQFMP9H001731
          20180329B6B7HU4R014112
          03291519FT01

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 3/01               283,905.62    3/13           104,544.68   3/22                                                                         79.69
 3/02                   332.23    3/15               332.23   3/27                                                                    150,106.69
 3/07               104,319.98    3/20            33,398.14   3/29                                                                         79.69
 3/08                   332.23    3/21            70,798.99




                                                                                                                                             VITOL EXHIBIT
                                                                                                                                                                        exhibitsticker.com




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                                  124.12
                                                                                                                                          Debtor000646
                                                                                                                                             Adv. No.: 21-06006 8/30/2022
                                                                                                                                                                  875
CaseCase 21-06006 Document 198
     6:23-cv-00002         16-1 Filed
                                 FiledinonTXSB on 10/03/22
                                           06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 4/30/18                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   4/02/18 thru 4/30/18
Previous Balance                   79.69                                   Days this Statement Period           29
    5 Deposits/Credits        238,801.40                                   Average Ledger                14,525.67
    5 Checks/Debits           238,735.98                                   Average Collected              6,303.20
Service Charge                       .00
Interest Paid                        .00
Current Balance                   145.11


                                             Deposits and Additions
Date      Description                                                                             Amount
 4/03     Lockbox Deposit                                                                      68,781.75
 4/10     Lockbox Deposit                                                                      32,246.25
 4/17     Lockbox Deposit                                                                      57,639.00
 4/23     Transfer Credit                                                                         350.00
 4/24     Lockbox Deposit                                                                      79,784.40

                            Withdrawals and Deductions
Date      Description                                   Amount
 4/05     Wire Transfer Debit                        68,781.75-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180405MMQFMP9H000522
          20180405B6B7HU1R005825
          04051133FT01
 4/12     Wire Transfer Debit                                                                  32,246.25-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000647
                                                                                                                                                    876
CaseCase 21-06006 Document 198
     6:23-cv-00002         16-1 Filed
                                 FiledinonTXSB on 10/03/22
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                                                                   Debtor000648
                                                                                  877
   CaseCase 21-06006 Document 198
        6:23-cv-00002         16-1 Filed
                                    FiledinonTXSB on 10/03/22
                                              06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 4/30/18                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180412MMQFMP9H000099
          20180412B6B7HU2R002988
          04120915FT01
 4/18     Wire Transfer Debit                                                                  57,639.00-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180418MMQFMP9H001721
          20180418B6B7HU1R012728
          04181649FT01
 4/20     Account Analysis Charge                                                                 284.58-
 4/26     Wire Transfer Debit                                                                  79,784.40-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180426MMQFMP9H001516
          20180426B6B7HU3R011953
          04261512FT03

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                          Balance
 4/02                     79.69    4/10            32,325.94   4/18                                                                          79.69
 4/03                 68,861.44    4/12                79.69   4/20                                                                         204.89-
 4/05                     79.69    4/17            57,718.69   4/23                                                                         145.11




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000649
                                                                                                                                                         878
   CaseCase 21-06006 Document 198
        6:23-cv-00002         16-1 Filed
                                    FiledinonTXSB on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 4/30/18                        Page     3
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                                Daily Balance Information
Date                     Balance Date                 Balance
 4/24                 79,929.51    4/26               145.11




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000650
                                                                                                                                                         879
                     CaseCase 21-06006 Document 198
                          6:23-cv-00002         16-1 Filed
                                                      FiledinonTXSB on 10/03/22
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                                                  T0 PL0 R                                                                                 Date 5/31/18                        Page     1
                             AKE BLHMHLFNB FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HMODOLMGCNOAE JK
                             AC JLGEGFE HN FAJK   1990 POST OAK BLVD SUITE 2400
                             AJDMHEKHLMNCNHI LK
                             DLDLLLDLDLDLLLDLDL   HOUSTON TX 77056
                             013260




AKE BLHMHLFNB FODK
A HMODOLMGCNOAE JK
AC JLGEGFE HN FAJK
AJDMHEKHLMNCNHI LK
DLDLLLDLDLDLLLDLDL
013260


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8673                                                      Statement Dates   5/01/18 thru 5/31/18
                     Previous Balance                  145.11                                                      Days this Statement Period           31
                         8 Deposits/Credits        460,738.95                                                      Average Ledger                44,271.81
                         6 Checks/Debits           460,738.95                                                      Average Collected             27,941.54
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                   145.11


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      5/01                        Lockbox Deposit                                                                    123,409.50
                      5/04                        Lockbox Deposit                                                                     22,883.49
                      5/08                        Lockbox Deposit                                                                    137,342.25
                      5/15                        Lockbox Deposit                                                                     35,316.75
                      5/16                        Lockbox Deposit                                                                    117,889.05
                      5/21                        Transfer Credit                                                                        267.41
                      5/22                        Lockbox Deposit                                                                      7,506.00
                      5/30                        Lockbox Deposit                                                                     16,124.50

                                                                    Withdrawals and Deductions
                     Date                         Description                                   Amount
                      5/02                        Wire Transfer Debit                       123,409.50-
                                                  MERCURIA ENERGY TRADING,INC


                                                  20 E GREENWAY PLAZA
                                                  SUITE 650
                                                  HOUSTON, TX 77046
                                                  BK AMER NYC
                                                  20180502MMQFMP9H001789
                                                  20180502B6B7HU4R010515
                                                  05021453FT03




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            001353

                                                                                                                                                                             Debtor000651
                                                                                                                                                                                              880
CaseCase 21-06006 Document 198
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                                 FiledinonTXSB on 10/03/22
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                                                                   Debtor000652
                                                                                  881
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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLFNB FODK
A HMODOLMGCM ACOJK   COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)
AC JLFOOGGIHODNKLK
AKAMDDC LFNGBFKOLK
DLLLLLDLDLLLLLDLLL
013260                                           Withdrawals and Deductions
                     Date      Description                                   Amount
                      5/09     Wire Transfer Debit                       160,225.74-
                               MERCURIA ENERGY TRADING,INC


                               20 E GREENWAY PLAZA
                               SUITE 650
                               HOUSTON, TX 77046
                               BK AMER NYC
                               20180509MMQFMP9H000940
                               20180509B6B7HU1R007260
                               05091311FT03
                      5/21     Account Analysis Charge                                                                267.41-
                      5/22     Wire Transfer Debit                                                                153,350.91-
                               MERCURIA ENERGY TRADING,INC


                               20 E GREENWAY PLAZA
                               SUITE 650
                               HOUSTON, TX 77046
                               BK AMER NYC
                               20180522MMQFMP9H000561
                               20180522B6B7HU3R005987
                               05221132FT03
                      5/25     Wire Transfer Debit                                                                    7,360.89-
                               MERCURIA ENERGY TRADING,INC


                               20 E GREENWAY PLAZA
                               SUITE 650
                               HOUSTON, TX 77046
                               BK AMER NYC
                               20180525MMQFMP9H000839
                               20180525B6B7HU1R006132
                               05251109FT03
                      5/31     Wire Transfer Debit                                                                  16,124.50-
                               MERCURIA ENERGY TRADING,INC




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              001355

                                                                                                                                                               Debtor000653
                                                                                                                                                                                  882
                       CaseCase 21-06006 Document 198
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                               GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                               1990 POST OAK BLVD SUITE 2400
                               HOUSTON TX 77056



AKELF FODLFNB FODK
A HMODOLMGCM ACOJK   COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)
AC JLFOOGGIHODNKLK
AKAMDDC LFNGBFKOLK
DLLLLLDLDLLLLLDLLL
013260                                                            Withdrawals and Deductions
                     Date      Description                                                                                Amount


                               20 E GREENWAY PLAZA
                               SUITE 650
                               HOUSTON, TX 77046
                               BK AMER NYC
                               20180531MMQFMP9H001358
                               20180531B6B7HU2R009811
                               05311239FT03

                                                    Daily Balance Information
                     Date                    Balance Date                 Balance Date                                                                            Balance
                      5/01               123,554.61    5/09               145.11   5/22                                                                         7,506.00
                      5/02                   145.11    5/15            35,461.86   5/25                                                                           145.11
                      5/04                23,028.60    5/16           153,350.91   5/30                                                                        16,269.61
                      5/08               160,370.85    5/21           153,350.91   5/31                                                                           145.11




                                                 Please examine this statement upon receipt and report at once if you find any difference.
                                If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                              001356

                                                                                                                                                               Debtor000654
                                                                                                                                                                                  883
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   6/01/18 thru 7/01/18
Previous Balance                  145.11                                   Days this Statement Period           31
   11 Deposits/Credits        702,245.92                                   Average Ledger                28,655.74
    8 Checks/Debits           702,391.03                                   Average Collected             10,851.08
Service Charge                       .00
Interest Paid                        .00
Current Balance                      .00


                             Deposits and Additions
Date      Description                                                                            Amount
 6/04     Lockbox Deposit                                                                     52,734.78
 6/05     Lockbox Deposit                                                                     21,335.00
 6/12     Lockbox Deposit                                                                     16,084.74
 6/12     Remote DDA Deposit                                                                  31,614.90
 6/14     Remote DDA Deposit                                                                  93,676.80
 6/18     Lockbox Deposit                                                                     22,392.00
 6/19     Lockbox Deposit                                                                    198,204.50
 6/21     Transfer Credit                                                                        138.50
 6/26     Lockbox Deposit                                                                    115,901.68
 6/27     Wire Transfer Credit                                                                19,645.10
          TERRA FIRMA MATERIALS LLC
          9312 E CURVE RD
          EDINBURG TX 78542
          TO PAY ASPHALT MATERIAL
          20180627GMQFMP01009311
          20180627MMQFMP9H000718
          06271327FT03
 6/27     Wire Transfer Credit                                                               130,517.92
          IOC COMPANY LLC
          9312 E CURVE RD
          EDINBURG TX 78542




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000655
                                                                                                                                                    884
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
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                                                                    Debtor000656
                                                                                   885
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Deposits and Additions
Date      Description                                                                                Amount
          TO PAY ASPHALT MATERIAL
          20180627GMQFMP01009160
          20180627MMQFMP9H000710
          06271323FT03

                            Withdrawals and Deductions
Date      Description                                   Amount
 6/06     Wire Transfer Debit                        74,069.78-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180606MMQFMP9H000449
          20180606B6B7HU4R005400
          06061120FT03
 6/13     Wire Transfer Debit                                                                  47,699.64-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180613MMQFMP9H001385
          20180613B6B7HU3R009536
          06131440FT03
 6/18     Wire Transfer Debit                                                                  93,676.80-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000657
                                                                                                                                                         886
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
          20180618MMQFMP9H000146
          20180618B6B7HU1R002776
          06180918FT03
 6/19     Wire Transfer Debit                        22,392.00-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180619MMQFMP9H000584
          20180619B6B7HU4R005427
          06191205FT03
 6/20     Wire Transfer Debit                                                                198,204.50-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180620MMQFMP9H001137
          20180620B6B7HU1R009675
          06201425FT03
 6/20     Account Analysis Charge                                                                283.61-
 6/27     Wire Transfer Debit                                                                115,901.68-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180627MMQFMP9H000662
          20180627B6B7HU2R007223
          06271225FT03




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000658
                                                                                                                                                         887
   CaseCase 21-06006 Document
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                               16-1 Filed
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
 6/27     Wire Transfer Debit                       150,163.02-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180627MMQFMP9H001350
          20180627B6B7HU3R011389
          06271517FT03

                                Daily Balance Information
Date                     Balance Date                 Balance Date                                                                        Balance
 6/01                    145.11    6/13               145.11   6/21                                                                          .00
 6/04                 52,879.89    6/14            93,821.91   6/26                                                                   115,901.68
 6/05                 74,214.89    6/18            22,537.11   6/27                                                                          .00
 6/06                    145.11    6/19           198,349.61
 6/12                 47,844.75    6/20               138.50-




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000659
                                                                                                                                                         888
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
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                                                                    Debtor000660
                                                                                   889
                     CaseCase 21-06006 Document
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                                                  T0 PL0 R                                                                                 Date 7/31/18                        Page     1
                             AKE BLHMHKEOB FODK   GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
                             A HM DLJMHFMNCGMJK
                             AC EJNCOAOEDIKFM K   1990 POST OAK BLVD SUITE 2400
                             ALEO BMGEECKBDBMLK
                             DDLLLLDLLDLLLLDLDL   HOUSTON TX 77056
                             010535




AKE BLHMHKEOB FODK
A HM DLJMHFMNCGMJK
AC EJNCOAOEDIKFM K
ALEO BMGEECKBDBMLK
DDLLLLDLLDLLLLDLDL
010535


                     ----------------------------- CHECKING ACCOUNT --------------------------------

                     COMMERCIAL CHECKING ANALYSIS                                                                                                        0
                     Account Number               *******8673                                                      Statement Dates   7/02/18 thru 7/31/18
                     Previous Balance                     .00                                                      Days this Statement Period           30
                         8 Deposits/Credits        666,692.89                                                      Average Ledger                34,076.32
                         7 Checks/Debits           666,543.85                                                      Average Collected             10,488.71
                     Service Charge                       .00
                     Interest Paid                        .00
                     Current Balance                   149.04


                                                                                     Deposits and Additions
                     Date                         Description                                                                            Amount
                      7/03                        Lockbox Deposit                                                                     41,272.30
                      7/10                        Lockbox Deposit                                                                    145,175.25
                      7/17                        Lockbox Deposit                                                                    144,829.44
                      7/20                        Transfer Credit                                                                        336.71
                      7/23                        Lockbox Deposit                                                                     71,073.00
                      7/23                        Deposit                                                                            128,579.40
                      7/24                        Lockbox Deposit                                                                    135,277.75
                      7/30                        Lockbox Deposit                                                                        149.04

                                                                    Withdrawals and Deductions
                     Date                         Description                                   Amount
                      7/05                        Wire Transfer Debit                        41,272.30-
                                                  MERCURIA ENERGY TRADING,INC


                                                  20 E GREENWAY PLAZA
                                                  SUITE 650
                                                  HOUSTON, TX 77046
                                                  BK AMER NYC
                                                  20180705MMQFMP9H000778
                                                  20180705B6B7HU1R008985
                                                  07051224FT03




                                                                    Please examine this statement upon receipt and report at once if you find any difference.
                                                   If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.

                                                                                                                                                                                            009927

                                                                                                                                                                             Debtor000661
                                                                                                                                                                                              890
CaseCase 21-06006 Document
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                                                                    Debtor000662
                                                                                   891
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CaseCase 21-06006 Document
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT --------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number               *******8673                                   Statement Dates   8/01/18 thru 9/03/18
Previous Balance                  149.04                                   Days this Statement Period           34
    7 Deposits/Credits        824,304.66                                   Average Ledger                64,773.73
    7 Checks/Debits           725,486.28                                   Average Collected             33,074.19
Service Charge                       .00
Interest Paid                        .00
Current Balance                98,967.42


                                             Deposits and Additions
Date      Description                                                                            Amount
 8/02     Lockbox Deposit                                                                     58,839.69
 8/06     Lockbox Deposit                                                                    342,351.35
 8/14     Lockbox Deposit                                                                     68,591.60
 8/17     Lockbox Deposit                                                                    126,901.35
 8/20     Transfer Credit                                                                        323.00
 8/21     Lockbox Deposit                                                                    128,330.25
 8/27     Lockbox Deposit                                                                     98,967.42

                            Withdrawals and Deductions
Date      Description                                   Amount
 8/01     From DDA *8673,To DDA *8681,Cl                149.04-
          ark Construction mistake
 8/06     Wire Transfer Debit                        58,839.69-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180806MMQFMP9H000132
          20180806B6B7HU1R003109




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000665
                                                                                                                                                    894
CaseCase 21-06006 Document
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                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                                    Debtor000666
                                                                                   895
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
                                               06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/18                        Page     2
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
          08060916FT03
 8/07     Wire Transfer Debit                       342,351.35-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180807MMQFMP9H001000
          20180807B6B7HU1R007970
          08071405FT03
 8/15     Wire Transfer Debit                                                                  68,591.60-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180815MMQFMP9H000578
          20180815B6B7HU4R006267
          08151140FT03
 8/20     Account Analysis Charge                                                                323.00-
 8/21     Wire Transfer Debit                                                                126,901.35-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180821MMQFMP9H000117
          20180821B6B7HU4R002559
          08210919FT03
 8/23     Wire Transfer Debit                                                                128,330.25-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000667
                                                                                                                                                         896
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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                                                   STATEMENT OF ACCOUNT




                                                                                                   Date 8/31/18                        Page     3
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180823MMQFMP9H000448
          20180823B6B7HU2R005412
          08231106FT03

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 8/01                      .00    8/14            68,591.60   8/21                                                                    128,330.25
 8/02                58,839.69    8/15                   .00  8/23                                                                           .00
 8/06               342,351.35    8/17           126,901.35   8/27                                                                     98,967.42
 8/07                      .00    8/20           126,901.35




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000668
                                                                                                                                                         897
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                                                                   Date 9/28/18                        Page     1
          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

COMMERCIAL CHECKING ANALYSIS                                                                                     0
Account Number                *******8673                                  Statement Dates   9/04/18 thru 9/30/18
Previous Balance                98,967.42                                  Days this Statement Period           27
    7 Deposits/Credits       1,412,626.90                                  Average Ledger                65,678.58
    9 Checks/Debits          1,511,594.32                                  Average Collected             13,369.76
Service Charge                        .00
Interest Paid                         .00
Current Balance                       .00


                                             Deposits and Additions
Date      Description                                                                            Amount
 9/04     Lockbox Deposit                                                                     28,619.43
 9/05     Lockbox Deposit                                                                    186,797.10
 9/11     Lockbox Deposit                                                                    194,973.70
 9/20     Lockbox Deposit                                                                    835,649.52
 9/21     Transfer Credit                                                                        288.65
 9/25     Deposit                                                                              1,823.10
 9/25     Lockbox Deposit                                                                    164,475.40

                            Withdrawals and Deductions
Date      Description                                   Amount
 9/04     Wire Transfer Debit                        98,967.42-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180904MMQFMP9H001412
          20180904B6B7HU2R012782
          09041353FT03
 9/05     Wire Transfer Debit                                                                  28,619.43-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000669
                                                                                                                                                    898
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                                    Debtor000670
                                                                                   899
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180905MMQFMP9H001610
          20180905B6B7HU3R011742
          09051533FT03
 9/06     Wire Transfer Debit                                                                186,797.10-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046
          BK AMER NYC
          20180906MMQFMP9H001901
          20180906B6B7HU1R013785
          09061654FT03
 9/13     Wire Transfer Debit                                                                194,973.70-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20180913MMQFMP9H000113
          20180913B6B7HU3R003683
          09130920FT03
 9/20     Account Analysis Charge                                                                288.65-
 9/21     Wire Transfer Debit                                                                259,227.00-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000671
                                                                                                                                                         900
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20180921MMQFMP9H001020
          20180921B6B7HU1R007971
          09211257FT03
 9/21     Wire Transfer Debit                       262,670.35-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20180921MMQFMP9H001032
          20180921B6B7HU2R008012
          09211259FT03
 9/21     Wire Transfer Debit                                                                313,752.17-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20180921MMQFMP9H001414
          20180921B6B7HU3R009850
          09211423FT03
 9/27     Wire Transfer Debit                                                                166,298.50-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000672
                                                                                                                                                         901
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
                                               06/22/23 in TXSD Page
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                                                                Amount
          20180927MMQFMP9H000123
          20180927B6B7HU3R003654
          09270911FT03

                               Daily Balance Information
Date                    Balance Date                 Balance Date                                                                         Balance
 9/04                28,619.43    9/11           194,973.70   9/21                                                                           .00
 9/05               186,797.10    9/13                   .00  9/25                                                                    166,298.50
 9/06                      .00    9/20           835,360.87   9/27                                                                           .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000673
                                                                                                                                                         902
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                                    Debtor000674
                                                                                   903
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
                                            06/22/23 in TXSD Page
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                                                   STATEMENT OF ACCOUNT




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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

  Effective Oct 2018, Earnings Credit Rate will be tiered based on balances.
  Eligible account balances above $250,000 and $1,000,000 may qualify for a
  premium Earnings Credit Rate.
  Tier 1 - $0.00 - $249,999.99
  Tier 2 - $250,000.00 - $999,999.99
  Tier 3 - $1,000,000.00 and greater

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number                *******8673                                  Statement Dates 10/01/18 thru 10/31/18
Previous Balance                      .00                                  Days this Statement Period          31
    8 Deposits/Credits       1,640,484.79                                  Average Ledger               64,181.77
    6 Checks/Debits          1,337,162.99                                  Average Collected            21,082.05
Service Charge                        .00
Interest Paid                         .00
Current Balance                303,321.80


                            Deposits and Additions
Date      Description                                                                            Amount
10/03     Lockbox Deposit                                                                    295,033.06
10/10     Lockbox Deposit                                                                     98,361.35
10/10     Wire Transfer Credit                                                               304,062.36
          FREEPOINT COMMODITIES LLC
          58 COMMERCE RD
          STAMFORD CT 06902-4506

          20181010B1QGC08C014347
          20181010MMQFMP9H001235
          10101702FT03
10/16     Lockbox Deposit                                                                    385,155.93
10/22     Transfer Credit                                                                        331.19
10/23     Lockbox Deposit                                                                    254,219.10
10/30     Deposit                                                                             14,168.70
10/31     Lockbox Deposit                                                                    289,153.10




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000675
                                                                                                                                                    904
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
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                                          TXSB  on 10/03/22
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                                                                    Debtor000676
                                                                                   905
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
10/04     Wire Transfer Debit                       295,033.06-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181004MMQFMP9H000700
          20181004B6B7HU4R006565
          10041202FT03
10/10     From DDA *8673,To DDA *8665                                                        304,062.36-
10/11     Wire Transfer Debit                                                                 98,361.35-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181011MMQFMP9H001894
          20181011B6B7HU2R013684
          10111628FT03
10/18     Wire Transfer Debit                                                                385,155.93-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181018MMQFMP9H000156
          20181018B6B7HU1R002862
          10180901FT03
10/22     Account Analysis Charge                                                                331.19-
10/25     Wire Transfer Debit                                                                254,219.10-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000677
                                                                                                                                                         906
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
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                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                                             Withdrawals and Deductions
Date      Description                                                                                Amount


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181025MMQFMP9H001360
          20181025B6B7HU4R009739
          10251411FT03

                              Daily Balance Information
Date                    Balance Date                Balance                                          Date                                 Balance
10/01                      .00 10/11                    .00                                          10/23                            254,219.10
10/03               295,033.06 10/16            385,155.93                                           10/25                                   .00
10/04                      .00 10/18                    .00                                          10/30                             14,168.70
10/10                98,361.35 10/22                    .00                                          10/31                            303,321.80




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000678
                                                                                                                                                         907
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




----------------------------- CHECKING ACCOUNT--------------------------------

  Effective Oct 2018, Earnings Credit Rate will be tiered based on balances.
  Eligible account balances above $250,000 and $1,000,000 may qualify for a
  premium Earnings Credit Rate.
  Tier 1 - $0.00 - $249,999.99
  Tier 2 - $250,000.00 - $999,999.99
  Tier 3 - $1,000,000.00 and greater

COMMERCIAL CHECKING ANALYSIS                                                                                    0
Account Number                *******8673                                  Statement Dates 11/01/18 thru 12/02/18
Previous Balance               303,321.80                                  Days this Statement Period          32
    7 Deposits/Credits         878,087.29                                  Average Ledger              131,886.37
    8 Checks/Debits          1,181,409.09                                  Average Collected           104,455.55
Service Charge                        .00
Interest Paid                         .00
Current Balance                       .00


                                             Deposits and Additions
Date      Description                                                                            Amount
11/06     Lockbox Deposit                                                                      8,825.88
11/07     Lockbox Deposit                                                                     22,333.60
11/14     Lockbox Deposit                                                                    263,790.85
11/20     Lockbox Deposit                                                                    247,672.90
11/26     Transfer Credit                                                                        301.20
11/26     Lockbox Deposit                                                                     30,433.41
11/27     Lockbox Deposit                                                                    304,729.45

                            Withdrawals and Deductions
Date      Description                                   Amount
11/02     Wire Transfer Debit                        14,168.70-
          MERCURIA ENERGY TRADING,INC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.



                                                                                                                                     Debtor000679
                                                                                                                                                    908
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
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                                          TXSB  on 10/03/22
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                                                                    Debtor000680
                                                                                   909
   CaseCase 21-06006 Document
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                               16-1 Filed
                                     Filedinon
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181102MMQFMP9H001261
          20181102B6B7HU3R008975
          11021303FT03
11/08     Wire Transfer Debit                       289,153.10-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181108MMQFMP9H000082
          20181108B6B7HU3R003394
          11080914FT03
11/09     Wire Transfer Debit                                                                  31,159.48-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181109MMQFMP9H001624
          20181109B6B7HU2R010670
          11091440FT03
11/15     Wire Transfer Debit                                                                263,790.85-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000681
                                                                                                                                                         910
   CaseCase 21-06006 Document
        6:23-cv-00002 Document198
                               16-1 Filed
                                     Filedinon
                                             TXSB  on 10/03/22
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          GULF COAST ASPHALT COMPANY LLC                                                           Account Number                     *******8673
          1990 POST OAK BLVD SUITE 2400
          HOUSTON TX 77056




COMMERCIAL CHECKING ANALYSIS                                       *******8673               (Continued)

                            Withdrawals and Deductions
Date      Description                                   Amount
          20181115MMQFMP9H001968
          20181115B6B7HU2R014445
          11151602FT03
11/20     Account Analysis Charge                       301.20-
11/26     Wire Transfer Debit                       247,672.90-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181126MMQFMP9H001264
          20181126B6B7HU3R010321
          11261512FT03
11/27     From DDA *8673,To DDA *8681,H&                                                         2,638.65-
          C overpayment
11/28     Wire Transfer Debit                                                                332,524.21-
          MERCURIA ENERGY TRADING,INC


          20 E GREENWAY PLAZA
          SUITE 650
          HOUSTON, TX 77046 US
          BK AMER NYC
          20181128MMQFMP9H001529
          20181128B6B7HU2R011156
          11281504FT03

                              Daily Balance Information
Date                    Balance Date                Balance                                          Date                                 Balance
11/01               303,321.80 11/08             31,159.48                                           11/20                            247,371.70
11/02               289,153.10 11/09                    .00                                          11/26                             30,433.41
11/06               297,978.98 11/14            263,790.85                                           11/27                            332,524.21
11/07               320,312.58 11/15                    .00                                          11/28                                   .00




                            Please examine this statement upon receipt and report at once if you find any difference.
           If no error is reported in 30 days, the account will be considered correct. All items are credited subject to final payment.
                                                                                                                                          Debtor000682
                                                                                                                                                         911
CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
                                          TXSB  on 10/03/22
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CaseCase 21-06006 Document
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                            16-1 Filed
                                  Filedinon
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CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
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CaseCase 21-06006 Document
     6:23-cv-00002 Document198
                            16-1 Filed
                                  Filedinon
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                       ƕƖƗƘƙƚŪŦƛťƜŦťƝŧũŦƞƟƠƜƠƝŤƚťŧ                                                                                    ơŬƢŭƢƢŧƘŧŤƝŦƜŧ
                       ƕƣƤŧŨƚƛŦŤƥťŧƦţƠƥŦŧŨŦŦŧƧƨƚť ƪšƫũƪƕšƕƨƬŧƕƣƤŧƚƛŧŤƝţŧťƚť ƠƭƭŤƟŤƠƝŦūŧťŦƝƮƚƛƯţưŧ                                     ơŮŭƢƢŧƘŧƝƛƠťţƠƞƝŤƚťŧŧ
                       ƕƣƤƘƱŦƲŤƝŧƖƠƛūŧũŦƳƟƠƞŦƜŦťƝŧ                                                                                    ơƴŭƢƢŧƘŧƞƠƛūŧ
                       ƕƣƤƘƱŦƲŤƝŧƖƠƛūŧƫƵƳŦūŤƝŦūŧũŦƳƟƠƞŦƜŦťƝŧ                                                                          ơŮƴŭƢƢŧŦƠƞƶŧ
                       ƒŶŻŻŧƓƉƊŧ ŧƷƸŻŶųƋŵƄŧųƹŴųųƅŶƋƌŧžƺŧŶŵųƻƄŧƈŶŻŻŧƍųŧŴƇƋŷųźŵųƅŧŵƇŧƉŧŴƇƻƻųźŴŶƉŻŧŹźƇƅƆŴŵƼŧ                             Ɛźųųŧ ŧŻŶƻŶŵųƅŧŵƇŧžƺŧƍŶŻŻƄŧŹųźŧƻƇƋŵƃŧ
                       ƖƚƟƟŦƞƝŤƚťŧƪƝŦƜţŧ                                                                                              ŧ
                             ƖƚƟƟŦƞƝŤƚťŧŨŦŦŧ ŧƱƚƜŦţƝŤƞŧƾƿơŬƢƢŧ                                                                        ơǀŭƴƢŧŧ
                             ƖƚƟƟŦƞƝŤƚťŧŨŦŦŧ ŧƱƚƜŦţƝŤƞŧǁơŬƢƢŧ                                                                         ơŬƴŭƢƢŧ
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                       ƖƚŤťŧǃŧƖŢƛƛŦťƞǄŧŧŧ                                                                                             ŧ
                            ƖƚŤťŧǃŧƖŢƛƛŦťƞǄŧƱŦƳƚţŤƝŦūŧ ŧƕƭƝŦƛŧƝƶŦŧƭŤƛţƝŧơŬƢǅƢƢƢŧƳŦƛŧţƝƠƝŦƜŦťƝŧƞǄƞƟŦŧŧ
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                                 ƖŢƛƛŦťƞǄŧŨŢƛťŤţƶŦūŧ                                                                                  ơƢŭƴƢŧƘŧţƝƛƠƳŧ
                                 ƖƚŤťţŧŨŢƛťŤţƶŦūŧ                                                                                     ơƢŭŬƴŧƘŧƛƚƟƟŧ
                       ƖƚƳŤŦţŧƧŤťƞƟŢūŦţŧƞƶŦƞƯŧƞƚƳŤŦţưŧƠťūŧŨƠƵŦţŧ                                                                      ơŮŭƢƢŧƘŧƳƠƥŦŧ
                       ƖƚŢťƝŦƛŧƖƶŦƞƯţŧ                                                                                                ơŬŭƢƢŧƭƚƛŧƴŧƞƶŦƞƯţŧ
                       ƱŦƳƚţŤƝŧƕţţŦţţƜŦťƝŧŨŦŦŧƧƖƚƜƜŦƛƞŤƠƟŧƕťƠƟǄţŤţŧƕƞƞƚŢťƝţŧǇťƟǄưŧ                                                    ŭƢŬƢǈŧƚťŧūƠŤƟǄŧƠŪŦƛƠƥŦŧƟŦūƥŦƛŧƲƠƟƠťƞŦŧ
                       ƱŦƳƚţŤƝŧƖƚƛƛŦƞƝŤƚťŧ                                                                                            ơǂŭƢƢŧŦƠƞƶŧ
                       ƱŦƳƚţŤƝŧƝƚŧƱŦƳƚţŤƝŧǇŪŦƛūƛƠƭƝŧǆƛƚƝŦƞƝŤƚťŧƣƛƠťţƭŦƛţŧ                                                             ơŬƢŭƢƢŧƘŧūƠǄŧŧ
                       ƱƚƛƜƠťƝŧƕƞƞƚŢťƝŧƧƠƳƳƟŤŦţŧƝƚŧūƚƛƜƠťƝŧƠƞƞƚŢťƝŧƲƠƟƠťƞŦţŧƟŦţţŧƝƶƠťŧơŬƢƢŧƳŦƛŧƜƚťƝƶưŧŧ                               ơƴŭƢƢŧƘŧƜƚťƝƶŧƧťƚƝŧƠƳƳƟŤƞƠƲƟŦŧŤťŧƣŦƵƠţưŧ
                       ŨƚƛŦŤƥťŧƖŢƛƛŦťƞǄŧƫƵƞƶƠťƥŦŧƧƠūūŤƝŤƚťƠƟŧƭŦŦţŧƜƠǄŧƠƳƳƟǄưŧ                                                         ŧ
                                 ơǂƢƢŧƚƛŧƜƚƛŦŧ                                                                                        ơŬƢŭƢƢŧƘŧƝƛƠťţƠƞƝŤƚťŧ
                                 ǉŦţţŧƝƶƠťŧơǂƢƢŧ                                                                                      ơŮƢŭƢƢŧƘŧƝƛƠťţƠƞƝŤƚťŧ
                       ǉŦƥƠƟŧǆƛƚƞŦţţŧ                                                                                                 ơǀƴŭƢƢŧƘŧŦŪŦťƝŧ
                       ƤƚťŦǄŧšƠƥŧ                                                                                                     ǊƠƛŤŦţŧ
                       ƤŦūƠƟƟŤƚťŧǋƝƠƜƳŧƙŢƠƛƠťƝŦŦŧƧƮƶŦƛŦŧƠŪƠŤƟƠƲƟŦưŧ                                                                   ơŬƴŭƢƢŧ
                       ƤƚťŦǄŧƤƠƛƯŦƝŧƕƞƞƚŢťƝŧƫƵƞŦţţŤŪŦŧƣƛƠťţƠƞƝŤƚťŧŨŦŦŧ                                                                ơŬƴŭƢƢŧƘŧŤƝŦƜŧ
                       ƨŦƥƠƝŤŪŦŧƖƚƟƟŦƞƝŦūŧšƠƟƠťƞŦŧŨŦŦŧ                                                                                ǆƛŤƜŦŧǌŧǂǈŧƚťŧūƠŤƟǄŧƠŪŦƛƠƥŦŧťŦƥƠƝŤŪŦŧƞƚƟƟŦƞƝŦūŧƲƠƟƠťƞŦŧ
                       ƨƚƝƠƛǄŧǋŦƛŪŤƞŦţŧ                                                                                               ƤƠǄŧŪƠƛǄŧƲǄŧǋƝƠƝŦŧ
                       ǇƭƭŤƞŤƠƟŧƖƶŦƞƯţƘƖƠţƶŤŦƛŧƖƶŦƞƯţŧ                                                                                ơǍŭƢƢŧ
                       ǇŪŦƛūƛƠƭƝŧƧǆƠŤūưŧƪƝŦƜŧŨŦŦŧƧƠƳƳƟŤŦţŧƝƚŧƚŪŦƛūƛƠƭƝţŧƞƛŦƠƝŦūŧƲǄŧƞƶŦƞƯţǅŧŤťŧƳŦƛţƚťŧƮŤƝƶūƛƠƮƠƟţǅŧƕƣƤŧŧŧŧŧ
                       ŧŧŧŧŧŧŧŧŧŧƮŤƝƶūƛƠƮƠƟţŧƚƛŧƚƝƶŦƛŧŦƟŦƞƝƛƚťŤƞŧƜŦƠťţưŧ                                                              ơǂƴŭƢƢŧƳŦƛŧŤƝŦƜǎŧƳŦƛŧƳƛŦţŦťƝƜŦťƝŧ
                       ũŦţŦƠƛƞƶŧƧƚťŦŧƶƚŢƛŧƜŤťŤƜŢƜưŧ                                                                                   ơŮƴŭƢƢŧƘŧƶƚŢƛŧ
                       ũŦƝŢƛťŧƪƝŦƜŧŨŦŦŧƧƠƳƳƟŤŦţŧƮƶŦťŧƞƶŦƞƯţŧƠƛŦŧƛŦƝŢƛťŦūŧƠţŧŢťƳƠŤūưŧ                                                  ơǂƴŭƢƢŧƳŦƛŧŤƝŦƜǎŧƳŦƛŧƳƛŦţŦťƝƜŦťƝŧ
                       ũŦƝŢƛťŧƱŦƳƚţŤƝŦūŧƪƝŦƜŧ                                                                                         ơƴŭƢƢŧŦƠƞƶŧ
                       ǋƠƭŦŧƱŦƳƚţŤƝŧšƚƵŧ ŧƱƛŤƟƟŤťƥŧŨŦŦŧ                                                                               ơŬƴƢŭƢƢŧ
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                       ǋƳŦƞŤƠƟŧũŦǏŦƞƝŧƪƝŦƜŧ                                                                                           ơŬŭƢƢŧŦƠƞƶŧ
                       ǋƝƠƝŦƜŦťƝţŧ                                                                                                    ŧ
                                 ǋƝƠƝŦƜŦťƝţŧƖƚƳǄŧ                                                                                     ơŬƢŭƢƢŧŦƠƞƶŧ
                                 ǋƝƠƝŦƜŦťƝŧƱŢƳƟŤƞƠƝŦŧƧƞƚƜƳƟŦƝŦŧţƝƠƝŦƜŦťƝưŧ                                                            ơŬƢŭƢƢŧŦƠƞƶŧ
                                 ǐŵƉŵųƻųƋŵŧƷǑųŴųŶŹŵŧƇŲŧƍƇŵƃŧŹƉŹųźŧƉƋƅŧųǒǐŵƉŵųƻųƋŵƼŧ                                                   ǓƺƎſſŧŹųźŧƻƇƋŵƃŧ
                                 ǋƝƠƝŦƜŦťƝŧƪťţƝƠťƝŧ                                                                                   ơƴŭƢƢŧŦƠƞƶŧ
                                 ǋƝƠƝŦƜŦťƝŧũŦƞƚťƞŤƟŤƠƝŤƚťŧ                                                                            ơŮƢŭƢƢŧƘŧƶƚŢƛŧ
                                 ǋƝƠƝŦƜŦťƝŧ ŧǋŤƜƳƟŦƵŧƪƜƠƥŦŧǆƛŤťƝŤťƥŧ                                                                  ơŮŭƢƢŧƘŧŦŪŦťƝŧ
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                       ǕųźŶŲŶŴƉŵŶƇƋŧƇŲŧǖųŹƇƄŶŵŧ                                                                                       ǓžƺƎſſŧųƉŴƃŧ
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                                 ǗŤƛŦŧƣƛƠťţƭŦƛŧ ŧƪťƞƚƜŤťƥŧƧƱƚƜŦţƝŤƞŧƠťūŧŨƚƛŦŤƥťưŧŧ                                                    ơŬƴŭƢƢŧŦƠƞƶŧŧ
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                     ƣƚŧƠţţŤţƝŧǄƚŢŧŤťŧƶƠťūƟŤťƥŧǄƚŢƛŧƠƞƞƚŢťƝŧƮŤƝƶŧŢţǅŧƮŦŧƠƛŦŧƳƛƚŪŤūŤťƥŧǄƚŢŧƮŤƝƶŧƝƶŦŧƭƚƟƟƚƮŤťƥŧŤťƭƚƛƜƠƝŤƚťŧƚťŧƶƚƮŧƮŦŧƳƚţƝŧƝƛƠťţƠƞƝŤƚťƠƟŧŤƝŦƜţŧƝƚŧǄƚŢƛŧƠƞƞƚŢťƝŭŧ
                     ǇťŧŦƠƞƶŧƲƠťƯŧƳƛƚƞŦţţŤťƥŧūƠǄǅŧūŦƳƚţŤƝŧƠťūŧƞƛŦūŤƝŧŤƝŦƜţŧƳƚţƝŧƲŦƭƚƛŦŧūŦƲŤƝŧŤƝŦƜţŭŧŧƱŦƲŤƝŧŤƝŦƜţŧƳƚţƝŧŢƳƚťŧƛŦƞŦŤƳƝŧŤťŧƝƶŦŧƭƚƟƟƚƮŤťƥŧƚƛūŦƛǜŧƮŤƛŦŧƝƛƠťţƭŦƛţǅŧƕƣƤŧƠťūŧūŦƲŤƝŧƞƠƛūŧ
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                     ƚƛūŦƛǅŧƝƶŦťŧƠƟƟŧƚƝƶŦƛŧūŦƲŤƝŧŤƝŦƜţŧŤťŧƟƚƮŧƝƚŧƶŤƥƶŧūƚƟƟƠƛŧƠƜƚŢťƝŧƚƛūŦƛŭŧŧǇƝƶŦƛŧūŦƲŤƝŧŤƝŦƜţŧŤťƞƟŢūŦŧƲŢƝŧƠƛŦŧťƚƝŧƟŤƜŤƝŦūŧƝƚŧƕŢƝƚƜƠƝŦūŧƖƟŦƠƛŤťƥŧƗƚŢţŦŧƧƕƖƗưŧŤƝŦƜţǅŧƞƶŦƞƯţŧ
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                     ƧǆƠŤūưŧƪƝŦƜŧŨŦŦţŧƠťūŧũŦƝŢƛťŧƪƝŦƜŧŨŦŦţŧƠƛŦŧūŤţƞƟƚţŦūŧƠƲƚŪŦŧƠťūŧƠƛŦŧţŢƲǏŦƞƝŧƝƚŧƞƶƠťƥŦŭŧŧ
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